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           LODGED
          PROPOSED
          Doc. 292-18
           (redacted)
Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 2 of 179




                EXHIBIT Q
                                                                                                                                                       Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 3 of 179




          Ciox Health
          P.O. Box 409740
                                                                                                                                                                                                              CiOX                     HEALTH
                                                                                                                                                                                                                                                                                                                                                     Invoice #:
                                                                                                                                                                                                                                                                                                                                                     Date:
                                                                                                                                                                                                                                                                                                                                                                                                                      0298295912
                                                                                                                                                                                                                                                                                                                                                                                                                      02/12/2020
          Atlanta, Georgia 30384-9740
          Fed Tax ID 58 - 2659941                                                                                                                                                                              INVOICE                                                                                                                               Customer#:                                                       1787081
          1-800-367-1500
    ,n••-n••u••••••u•n•••••••••••u••••••u••n••••••••••u••••••u••n••••••••••u••••••u••n•••• •••••uunn••••nunn••••uunn••1                                              1••••••••••u••••••n••n••••••••••u••••••n••n••••••••••u••••••n••n•••••n••n••••••u••n••••••n••n••••••u••n••••••n••n•••••••1
    ''                                                                                                                                    ''                         ''                                                                                                                                ''


    !.. ShiP .. to.: .......................................................................................................... !                                    !..  Bill .. to.: ............................................................................................................... !                                  J..Records .. from =................................................................................... ]
         OCONNOR AND CAMPBELL                                                                                                                                             OCONNOR AND CAMPBELL                                                                                                                                              TERROS MCDOWELL
         OCONNOR AND CAMPBELL                                                                                                                                             OCONNOR AND CAMPBELL                                                                                                                                              4909 E MCDOWELL RD
         7955 S PRIEST DR                                                                                                                                                 7955 S PRIEST DR                                                                                                                                                  PHOENIX,AZ 85008
         TEMPE,AZ 85284-1050                                                                                                                                              TEMPE,AZ 85284-1050




          Requested By:                                                                 OCONNOR AND CAMPBELL                                                                                                                                          DOB:
          Patient Name:                                                                 MUHAYMIN MUHAMMAD ABDUL



            Desert ption                                                                                                                                                                                                                                                                            Quantity                                                           Unit Price                                                          Amount
         ,.,, .. ,,~---•u••···········•n••••nu••·····•n••••n••••nHMMHMMMMHMOMMHMMMMUHMMHMMMMHMOMM-••·····••u••·········•u••·····•u••·········•u••····••u••········••u••····••u••·········•u•••n•••u••·•·n••············•u••·················•nu••·····•n••·······•nu••······ ''"''"''''HNMHXOMMMM••••n••••H••••n••••uHMMHMMMMHMOMMHMMM ,,,,.,.,,.,,,m .. ,, ••••• ux••······ ···········•·n••·················· ''"""''"''"'"''''""""''HNMHXOMMMMMM«MOMMMMMMMHNMHXOMMMMH«MOMM
                                                                                                                                                                                                                                                                                      ''                                                                                                                        ''
                                                                                                                                                                                                                                                                                       '                                                                                                                         '

    i Basic Fee                                                                                                                                                                                                                                                                       i                                                                                                                         !                                    43£ 75
    i Retrieval Fee                                                                                                                                                                                                                                                                   I                                                                                                                         I                                     0.00
           Per Page Copy (Paper) 1                                                                                                                                                                                                                                                                             167                                                                                                                                   41.75
           Electronic Data Archive Fee                                                                                                                                                                                                                                                                                                                                                                                                                2.00
           Subtotal                                                                                                                                                                                                                                                                                                                                                                                                                                  87.50
           Sales Tax                                                                                                                                                                                                                                                                                                                                                                                                                                  7.09
           Invoice Total                                                                                                                                                                                                                                                                                                                                                                                                                             94.59
           Balance Due                                                                                                                                                                                                                                                                                                                                                                                                                               94.59




    I           Terms: Net 30 days                                                                                                       Please remit this amount: $~4.59(USD) '
    'n•••--•••••n••••••••••n••••••n•wnn••••nnun••••n•wnn••••nnun••••n•wnn••••nnu-•n••••••nnuwnwwwuwwn••••••nnu-•n••••••n••••••••n••••n••••••n••••••••n••••n••••••n•••••••••••••n--n••n••••••n••n••••-••••n••nn••••n••n••••••n••nn••••-•••nnu•n•••n-•n••••••••n••••n••••••n••••••••-•••••••••••n••••••••n••••n••••••n••••••---••••nnnn••••n••nn••••nnnn••••n••nn••••nnn••••••n••n••••••nnn••••••n••nn~
                                                                                                                                                                                                                                                                                                                                                                                                                '                                                               !




----------------------------~-----------------------------------------------------------------------------------------------
          Ciox Health
          P.O. Box 409740
          Atlanta, Georgia 30384-9740
          Fed Tax ID 58 - 2659941
          1-800-367-1500
                                                                                                                                                                                                                                                                                                  Invoice#:                                              0298295912

Get future medical records as soon as they are processed,
by signing up for secure electronic delivery.                                                                                                                                                                                                                                                     Check#
Register at: https://edelivery.cioxhealth.com
                                                                                                                                                                                                                                                                                                   Payment Amount $ _ _ _ _ _ _ __


Please return stub with payment.
Please include invoice number on check_
To pay invoice online, please go to https://paycioxhealthtcom/pay/ or call 800-367-1500.
Email questions to collections@cioxhealth_comt
                                                                                                                                                                                                                                                                                                                                                                                                                                            COP 015222
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                                        A. f:rofessional Co~oratiory . .
                                Attorneys .Licensed In 11:ultiple i.J11nsd1ctions


                                                                                              VJdter's Contact lnforn1ation
October 31, 2019                                                                                   tiffany·~ gill@occlaw. con1
                                                                                                              602.241. 7028
Terrost Inc~
c/o Quarles & Brady
2 North Central Ave. 1 Suite 200
Phoeni.x AZ 85004
          1




         RE:   Muhammad Abdul Muhaymin, Jr.
               DOB:

Dear Custodian of Records:

        Enclosed is a Subpoena for Documents directing you to produce documents at this
office. We DO NOT intend to take testimony at the deposition* We mere-ly want the
documents stated in Exhibit uAn which is attached to the Subpoena~ .Enclosed with the
Subpoena is an authorization signed by Mussalina Muhayminl as personal representatlve
of the Estate of Muha.mmad Abdul Muhayminf Jr.

         If you prefer you may simply mail the documents to our office before the date set
                     1

forth in the Subpoena~ Pl1rsuant to Arizona Revised Statutes, Section·:_12-351, payment
will be made at the rate of $.25 per page of photocopying and $25 . 00 per hour of
clerical time necessary in locating and photocopying the records upon presentation
of any itemized statement~

       If! for any reasont you cannot mail the records requested priorto the date stated in
the Subpoena.t or have questions regarding the Subpoena, please contact me directly prior
to the date set forth in the Subpoena._

Kindest regards,




Tiffany GiH
Paralegal

cc:      David Chami
         Haytham Faraj


- · -=                                  -----·--------~-~-------
7955 South Priest Drive} Te1npe, Arizona 85284 •T'elephone 602.241.7000 •Facsimile 602.241, 7039
                                      V.leb address \Vilitw.occlaw.com




                                                                                                                                 COP 015223
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 AO 8813 (Rev_ 02/14) Subpoena to Produce Documents, Infonnation, or Objects or to Permit lnspection of Premises in a Civil Action


                                                                   UNITED S'fA1'ES DISTRIC"I' COUR'f
                                                                                                               for the
                                                                                                   District of Arizona

                         Mussalina Muhaymin,
,---------~-                                                                                                        )
          Plaintiff                                                                                                 )
                                                        V,                                                          )          Civil Action No,     CV-17-04565-PHX-SMB
                         City of Phoenix, et al.                                                                    )
                                                                                                                    )
·-·-·-·-·-·--------·-·-·-·-·-·-·-·-·-·-·-·-·-·--·-·-· - -
                                              Defendant                                                             )

                                 SUBPOENA T() PRODUCI! DOCUMENl'S, IN~'ORMATION, OR OBJECTS
                                   OR TO .PERMI1' INSPECTION OF PREMISES IN A CIVIL ACTION

 To:                                                                                                          Terres, Inc.
        - - - --- .      ___                                      .
                               ,,,_,_,,.,,,,_,,.,,,,_,,.,,_,_,,.,, .,   ____________(lv'ame
                                                                                     ~-~-                                 - ~ ~ - ~ - - ·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·----·--"""""'"
                                                                                                    "'"'"""'""""'""""'""""'""""'""""'"""

                                                                                            of"person to whom this subpoena is directed)
                                                                                                                                                                                                "'"




       111' Pro,!uction: YOU ARE COMMANDlcD to produce at the time, date, and place set forth belovv the following
docu1nentsi electro11ically stored information, or objects, and to .permit inspection, copying, testing1 or sampling of the
material: See Exhibit A


  .,
  Place: O'Connor & Dyet
                                                 . ·-... ... ... ... ···---·' - - -.. . I,·················-------··
                                                                                          Date and ''fime:
                                                                                                                     .. --······-···-···-···-···1
            ~:~p!: ;~e;~~;!v:                                                 __                                . _L _____ ..                   11/15/2019100~a~--------·_J

        □
        Inspection qfPremises: YOlJ ARE COMMANDED to pern1it entry onto the designated pren1ises, land, or
other property possessed or controlled by you at the time, date,. and location set fo1th belo,:v, so that the requesting party
rnay inspect, measure, survey, photograph, test, or srunple the property or any designated object or operation on it
 re-:--··"""'""'""'""'""'"'-""'""'" '". ---~-~-----------·---•"'"""'""""'""""'""""'""""'""" '"' """' 'D~a-te_an_ct~·=r~im-e·",---·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-•-'-' · · - - - - -                   'l
 L_.. .. .. .. .. ---------···················· .. --~----··· .................... - - - - - - - -
       The following provisions of Fed. R. Civ, P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45( d), relating to your protection as a person subject to a subpoena; and Rule 45( e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date:           10/31/2019                                                                                                                          J
                                                       CLERK OFCO[IRT
                                                                                                                                    OR

                                                                         Signature of Clerk or Deputy Clerk


The name, address, e-n1ail address, and telephoIJe nu1nber of the attorney representing (name qfparty)                                                                      City of Phoenix, et
                                                                                                                                                                                                      ·-·~··~·


Karen Stillwell, O'Connor & Dyet, 7955 S, Priest Drive, Tempe, AZ 85284 602-241-7000 karen.stillwell@occlaw.com

                               Notice to the person \Vho issues or requests this subpoena
If this subpoena co1n1nands the production of documents} electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena 1nust be served on each party in this case before
it is served on the person to whom it is directed. Fed, R. Civ. P. 45(a)(4).




                                                                                                                                                                                                          COP 015224
                                             Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 6 of 179




AO 8813 (Rev. 02il4) Sabpoena to l'rodure Documents, lnfonnation, or Objects or to Pennit Inspection of Premises in a Civil Action (Page 2)

Civil Artion No. CV-17-04565-PHX-SMB

                                                      PROOF 01'' SER\'l(;E
                      (This section should not be filed ,vith the court unless required by Ped. R. l'iv. P. 45.)

            I received this subpoena for (name of individual and firle,                     if any)

on (date)

            0 I served the subpoena by delivering a copy to the named person as follows:

         --·-------
                                                                                                              on     (date)                                     ; or

            0 I returned the subpoena tL-riexecuted because:



            Unless the subpoena was issued on behalf of the lJnited States) or one of its officers or agents, I have also
            tendered to the \Vitness the fees for one day)s attendance, and the mileage allowed by lav-1, in the amount of
            $


~1y fees are$                                      for travel and $                                                    for services, for a total of$                   0.00



            I declare under penalty of perjury that this infonnation is true.


!)ate:
                                                                                                                           Server's signature


                                                              - - - - - - - ~ - . , · ~ " " " " ~ " " " ' ~ " " " ' __ _,,,_,   ----------·-·-·-·-·-·-·-·-·-·-·-·-·-·-·--·- -   ----

                                                                                                                        Printed name and title




                                                                                                                                Server's address


Additional information regarding atte1nptcd service, etc.:




                                                                                                                                                                                   COP 015225
                                                      Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 7 of 179




    AO 88B (Rev. 02/J 4) Subpoena to Produce Documents, Information, or Objects or to Pennit Inspection of Premises in a Civil Action(Pagr 3)

                                    Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
    (c) Place of Compliance,                                                                    (ii) disclosing. fill unretained expert's opinion or information that does
                                                                                           n0t describe specific occurrences in dispute and results fr0m 1he expert's
      (1) For n Trial, Hearing, or Deptisition. A subpoena n1ay con1mand a                 study that ,vas not requested by a party.
    person to attend a trial, hearing, or deposition only as follows:                         (C) S'pecifying Conditums as an Alternatfre, In ll1c circumstnnces
       (A) within 100 miles of where the person resides, is employed, or                   described in Rule45(<l)(3)(B), the cour! may, instead of quashing or
    regularly transacts business ln person; or                                             1nodifying a subpoena, order appearance or production under speeified
       (B) within the state where the person resides, is e-mployed, or regularly           c0nditions lfthe serving party:
    transacts business in person, ifthe person                                                  (i) shows a substantial need for the testllnony {ff material that cannot be
         (i) is a party or a party's officer; or                                           otherwise met without undue hardship; and
         (ii) is com1nanded to attend a trial and would not incur substantial                   (ii) ensuJcs that the subpoenaed person wlll be reasonably cQmpensated.
    expense.
                                                                                           (e) Duties in Responding to a Subpoena.
     (2) For Otlte1· DiseOJ'ery. A subpoena !nay conunand:
       (A) productiott of d()Cumcnl'>, electronically stored infomrntion. or                (1) Produdng Documents or Electronical{v Stored l1{for11zaf/,Jn, These
    tangible things at a placl!: within l 00 tniles of where tbe person resides, is       procedures apply to producing docun1ents or elcc!r-onicaily stored
    employed, or regularly transacts business in person; and                               infOnnation:
      fB) inspection of prernises at the premises to be inspected.                            (A) [)ocuments. A person responding to a subpoena to produce documents
                                                                                          must produce them as they are kept in the ordinary course of business or
    (d) Protecting n Per,~ou Subject to a Subpoena; Enforeemcnt.                          must organize and label them to coJTcspond to the categories in the demand.
                                                                                              (B) Formfi1r Producing Electronical(v Stored Iqformation Not Specified.
     (1) Avoiding Undue Burden or l(<r:peuse; Sanctions. A party or attorney              If a subpoena does not specify a fonn for producing electronically stored
    responsible for issuing and serving a subpoena n1ust take reasonable steps            in:forn1ation, the persotJ responding must produce it in a fonn Dr filrms in
    to avoid imposing unduo;; burden or expense on a person subjeet to the                ,vhich it i.s ordinarily maintained or in a reasonably usable form or fbm1s,
    subpoena. The cou.ii for the district where compliance is required must                  {C) Electronica!fy Stored Information Produced in On{y One Form. The
    enforce this duty and impose an appropriate sanction~whic11 rnay include              person responding need not produce tllC same electronicaHy stored
    lost earnings and reasonable attorney's tees---0n a party or attorney who             infonnatkm in more than one form.
    fails to con1p!y.                                                                        {D} Inaccessible Electronically Stored Information. T1:w person
                                                                                          responding need not provide discovery of electronically ~to red infonuation
      {2) Com111and to Produce itfuterialr or l'ennit Inspection.                         from sources that the person identifies as not reasonably accessible because
       (A}Appearance ,\lot Required A person com1nanded to produce                        of undue btirden or cost. On n1otion to compel discovery or for a protective
    documeµts, electronically stored information, fJt tangible things, or to              order, the p~rson responding 1nust show that the information is not
    pennit the inspection ofpremises. need not appear in per.son at the place of          rea'>onably accessible because i;,fundue burden or cost lfthat showing Js
    production or inspection unless also cmnn1anded to appear for a deposition,           made, the c()urt may nonetheless order discovery from such sources ifthe
    hearirig, or trial.                                                                   requesting party shows good cause, considering the limitations ofRulc
       (B) Objections. A person commanded to produce dow'Umcnts or tangible               26(b)(2)(C). T11e court may specify conditions tOr the discovery,
    things or to pennit inspection may serve on the party or attorney designated
    in the subpoena a ,vritten objection to inspecting, copying, testing, or              (2) Claiming Privilege or Protection.
    sampling any or all of1he materials or to inspecting the pren1ises-··-0r tn             (A) lrifiwmation Withhefd. A person withholding subpoenaed information
    producing electronically stored i11formation in the form or furms requested.          under a clairn that iris privileged or subject to protection as trlal~preparation
    The objection nmst be served before the earlier of the time specified for             material 1nust:
    cmnplim1cc or 14 days after !lie subpoena is served. Jfan objection is n1ade,              (i) expn:ssly make the claim; and
    the follow"ing n1lcs apply:                                                                (ii) describe the nature of the ·withheld documents, communications, or
          (i) At any time, on notice to the commanded pt1rson, the serving party          tangible things in a manner that, without revealing infonnati,,n itself
    may move the court for the d-istric.t where compliance is required f◊r an             privlleged or protected, v.-1ll enable (he parties to asses~ the clai1n.
    order compelling producti011 or inspection.                                             (B} Information P1•oduced. lf infonnation produced in response to a
          (ii) These acts may be. required only as directed in the order, and the         subpoena is su~jcct to a clain1 of privilege or of protection as
    order nmst protect a person who is nett.her a party nor a party's officer fron1       trial-preparation material, the person making the claim may notify any party
    significant expense resulting :fro1n con1pliauce.                                     that received the infumrnt:ion of the claim and the basis :for it After being
                                                                                          notified, a party n1ust promptly return, sequester, or destrQy the specified
     (3) Quashing or l'l1odijj7i11g a !-,'11bpoena,                                       infonnation and any copies it has; must not use or disclose tbe infonnatfon
       (A) "f.t'her, Requin~d. On timely motion, the court for the district where         until the claim is resolved; rnust take re<1sonable steps to retrieve the
    C(nnpliilllc-R is required 1n11st quash or Inodify a subpoena that:                   infonnation if the party disclosed it beiOre being notified; and may promptly
         (i) fails to allo,v,a reason.able time to comply;                                present tl1e infonnation under S<~al to the court for the district where
         (ii) xeqnires a person to comply beyond lhc geographical limits                  cmnp!iance is required for a determination of the clnint The person wbQ
    specified in Rule 45(c);                                                              produced the info min ti on must preserve the infom ation until the claim is
         (Hi) requires disclosure of privileged or other protected matter, if no          resolved.
    exception or waiver applies; or
         {iv) subjects a person to nndue burden.                                          (g) Contempt.
      (B) }Vhen Permi1ted. To protect a person subject to or atTected by a                The court tOr the district where compliance is required-and also, after a
    subpoena, the court fOr the district where compliance is reqi.1ired may, on           nmtion is transferred, the issuing court·-·-1nay hold in contempt a person
    motion, quash or modify the subpoe11a if it requires:                                 who, having been ~ervet~ fails witl1out adequate excuse to obey the
          (i) disclosing a trade secret or other tonfi.dential research,                  subpoena or an order related to it.
    developntent, or comn1ercial intOrn1ation; or



                                               For access to subpoena materials. see Fed. R Civ. P. 45(a) Con1111itttx: Note {2013}
I




                                                                                                                                                                             COP 015226
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                                                 EXHIBIT A

THE STATE OF ARIZONA TO:                             Terros, Inc.
                                                     c/o Quarles & Brady
                                                     2 North Central Ave., Suite 200
                                                     Phoenix, Al. 85004

DATE AND TIME OF PRODUCTION OF DOCUMENTS: November 15, 2019 at 9:00 am

PLACE OF PRODUCTION OF DOCUMENTS:                                         O'Connor & Dye!, P. C.
                                                                          7955 S. Priest Drive
                                                                          Ten1pe, Arizona 85284

                                DOCUMENTS TO BE PRODUCED

Photocopies of your entire file from January 1, 2012 to the present, pertaining to:
             Muhammad Abdul Muhaymin, Jr.
             See attached Authorization signed by Mussalina Muhaymin, as the
             Personal Representative of the Estate of Muhammad Abdul Muhaymin, Jr.

Said records must include, but are not limited to, the following:

       A.      All histories or initial visit patient information forms and questionnaires;

       B.      All office,notes, progress notes, psychiatric notes, psychological notes;

       C.      All consultation or evaluation reports and correspondence to or from doctors,
hospitals or other health care providers, including mental health treatment;

       D.      All hospital records of any type or description, including nurses' notes.

       E.      All prior n1edical and mental health records;

       F.      All correspondence to or from the patient or his/her relatives, employers,
attorneys or other persons or entities;

         G.       All insurance claim forms (health, automobile, workmen's compensation, life and
disability, etc.);

       H.      All prescriptions or medication charts;

       I.      All notes, memoranda, writings, forms documents, reports, correspondence,
telephone messages, excerpts from medical texts and publications and other material
co1nprising a part of your files relating to the above-named patient; and

       J.      All x-rays or other diagnostic images of same; please advise if you have any x-
rays available and if necessary, arrangements will be made to obtain copies.

NOTE: This subpoena compels production of every document and record in your office
relating to the above-named patient. The Subpoena is not limited just to records
generated by you or to records relating just to the accident in this lawsuit. YOU ARE NOT
AUTHORIZED TO EDIT OR OMIT ANY DOCUMENT.




                                                                                                    COP 015227
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 lIIPI1A COMPl.1IANT AU"fHORIZATION T() DISCLOSE HEALTII INFOI™ATION

PATIENT" NAME: M1.1ha1nn;iad :A. Muhaymin

DOB:                                       SSN:               8473

   I. I authorize the use of disclosure of the above-narn.ed individuaPs health information as
      described below.
   2. The follo\ving individual or organization is authorized to make the disclosure:



   3. The type and a1nount of information to be used or disclosed is a full, cotnplete copy of any
      and all protected health infbrn1atio11 fron1 January 1, 2012 through the present, including
      where applicable: hospital records, eniire nursing home/assisted living facility charts,
      transfer sheets/EMS reports, emergency .roo1n records~ triage sheets, patient history and
      physical1 nurse's notes, physicians~ orders, physicians' notes, progress notes, consultation
      reports, operative and surgical notes/reports, reside11t/patient assessments, 1ninimum date
      sets, RAP sheets~ resident/patient care plans, discharge plans, decubitus and wound repo11s,
      admission and discl1arge summal'ies/reports, photographs, social service records, dietary
      records, I&O/B&B rec.ords, weight records/vital signs, activities records and schedule~,
                                           I                                                        '

      labol'atory        reports,    · pathology            reports,        clinical      records,
      radiographic/ultras()und/photographic/other diagnostic reports and images, psychological
        reports, intensive care unit records, patient activity tiow sheets, prescription ol'ders~
        n1edication       adn1inistrative             Jecords, controlled        drug       inventory,
        physical/occupationai/speech/respiratory therapy records, incident reports, b.ills for
        treatment, and any other records regarding said patient's physical, mental or emotional
        condition and treatn1ent rendered.
  4.    I specifically consent to the disclosure of any inforn1ation co11ce1ning treatment for alcohol
        or drug abuse, treatment for psychiatric conditions, sexually transmitted diseases, HIV and
        AIDS related test results, and genetic testing.
   5.   This information may be disclosed to and used by the following individual or organization:
        0 1CONNOR & DYET, P.C. (f/k/a O'C01\TNOR & CAMPBELL, P.C.), 7955 South Priest
        Drive, 1'empe, AZ 85284 for the purpose of litigation.
  6.    I understand I have the right to revoke this authorization at any time. I understand if I
        revoke this authorization I must do so in writing and present my written revocation to the
        health i11for1nation n1anagen1e11t depattnent. I u.nderstand the revocation will not apply to
        inforn1ation that has already been released in response to this authorization. I understand
        that the revocation will not apply to my insurance con1pany when the law provides my
        insurer with the right to contest a clain1 under 1ny policy. ·unless otherwise revoked~ this
        authorization will expire upon the following condition: SETTLEMEN'r. Regardless> this
        authorization will expire one (1) year fro1n the date of signature.
  7.    Ilequest for :Restriction: Pursuant to 45 C.Il.F. § 164.522, I hereby request that the health.
        care provider(s) !isted above and anyone else having access to these records for the lirr1ited
        purposes of treatn1ent, payment or operations (which does not include defending a lawsuit),
        not discuss the protected health information contained in these records with any individual




                                                                                                         COP 015228
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       or entity (other than O'CONNOR & CAMPBELL, P.C.) and not disclose these records to
       any individual or entity that has not been expressly authorized to receive this infonnation.
    8. I understand that authorizing the disclosure of this health information is voluntary. I can
       refuse to sign tlris authorization. I need not sign this fonn in order to assure treatment. I
       understand that I may inspect or copy the information to be used or disclosed, as provided
       in CFR !64.524. I understand !hat, pursuant to !he Hfl'ECH Act, 42 U.S.C.A. §
        l 7935(e)(l) and is impleme11ting regulations, 45 CFR 164.524(c)(4)(i), I may and am
       requesting that a co,nplete electronic copy of my medical records be provided to
       O'CONNOR & CAMPBELL, P.C., 7955 South Priest Drive, Tempe, AZ 85284. The
       HITECH Act provides that: "if requested by an individual, a covered entity must trllllBurit
       the copy of protected health infonnation directly to ancther person designated by the
       individual.'' I understand that any disclosure of information carries with it the potential for
       an unauthorized re-disclosure and the infonnation may not be protected by federal
       conlidenilality rules. If I have questions about disclosure of my health information, I can
       contuct the HIM director or privacy officer.


                              •

                                                                                             October 18, 2012
  USS        uha 'nv                                                                         Date
as Personal Representative o the Estate of
Muhammad Abdul tvlubaymin, Jr.




                                                                                                                     )



                                                                                                                     I
                                                                                                                     !


                                                                                                                     l'
                                                                                                                     '




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                                                AFFIDAVIT


       COMES NOW --~Y~a=h=a=ira~O~rt=iz~G=o~m~e=z~---' the duly authorized
Custodian of Records for Terros, Inc. and as such have the authority to certify that
the records attached hereto constitute a true and correct copy of the medical and
imaging records pertaining to the treatment of Muhammad Abdul Muhaymin, Jr.
by Terros, Inc. The attached records were prepared by the personnel of Terros,
Inc. staff, physicians, or persons acting under the control of either, in the ordina,y

course of business, at or near the time of treatment reported therein and making
the record is regular practice.


      EXECUTED on this            6th            day of               February                2819.
                                                                                               2020

                                                       Yahaira Ortiz Gomez


                                        Title: -~M=ed,,.,i"'ca,,,l_,_R,.,,e=c""or.,,d.,,,s..,,,S,..p,.ec""ia..,l...,_is,._t__




                                                                                                                                COP 015230
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                          AFFIDAVIT OF
                                                  11il   • •
                                                   CUSTODIAN
                                               OF RECORDS
                                  RECORD AVAILABLE
State of Arizona                                          Client Name:
                                                          DOB:
County of             Milt1 £a~                           Case #:
                                                                  •----1



                                                                    -------------
1.      I am a duly authorized custodian of the records described in the attached Order,
        and I have the authority to certify the recordsJ

2t      The attacheq copy is a true and correct copy of all the records described in. the
        Subpoena/Court Order.

3.     The records were prepared by clinic personnel acting in the ordinary course of
       business at or near the time of the act, condition, or event described therein.
       Information in the TERROS records was transmitted by, or from, a person with
       first hand . . knowledge acquired in the course of regularly conducted business
              I   •   f                                               .

       act1v1ties.

4.      lnfonnation in the TERROS records is· by or from a person · with fmt-hand
        knowledge acquired in the course of a regularly conducted business activity and is
        subject to federal laws regarding the confldentiality of client records maintained
       ,in connection with alcohol and drug abuse treatment programs. See 42 U. S.C, §
        290dd-2 and 42 C.F.R § 2.1, et seq. These regulations regulate the manner in
        which the provider may respond to Subpoenas for records relating to alcohol or
        drug abuse treatment The regulations prohibit implicit or negative disc)osures
       that may identify al~ohol or drug abuse clients . Any inquiry that may involve
        those records must be met by a noncommittal response (42 C.FJl. § 2.13) unless
       the client has consented (42 C.F . R. § 2.31) or a Court Order has been entered (42
       C.F .R. § 2.61 ).. The olinic, therefore, requests that the Court determi;ne the
       confidentiality of the submitted records subject to these federal requirements. If
       an Order seeking disclosure of the records is sought, the requirements for such an
       01xler, including notice and an oppo-'l""'ity for the patient be heard and the
       standard for such an order (42 C.F~R . *64) will apply. . ·


                                                              ignature of Custodian of Records
                                                                    ~

                                                                                    .f-.£-b~ 20 .1-? ·
                                              .


       Subscribed and sworn to before me this~ day of



                                                   Notary

My Connnission Expires: _ _ _ _ _ _ _ __

                                                                                                 Rev.10/31/07, 5/8/07
Fonn 21,007




                                                                                                                        COP 015231
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Advance Directives Form
                                                                                                                                        PM Form 3.12.1


            THIS FORM MUST BE COMPLETED AND PROMINENTLY DISPLAYED IN THE BEHAVIORAL
                                    HEALTH MEDICAL RECORD
-------------------------------------------------------------------------------------------------------------------------------------------------

Section I. Advance Directives Information Provided to Behavioral Health Recipients
            (to be checked and initialed by the consumer)


I have been provided written information about Advance Directives




via the Member Handbook

                                                                                                                   Consumers initials      Date




I have been provided a verbal explanation about Advance Directives

                                                                                                                   Consumers initials      Date


I have been provided the Advance Directive Resource sheet as a




helpful tool in developing an advance directive.

                                                                                                                   Consumers initials      Date




Section II. Advance Directives Development                                                                         Date:- - - - - -
            (lo be filled out by the Assigned Clinician)


Behavioral Health Recipient has developed an Advance Directive.
                                                                                                                   -    Yes
                                                                                                                              -    No

If No, stop here and let the behavioral health recipient know that assistance
in developing an Advance Directive is available

If an Advance Directive has been executed (developed), is it in the
behavioral health medical record?                                                                                       Yes        No

If Advance Directive has been executed, but is not filed in the
behavioral health medical record, please mark the applicable box below:




                                                                                                                                                         COP 015232
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                  _   Behavioral Health Recipient does not wish to have it filed in the behavioral health medical record

                  _ Clinical Liaison/ Case Manager has asked for a copy 1 but has not been provided one

                      Other
                              ----------------------------
To facilitate coordination of care:

                  _Has a copy of an executed Advance Directive or refusal been sent to the Behavioral Health
                  Recipient's PCP?

Section llt Advance Directives Enactment/Execution

Has the Advance Directive document ever been acted on?                                                        Yes          No
                                                                                                                    ----
                                                                                                                    Date
If Yes, have all appropriate parties been notified?

                  _ Yes (specify who)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                  _   No (describe why not) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 Revised 9/1107                    MuhammadMuhaymin                             November 2 20161




                                                                                                                            COP 015233
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Maricopa RBHA
                                                   Advance Directives Reso11rces

About Adva11ce Directives
Federal regulations define an advance directive as a written instruction, such as a living will or durable po\vcr of attorney for health
care, recognized under state lasv (vihether statutory or as recognized by tl1e courts of the state), relating to the individuals \\rishes
regarding the provision of health care when the individual is incapa6tated.

Advance Directives for Healtl1 a11d Mental Health Care
These are docu1nents the individual creates that appoint someone else to make health care or 1nental health care decisions in the
event the individual bccon1es incapacitated or incapable of n1aking treatn1ent decisions. 'The instructions provided in the
docun1ents are follo\lii'ed should an individual become unable to express his/her \\iishes.

What to do ,vith .Advance I)irectives
.i\dvance directives are docu1nents signed by a co1npete11t person giving direction to health care providers about treatment choices
in certain circumstances. By creating an advance directive) the individual remains in control of health care decisions since these
vrishes were written do,vn in advance. If the individual is no longer able to make decisions, doctors and other healtl1 care
providers are legally obligated to follow the patients wishes outlined in the advance directive.

l,ocal Resources for Creati11g A.dvauce Directives
Recovery Innovations of Arizona provides a peer support specialist who teaches n1ental health care power of attorney classes.
Please contact:

Recovery Innovations of Arizona
2701 N. 16th Street, Suite 316
Phoenix, AZ 85006
       .
(6021636,4609
'

w-eb Sites Providing Advance Directive I11fonnation

TI1e Govenv_,r's Council on Developn1ental Disabilities; click on Legal Options Manual.

    TI1e .Arizona Secretary of State; click on i\dvru1ce Directives.

Health Care Decisions.

Request a Video, Advance Directive Docu1nents and Instructions or Other Materials
I---Iealth Care Decisions, (602) 222-2229 or http:/ /WW\v.hcdecisions.org/Request Ivfate1ials.asp.

Office of Arizona Attorney General LifC Care Planning I'viaterials and \Tidco (602) 5l12--212,01 or Arizona Attorney General ·reriy
Goddard

J\,1aricopa REH~<\ is the Regional Behavioral Health Authority for Maricopa Cotmty, hmds for services are provided through a contract ,vith Arizona
Departt11.ent of Fiealth Services/Division of Behavioral Health and AI-ICCCS.

Advance Direct1vrs Resocnces 9 / 1 /07




                                                                                                                                          COP 015234
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                                  Non-'fitlc XIX/XXI Co-payincnt 1\sscssmcnt                                                                   Attachmei1t A

Instructions: Complete this form for all Non-Title XlX/XXl persons. Provide a copy to the person, parent or legal guardian.


Name l\1uhammadiVluhavn1in

 I. Person's Fa1nily Ilousehold Size and Income
    A. Size of person's family household (Family consists of: Applicant parent(s) of a minor child; spouse; natural child, adoptive child and
        stepchild under 18 years of age or 19 if full time student)

    B. Gross monthly incon1e (includes the gross family income; as fa1nily is defined in A)
    C. Third Party Liability coverage: yes      no
 II. Sliding Co-payment Schedule
                   ·-·
                          Size of Fa1nily l:Iousehold by Gross Monthly Fa1nily Income                                                                :'     Co-payment based on
                                                                                                                                                     i    type of service provided*
                                                                                                                                                                             •
                                                                                                                             '
       I           2       ..........................3
                                           ,
                                                               4    .    5                             6              7            8          9           SIR    ... TIMID       R/1
                                                                                                                                                                                  ---"""'


    <$924       <Sl,244          <$1,565                    <$1,886   <$2,206                       <$2,527        <$2,849       <$3,169   <$3,490         so          $0        $0
     $924-      $1,244-        $1,565-                       $1,886-                    $2,206-       S2,527-      $2,849-       $3,169-   $3,490-         SI        $2          $15
    $1,107      $1,492         $1,877                        $2,262                     $2,647        $3,032       $3,417        $3,804    $4,187
    $1,108-     $1,493-        Sl8,78-                       $2,263-                    $2,648-       $3,033-      $3,418-       S3,805-   $4,188-         $3        $6          $30
    $1,292      $1,740         $2,190                        $2,640                     $3,088        $3,538       $3,987        $4,435    $4,885
           --              """""""""'"'""                         '"""""""""-·                    """"""""'-·""'

    $1,293-     $1,741-        $2,191~                       $2,641-                    $3,089-       $3,539-      $3,988-       $4,436-   $4,886-         $4        $8          $45
    $1,476      S!,989         $2,503                        $3,016                     $3,529        $4,043       $4,556        $5,069    $5,583
                                                         """""""""""""""""""""""""" """"'

    $1,477-     $1,990-        $2,504-                       $3,017-                    $3,530-       $4,044-      $4,557-       $5,070-   $5,584-         $6       $10          $60
    $1,662      $2,239         $2,816                        $3,394                     $3,970        $4,548       $5,177        $5,703    $6,281
    $1,663-     $2,240-        $2,817-                       $3,395-                    $3,971-       $4,549-      $5,178-       $5,704-   $6,282-         $8       $12          $75
    $1,846      $2,487         $3,129                        $3,771                     $4,412        $5,054       $5,696        $6,336    $6,979
    $1,847-     $2,488-       $3,130-                        $3,772-                    $4,413-     $5,055-        $5,697-       $6,337-   $6,980-        $10       $20          $90
    $2,031      $2,735        $3,442                         $4,149                     $4,853      $5,559         $6,266        $6,970    $7,677
    >$2,031     >$2,735       >$3,442                       >$4,149                     >S4,853     >$5,559        >$6,266       >$6,970   >S7,677        Full      Full         Full
  * SIR is Support and Rehabilitation Services, T~I/D is Treatment, J\1edical and Day Progratn Services, R/1 is I{esidential and
 Inpatient Services.
 m. Co-payment Assess1nent for Non-Title XIX/XXI Persons
    Based on the person's family household size, gross monthly fan1ily income and third party coverage in Part I, use the Sliding
    Co-payment Schedule in Pa11 II to determine if the person is required to pay a co-payn1ent for behavior-al health services that are
    provided. Indicate belol\-·:
      Person is not required to pay a co-pay1nent.
      Person is obligated to pay a co-payment of$ ror SIR services,$ for T/M/D services and
                $ for R/1 senrices

      Person has third party coverage and is obligated to pay up to$ for S/R services,$ for T/lVJ/D
          services, and $ for R/1 services not to exceed the unreimbursed portion of the service cost.
      The co-pay1nent Vfill create an undue hardship for the person or his/her fa1nily, and thus the following is
           being recommended (e.g. reduce or waive):


    Statl Signature                                                                           Title                                        Date
 1\1• ilgreement to pay co-pay1nent
     I ani certifying that the information providt>d in this docu1nent is true and corrt>ct to tht> best of 1ny knowlt>dge. If it has bt>en
    deterniined that I will need to pay a co-payment for the provision of behavioral health services, n1y signature belol\-' also indicates
    that 1) the co-payment and the method for calculating my co-payment has been explained to n1e and 2) I am agreeing to pay the
    co-payn1ent each tin1e services are providt>d unless other arrangen1ents have been n1ade with the provider.

    Person/Parent/1,egal Guardian Signature                                                                               Date




                                                                                                                                                                                            COP 015235
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Consent to Allow Electronic Communication of Protected Health Information via Email or Leaving Voice messages

The behavioral health information collected and provided by Terros through its electronic means or a voice message to health
care professionals 1 schools, caregivers and guardian, is provided only at the consent of the client and/or guardian (if the
recipient is a minor).

Terres currently has a secure email system. This secure email requires user name and password to access personal information,
but there could be a possibility, protected health information contained in such emails may be disclosed to, or intercepted by,
unauthorized third parties.

     • Highly sensitive or personal information will not be communicated by email or left on a voice message

     •   When using email or leaving a voice message, the information transmitted will be minimum information

I hereby authorize Terros to communicate certain behavioral health information via voice message or email to me or to a third
party for coordination of care. I understand that I have the right to revoke this authorization at any time but must do so in
writing. I understand that the revocation will not apply to information that has already been released in response to this
authorization. This authorization will terminate on the date services have ended with Terros.




Should information disclosed under this consent be disclosed to others by the recipient, it is no longer considered protected
health information covered under this consent.




Client Signature:   S1;nec By \1.;h;:rnm;:c \.1.;h;:-ymm


Date:11/02/2016




Parent/Guardian Signature: {SIGNATURE PAD)

Date: 11/02/2016




                                                                                                                          COP 015236
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                                                                                <EmailVJ\1Consent.ngn>

                                                                      !vluhmn1nad Muhaymin l 101 I 03099




                                                                                               COP 015237
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Member Handbook Receipt

I have received a copy of the Maricopa RBHA Member Handbook.

Date:                11/02/2016

Client's Name:       Muhammad Muhaymin

DOB:

Client/Parent or Legal Guardian: {SIGNATURE PAD}

Recibo de Manual Para Miembro de Maricopa RBHA
He Recibido una copia del n1anual para miembro de Maricopa RBHA.

Fecha:                       11/02/2016

Nombre de Cliente:           Muhammad Muhaymin

Fecha de Nacimiento:




                                                                                            COP 015238
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                                                       ADHS FORM MH-211

                               Notice of Legal Rights for Persons ,vith Serious Me11tal Illness

If you have a serious or chronic mental illness, you have legal rights under federal and state law. Some of these rights include:

•   The right to appropriate mental health services based on your individual needs;

•   'J'he right to participate in all phases of your mental health treattnent. including individual service plan (ISP) meetings;

•   The right to a discharge plan upon discharge from a hospital;

•   The right to consent to or refuse treattnent (except in an emergency or by court order);

•   1'he right to treatment in the least restrictive setting;

•   ''fhe right to ffcedom ±forn unnecessary seclusion or restraint~

•   The right not to be physically, sexually, or verbally abused;

•   The right to privacy (mail, visits, telephone conversations);

•   The right to file an appeal or grievance \Vhen you disagree ,vit11 the se1vices you receive or yow· rights are violated;

•   The right to choose a designated rcprcsentative(s) to assist you in ISP meetings and in filing grievances;

•   'fhe right to a case 1nanager to work vvith you in obtaining the services you need;

•   The right to a \Vritten ISP that sets forth the services you \vill receive;

•   The rioht
          b
              to associate with others·'

•   1'he right to confidentiality of your psychiatric records;

•   'Ihe right to obtain copies of your own psychiatric records (unless it would not be in your best interest to have them);

•   The right to appeal a court-ordered involuntary co1nmitment and to consult \Vith an attorney and to request judicial review of
    court-ordered commitment every 60 days;

•   '!'he right not to be discriminated against in employment or housing.

If you would like information about your rights, you may request a copy of the "Your Rights in i\rizona as an Individual with
Serious l\1ental Illness" brochure or you may also call the Arizona Department of Health Services, Office of Human Rights at
1-800-421-2124 or at (602) 364-4574.

ADHS/DBHS Fonn l\lH-211 (9/93)




                                                                                                                               COP 015239
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                                                           Receipt of Infon11ation

Receipt Ackno,vledgement
Date: 1.1 /02/2016 10:06 J,'\.l\lf


I have received (and understand) copies of the following written inf01mation:
                              Advanced Directives Information
                              Expectation of Services
                              Consumer Rights
                              Notice of Privacy Practices and .t\rizona .t\ddendutn
                              Notice of Confidentiality of Alcohol and Drug Abuse Information (]?orm 4.1. 7)
                              Notice of Maricopa RBH.L\ Privacy Notice
                              Notice of Decision and Rights to Appeal (Attachment 5.5.1)
                              Notice of SI\tfl C'rrievance and ,L\ppeal Procedure (Attachment 5. 5.1)
                              Notice of Legal Rights for Persons with Serious Mental Illness (Fonn l'vffi-211)
                              Release offufo1mation (Copy) (QCN)
                              Release of Information (Copy) (RBHA)
                              Release offuformation (Copy) (PCP)
                              Release of Information (Copy) (School)
                              Significant Addresses & Phone Numbers (including the ()ffice of I3ehavioral Ifealth Licensure, the
                              Division of Behavioral Health Services, the Office of Hu1nan Rights, ,'\dult Protective Services,
                              Child Protective Service and Maricopa R.BI-!A
                              Email and Voice Consent




Client/ Guardian Signature

                                                     Client: l\ifuha1nmad Muhayn1in DOB:
                                                     Client ID:          099




                                                                                                                          COP 015240
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                                                                            ~
                                                                      >~ !'K ~•ercy mart ~opa
                                                                                                         G



                                                                         .~ ln teg rated care

                                  MEMBER HANDBOOK RECEIPT


              I have received a copy of the Member Handbook.



              -   ------------
              Signature of Behavioral Health Member/Guardian


                   9/22/2016
              Date



                               RECIBO DE MANUAL PARA MIEMBROS


              He recibido una copra del manual para miembros.



              Firma de la persona que recibe servicios de salud mental/guardian



              Fecha


              ADHS/DBHS PoHcy Form 301.1 Last Revised: 04/08/14




Name: Muhaymin) Muhammad                                  DOB:                                               Date: 09/22/2016



                                                                                                               COP 015241
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                                              BHAnnual - Affidavit

Per A.A.C. R9-10-1011 Assessment and Treatment Plan

If an assess1nent or treatment plan is conducted and docun1ented by a behavioral health technician (BH1'), a behavioral
health professional (BHP) reviews the assessn1ent or treatn1ent plan info1mation documented by the behavioral health
technician to ensure that the assessment or treat1nent pl:u1 information identifies the behavioral health services needed by
the client and whether the client needs medical services.

I attest that I have reviewed and approved the assessment or treatment plan completed by the BHT based on the above
st:u1dard.

Electronically signed bv: Julia Matthies BHP is/
Signature ofBehavioral I-lea/th Professional

Julia tv!atthies BHP
Nan1e ofBehavioral Health }'rofessional

i\ssess1nent Date: 12/12/2016

Date of Review: 12/13/2016




                                                                                                                       COP 015242
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         Pi\.RT E: A.\NNUAL BEHAVIORAL HEALTH lTPDA1'E AND RE\rIEW SUMMARY


Nrune Muhammad Muhaymin                              Date of Birth                Client CIS ID#
..\.ccompan)'i.n.g I◄'ainily l\.1en1ber/Significa11t Other (Note relatio11ship to person): see generated copy
Date of Current Assessment/Review 12/12/2016 Date of l1rltial Assess111e11t/Last Review 12/12/2016

Initial and or Change in Diagnosis

Modified ])ate: 12/05/2016 10:50 l\M




Primary Billing Diagnosis: AXIS I: 295.10 - Schizophrenia Disorganized Type


Axis I - DSl\1 -IV                                              DSl\1-V
sipec11er:
     .•.
295.10        Schizophrenia Disorganized Type                   F20.9             .Schizophrenia
305.20        (::annibus i\buse                                 Fl2.10             Cannabis use disorder, l\1ild
                                                                                  .


                                                                                  .

Axis II:
IV71.09
             I_N_o_d-iagn_o_si_s_on_A._,x_is_n_·_ _ _ _ _ __.,__ _ ____,f _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___.f _ ____,
Axis III:    30         Chronic Puln1onary Disorders
;\.xis IV:   Problen1s llith/related to housing,
             Sig1rlfi.cru1t recent losses as of09/22/2016:
1\xis V:     45




Modified by: Lilliam Villalobos :NID

:Date: 12/05/2016
                                                            Terros
                                                        Medication Log

Client:: Muhammad Muhaymin
Client ID:        099                             Date of Birth:
Date of Log: 12/12/2016
Current Provider:

                                                            Active Meds




                                                                                                                   COP 015243
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                                                            Inactive Meds



                                                                 Allergies


Client Name: Muhammad Muhaymin
*Reminder: Please copy and paste most current diagnosis and medication log from generated documents in Next Gen directly
onto generated assessment.*

Date, start and stop time and location of interview:

Cm sat down with Muhammad and his step mother Annie Davis to update his assessment and ISP goals on 11/14/16, cm sat down with
Muhammad at 2:30pm, cm did get the permission of Muhammad guardian Mussallina (sister). Mussallina is his guardian and sister,
Annie Davis is Muhammad step mother and will be helping him attend his appointments. Cm completed Muhammad assessment at
Maryva!e Park at 9:30am, cm ended the interview at 10:55am.
Presenting Issues/Concerns/mental status assessment:

Muhammad said he wanted help with everything had to offered, Muhammad presented okay he was talking and answering questions
the best he could. Muhammad is wanting help with housing, medications management, case management.
History of present illness (progress in recovery over last year):

Muhammad reports his symptoms are using hand gestures, feeling like he is being followed, talking incoheant about the birds, and
people when he was little he would think the adults are telling him to be bad or seeing little girls being bad. Muhammad step mother
(Annie} said it could be a!! day and all night the longest it ever went for was a week. Muhammad reports never being in the hospital
Muhammad step mother Annie report they would take him to jail instead of the hospital. Muhammad reports no current SI/HI.
Muhammad reports no current stressor at this time. Muhammad report over the last year he has done better he has not been to jail
and is getting more help now.
Past Psychiatric History:

Muhammad reports his first diagnosed was at the age of 33 after his father death. Muhammad has never been to the hospital for
psychiatric only when he got arrested. Muhammad reports past symptoms are hand gestures, not wanting to be inside (i.e. home or
apartment) hearing voices, Annie informed cm that Muhammad will talk with the child and see them when there is no children there.
Annie informed reported Muhammad said the adults are the ones that make him do bad things.
Medical History (include PCP contact info, labs ordered):

Muhammad reports last year when he was in jail they took blood for routine blood work. Muhammad report no current health issues at
this time. Muhammad is new to the system and has a PCP but has not seen him at this time. Muhammad reports no barriers to going to
the PCP once he knows who he/she is. Muhammad is current going to go to Dr. Allen who can be reached at 602-797-7760 and is
located at 3864 N. 27th Ave.
Cultural Preferences for Treatment:

Muhammad reports his culture and religion preference is important in his treatment planning, Monotheist Muha mad primary language
is English preferred language is English according to guardian, an interpreter is not needed at Muhammad treatment planning or
appointments. English is the preferred language.




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Special Assistance assessment (include contact info for Guardian/Advocate if applicable}

Muhammad has a guardian his sister Mussallina Muhaymin who can be reached at                               786 Mussallina will also be Muhammad

payee when Muhammad receives his benefits. Muhammad was assessed for special assistance, and it was determined that he did need

it and the form was filled out with his sister and is waiting on permeant guardianship. Therefore, temporary form was filled out.

Muhammad is unable to understand the G&A process. Muhammad fully participated in his treatment plan along with his guardian

Mussallina, and reported that did want his sister (Mussallina) and step mother (Annie Ruth Davis) involved in his treatment planning

and appointments. Mussallina Muhaymin is Muhammad temporary guardianship until she is able to get permeant guardianship,

Mussallina can be reached at



Involvement with other agencies:

Muhammad is not involved in another agencies at this time, Muhammad is signed up for supportive housing and is on the waiting list.
Muhammad is not on Adult probation, not involved in DCS, DD, or another BH providers at this time. Muhammad is not involved in
counseling services at this time.
Family status/history:

Muhammad reports his relationship with his family is distance, Muhammad guardian reports Muhammad has 2 cousin that is verified
with mental illness, one has Schiophinaic and the other is unknown but Muhammad and his guardian. Muhammad reports no sexually
/physical abuse he wants to talk about right now. Muhammad reports he feels is has affected his family relationship worse, he fells his
family aunt got time to help him. Muhammad reports he does not want his family to deal with his mental illness. Muhammad reports
he does have a family mentor his uncle, Muhammad feel he could benefit from community support. Muhammad reports his natural
support is his sister Mussallina, and step mother Annie Ruth Davis.
Educational status/history:

Muhammad is not currently involved in any learning activities, Muhammad reports the highest grade he complete he completed was
college where he got his Associate Degree worked toward earning a Bachelor's but need more credit. Muhammad reports
transportation, stable, medications is a factor as well.
Employment status/history:

Muhammad is not currently employed at this time, Muhammad is not stable and is living in Maryvale Park, Muhammad is currently not
taking any medications, Muhammad reports the barriers to not working is stability, medication, not eating right.
Housing or living environment status/history:

Muhammad currently lives in Maryvale Park with his dog, Muhammad is waiting on the MMIC housing list. Muhammad does not have
income at this time and is not working. Muhammad is not stable on medications. Muhammad does not get SSI/ SSDI and does receives
$19.00 in foods stamps. Muhammad lives in Maryvale Park.
Social status/history:

Muhammad reports his social lives involves his friends at the Park, Muhammad reports his dog helps him mentally, and his sister and
step mother will come around to see how he is doing. Muhammad reports he stays at the park and helps his friends around there with
food, Muhammad reports they help each other. Muhammad is homeless and stays in Maryvale Park, Muhammad report his hobbies is
art and crafts, sewing, cooking, hand drawing, studying, wiping shoes, keeping his area clean.
Legal status/history (include COT and Criminal Justice involvement):




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Muhammad reports no legal or pending litigation at this time. Muhammad reports no custody concerns, Muhammad is not a sex
offender, no probation, DCS involvement, Muhammad is not on COT/ COE at this time. Muhammad has no history of COT/COE at this
time.
Substance use status/history:


Muhammad reports his does use substance; Muhammad reports his drug of choice is meth, Muhammad reports he has used alcohol
and marijuana social, Muhammad as reports he used all types of substance and is not ready to say what he has used. Muhammad
reports he is still researching his substance use. Muhammad reports he has used synthetic drug. Muhammad reports his longest
sobriety was 2 months. Muhammad reports be involved in a drug treatment program, about a decade ago in and out of treatment.
Muhammad is not currently involved in any substance abuse treatment program or counseling. Muhammad reports his barriers for not
stopping is the privacy act and the right to bear arms (which he means bear his arms).
Risk Assessment:


Muhammad is not SI/HI/PAD/GD at this time, Muhammad is at risk of withdrawal or overdose/toxic use. Muhammad nutrition is not
good due to his homelessness, Muhammad is at risk to exposure to the elements, exploitation, abuse or neglect due to his substance
use and his current homelessness.
Brief summary/areas of need to be addressed in ISP (what will the ISP goals be addressing?):

Living Goal: I want own apartment/ Muhammad needs to keep in touch with cm and guardian for updates on his housing.
Learning/Working Goal: I want to work part-time to earn money/ Muhammad will meet with RS for supportive employment
Socia! Goal: I want attend community groups/ Muhammad will meet with RS to community support services.
Health Goal: I want to visit with PCP yearly for routine check-up/ Muhammad meet with the PCP for intake.

Strength's
Muhammad has work history
Muhammad has the support of his family
Muhammad has the support of the clinical team
Muhammad will attend his appointments
Muhammad can cook and clean
Muhammad utilize the transit system
Muhammad has support from his dog
Muhammad does get food stamps
Muhammad car drive
Muhammad has Associate's Degree
Clinical Team Recommendations:


Case Management: activities may include assisting, maintaining 1 and monitoring covered services, finding necessary resources
to meet basic needs, coordinating care with family and other agencies involved, outreach and follow up 1 and other activities as
needed,

BHMP Services: Services may include ongoing medication management involving the review of effects, side effects, and
adjustment of medications to prevent, stabilize, or ameliorate symptoms of a behavioral health condition.

RN Services: as needed through activities that may include the measurement of vital signs, assessment and monitoring of
physical/medical status, review of the effects and side effects of medications and administration of medications.

Clinical Coordinator recommends she attend all MD and RN appointments, take all medications as prescribed, counseling
referral as needed, engage with RS and FM to increase daily meaningful activity and enhance natural supports, Ensure follow up
with PCP and other medical specialists as indicated. CC recommends individual counseling.

TRANSPORTATION: CM or ACT specialist will support by assisting in coordinating, arranging, or providing clinically necessary
transportation for medically necessary behavioral health services.




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Rehab Specialist: Rehab Specialist services may include assessment of level of assistance he/she requires to create, plan, and
successfully work towards accomplishing his/her employment/learning and social engagement goals.

Peer/Family Mentor: Services may include group teaching independent living, social, and communications skills to persons
and/or their families in order to maximize the person's ability to live and participate in the community and function
independently.




Electronically signed by Kimberly Bryant BHT Is/                                                 1211212016
Kilnberly Bryant BlfT - Provider                                                                 Date


Behavioral Health Professional Reviewer Name (print)/ Signature                                  Date
Terros
Agency

 REMINDER: All demographic data reported to ADHS!DBHS rnust be revlev,1ed during annual update. Based on this revie,v:
     At a n1initn1m1 the following dernographic/clinical data fields rnust be reported to A.DHS/DBHS regardless of whether they have changed since the
     last data subrriittal: Axis t II and V and GAF/CGAS, behavioral health category, ernployrnent and educational status, priniary residence, nUinber of
     arrests since the last data update and prin1ary and secondary substance use; and/or
    All other demographic infonnation that has changed (e.g., other agency involve1nent, income for non-Title XIX/XXI eligibles).




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              I                                              ASSESSMENT FOR LEVEL OF C..:-\RE
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               Nan1e:                        Mubainn1ad Muhay1nin
               Date of Birth:
               Age:                       43
               Social Securitv• #:
                                             ~ !\1ale D Female
               Rac.e/Ethnicity:              Black
               Preferred Language:        English
               Address:                   IIOMELESS (1na.iling)                                                                 PI·H)ENIX, A.Z 85041

                                          ------------ · - - - - - - - - - - - - - - - - - - -..........................................._
               Phone Nu,nbcr:             --0786
               E-n1ail address:


               AHCCCS Coverage;
               Insurance Coverage:
                                          ~-
                                          -  -O
                                            Yes
                                          None
                                                 No,-Jjyes
                                                --    - -Al1CCCS
                                                           - - - -ID#:  - - - -andAHCC'.CS
                                                                    - --0335                                             lfealt.h Plan:
                                                                                · -...........-.........................................................................-..... MC                        ________
                                          ------------------------------ ....-..........................................



               En1ergcncy Contact:        Name:                              Mussallina Muhayinin- sister and guardian
                                                                             - - - - - - ' - - - - - - - - " ' - - - - - - - - - - - - - - - -...-..........-
                                          Address:                            Unk11own
                                          Phone Number: ---0786
               Prilnary Care Physician:   Name:                               None
                                          Address:
                                                                             ----------------------------
                                                                             NIA
                                          Phone Nurnb~r: N/1\


               Place of Evaluation:       CPR Tempe
               Date of Evaluation:        9/22/2016
               Referral Source:           f an1ily Jnember if other, spec(fy who: Mussatlina ~Auhayn1in
               Evaluator!Credenti als:    Tmnara Lan1011tagne, LAS1\C                                                                                                           Phone Number: (480)804-0326


               MEDICAL HIS'fORY:
                  M.cdical Conditions
                  Condition                    No/Yes                                                                                         Additional Information (onset, treatment, etc.}
                  Diabetes
                  Heart Disease {High
                                                rgj 'No
                                                ~ No
                                                               D Yes
                                                               [J Ycs, Ifyes, what:
                                                                                    ,_....                                                                                         -
                                                                                                                                          ..........................................
                                                                                                                                      '
                  blood .nressure.. heart                                                                                             >




                  attac~s, etc.) ..
                  Strokes                       f8I No D Yes                                                                          <


                  Lung Disease (Asthn1a,       . .0 . .No ~ Yes I/yes, whar: asthma                                                   !"""""""""""""""""""""""""-""
                  COPD, E1npbyse1na, etc.)                                                                                            '
                                                                                                                                      '
                  Seizures                      IS] No D Yes                                                                          >




                  Cancer                        ~ No Yes ![Y..~.~i. .:..~:..!.~.C!J.JY.P.~.::. . . . . . . . . . . . . . . . . . . . . '
                                                               O                                                                                                             "',,      -·   "',,

                  LiveriKidnev Disease          !XI No I I Yes




Name: Muhaymin, Muhammad                                                                        DOB:                                                                                                                                   Date: 09/22/2016



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                     Medical Conditions




                    Nmn bcr of pregnancies     i ~-tale
                    and number of live births? ! -------------------------------------------------.1
                    Difficulties because of    I ' No.                                                                                                             1
                                                                                                                                                                                         H


                    n1edkal issue~?            !

               MENTAL HEALTH HIS'"fORY:
                  1\<lental Health Treahncnt
               . .¼"I~ype . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . -.. . .-~.". . . .                                             ..,..,,.v.-....   ~ l,. \\' lier e                                                            W lien                                                                                \V hy/Diagn~o~-s ~i~s~~-------1
                  OutpaHcnt - rvredication Management and Counseling                                                                                                                                                                                                                             I     PreSM1                                                              determined in                                                                         BIIR never engaged in
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                   Other: BHR was unable to provide his mental health history. He can1e into the office then .in1mediately feU asleep as soon as
                   lhe eva[uation began. He ,vould n1ake up [ntennittently but never spoke. lie only tnade noi5,es and gestured fro1n time to
                   tirne.

               MRDICATIONS:
               .., Cu rrc n_t 1'1 ed ications .(psych la tJ•ic and ntedica_lj                                                                                                                                                                                               , m m m . • • m m m • - • - - m m m • - - · - - • - - m • - - m m m m m • - - m m m m w m m , . , m m m m w m • - - • - - m m m • - - - - m m m m m m m w m m , . , m m m m m , m m m __, __m                                                                  __m , m - - m m • - • m - - m - m




                    i\1cdication                                                                                                                                Dosaec                                                                                                                            A.dd~!_ionaI I~1 formation (i.e. reason f(!,,!:.. . B..~. F!J!.~1..B.~Y~~q. .f?. r... .q_(!J~.~-~-~£!.!.(:£1N---
                   None                                                                                                                                 1      NIA                                                                                                                               NIA



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                -~----~~-,....,.__-~----------+----••...........,...,__,.                                                                                                                                                                                                                                                                      ~-••....,........,,,....,,,,.,.,.,,....,..,,.,.,.,,,mmm,,,.,.,.,,....,..,.,,.,.,,,mmm,,,.,.,.,,....,..,.,,.,.,,,mmm,,,.,.,.,,....,..,.,,.,.,,,mmm,,,.,.,.,,.,,, .. .,,.,,,,.,..,,.,""''"''""''''""""''""''"""''"''""''''~.•.-.-.,.w,•N




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                    Side effects?;'\[/ A
               .,.,.,___...,..-,.....,,,.., ..... ..+,,...,..,,.,,,.,,,1.,,,,,.,..,,,.,.,,.,.-......................_..................._..........._..........._.....,_..........._..........,...........,..........._.............,....._..........,............_..............,•• u••••••U••U•• ................ u••••••U••U•• ................ u••••••u••U•• ................ u••••••u••U•• ................ u••••••u••U .... •.............. u • • • • • • u • • U • u . u • • • • - - - - - - - - I

                    Efficacy of current and past rnedkations? BHR's guardian \vas unable to recall past medications,




Name: Muhaymin) Muhammad                                                                                                                                                                                                                                                               DOB:                                                                                                                                                                                                                                                                                         Date: 09/22/2016



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                                                                                                                                                                                                                  ~mr::t: J\·1ulrnrnmHd M1Jlrnym tn
                                                                                                                                                                                                                             Date ..:1 r Birth:


               -•,~l:!!!.~,~~~ s            . ••••••••••••••••••••••••••••••                                                 •--••-•••-««••·•vNHHN~••••-«HNH•vu.vH•~••••-«HNH•vuHHH~••••-«HNH-NHHH,-••••-«••-HHH,-••••-«~•••••••••-•••----,.-wNNWHw-w=-

                 Desc ri ptio n (including onsett precipitating events, duratinn 1frequencyF triggerst and specific exrunples like quufej):
                 The BHR 41 year old! single, Rlack male \Vho was seen at CPR Tempe ,vith his guardian/siste-r} !\1ussaUinr:t iv1uhayn1fn for a                                                                                                            1

                 Pre.SMI evaluation. He is T 19 with; Jv1C, hon1eless and not e1nployed, As stated above, the Brfil fen asleep as soon as the.
                 evaluation bt=gan. He would inake up intennittently but never spoke. I~Te only made noises and gestured fro1n tiine to thne.
                 AU of the infonnation gathered below was fron1 the sister/guardian~

                  Presenting Concern: f'\Vell, l applied for guardianship and l have te1np guardianship and I ,vant to establish services for hint
                  and rene"'' rny guardiansbip.f                             1




                 'fhe BHR s sister reported he ,vas diagnosed with Schizophrenia and Bipolar as well as an addiction in the past, His
                                     1



                  syn1pto1ns include:

                 Depression: ~1 don't know. l sec n1orc of the Schizophrenia stuff/' his sister ans,vcrcd.
                                            1




                 N1ania: tlfo gets vvhcrc he is real hyper, scrcmning at the top of his lungs and making up s.ongs. ir BHR's sister \Vas unable tn
                 provide n1ore detai1s.



                 Psychosis: uu·rn} he is just saying really crazy things like asking if he can choke rne and he used to teach 1narital arts at the
                 con1rntu11ty ,college..'L He syinptoms .started 1 think in 2006 \.vhen our father passed because he and 111y father were real close.
                 They t't)Ok care of hin1 in the fan1ily. r BHR s sister endorsed he has AVH as ,Nell as delusional thinking "our conversations
                                                                                         1             1




                 don·t 1nake sense". At the thne of assessmtnl~ the BHR appeared unable to speak and only rnade hand gesturesT
               ---------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------~
                 Difficulties because of symptoms? 11 Homelessness and the addiction canle after and he has been arrested a lot. He ,vas
                 .stab bed recently. i,
                 H:o\1/ wiit yon knn\.V if thjngs are. bener/hnproving? ,tHe's not like this.ti
                 \Vhat type of assistance do you fed you need? •iHe needs aU the help he can get.H
               --·---------------------------------•T"------ ·-------------.. . . . . . . . . . . .-·~~--.----------.----.. ,,..-----.-----...--.. ----~-----
                  I-Hstory of su?cide
                 :attcrnpts?
                  Current ideatcon} intent,         I C8J No O Yes Jjyes, explain:
                __El ans~ or_ access_ to_ means? __ J-----·----·--------··,~~-----~----------------------- ____________
                 :h.1ost recent suicidal            ! ~, I don't kno\¥. r,
                  ideation? Was there intent                           I
                  or a plan?                        !
                  liistory of banning               I O No O Yes !fycs, explain,' t, t don't kno,v. u
               . .5'..~~~.~E~.7                         _. .. . .       J
                 Current ideation; intent,                              I
                                               r;J No D Yes !fye:s. eJ·p!ain:
                 p!ansr or access to means? !
                 Most recent hon1 icidai       irl don't kno\-v, ''     I
                 ideation? \Vas there intent !
                 or a nlan?                                             !
                 Hi.i:;tory ofsdf-injuriou~                            ft'.8J~No               y'es·-{fyes; explain:
                 behavior?                                              Il                   --------------------------------------------------------------------
                 was Duty to Warn                                      I ~ N~ -□ Yes {fyes, explain:
               . . conlJJl.eted? . . . . . . . .-.. .                   i                                      ..........· - - - - - - - - ~ ~ - - - - - - - - - - - - - - - - - - -



               SUBS1"ANCE ~~USE H1S1'0l{Y:
                                                                                   ~~---------------------
                Substance Abuse
               --------------,~------.....-------------                                                                                                                                           --------•~w,--,w,~-.~.-,w,~-.~-wv-w,,,-a,__e,-~~---
               .~!~e --~.,~-----~--~---------------,,,.--~ ~-~s-~_ t; sc                                                                                                Last Use ._. _ ........... lHstnr~/ Pattern o!,' use (tyJ!!~. .?rno1111t 1 and freguencyJ. . . . .
                Denied - ...................................................................................t!...................................... ................
                                                                                         ~
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                                                                        i                                  l




Name: Muhaymin) Muhammad                                                                                                DOB:                                                                                                                                             Date: 09/22/2016



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                                                                                                                                                                                                                                                                                                                                                                    Nnmc ~-h1b.armnad JvI uhaymin

                      Substance A.buse
                                                                                           --,--------~--------~----~-----"'"'"'"'""""'"'"'"'""""'"
                      Tv e                                            First Use                       Last Use
                        --------------------------------------·-----t--~----,:----------t--------------------~-----l
                                                                                                  l
                                                                                                                                                                                                                     Histor, PaUen1 of use (t • 1c, amount, and fre.9:u!!.!_IC_ )
                                                                                                                                                                                                                                                                1
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                     Othe.r:             □ l Hfs   s1 ster was unsure but kno\\'S he uses son1cthing.                                                                                   ►,r-ie                   asked                                1ne                for ice before. I <lon 't even kn O\V what that is.;,
                   .~P~~JL_Of choice?
                     Longest period of
                                                          -----------!-'~
                                                                    ! NIA
                                                                         --~i?__o_ ):_e~__ff1-?S, what·                                                                                                                                                                                                                      .. .             --------------'I


                     sobriety? How did they    I
                     function durin s_obriety?
                                            --
                     1-{istory of substunce      D No                            D Yes, {(yes, explain·                                                                      t,.lnknovvn
                     abuse treat1nent?



                     in1pacted functioning?
                     Additiona] I 11 format ion:                  IN/A

               LEGAL I-fIS1"0l{Y:
               ~--··  -·· - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,
                   ~!:e~,~al_ _ _ _ __
                    History of arrests'?                         l D No 0              ,/es ({yes; explain: BHR has been charged \vith nn1Hiple things including
               -------------;!_'. .'. . os_s~_ssi~n, trespassing, t~ai~~r~_!O aEe~ars and stuff !ike that''.                                                                                                                                                                                                                                                                                          ===~w-=~w-=•

                     Sentences?                                   !   His sister re orted she knO\VS he has served at least 2 years and 'jin and out over the vears~'.
                     Additional Inforn1ation:                         No current )endiu- le 0 dl issw:.s.


                     Education
                                                                                                                                                                                                                                                                                                                                                                                                                         --
                                                                                                                             .    -        --

                     Highest
                       ••'

                         _
                             ]eve! of
                     Education?
                                                                 I Graduated high school and con1pleted some coHcge.
               ~......,.,,.,., .......

                     Spcc.ial Education?
                                                                 I ~ No[..] Yes                  /lyes. explain:
                                                                                                                                                                                                                                        - . . . . . . . ,..........,••.....,.,_~--=.-.=··~NN.·.VN.·.-.·~·•.-.w.~•-=.-.=··=•·VN,•h¥llJ'.•.-.w.~•-==··=•NN,•h¥llJ'.•.-.w.~•-WNllNll.•ll,'N.•NN,•h¥llJ'.~~-·NN.VJ.0N.•.v,-.ww......w ......-,.,,.,.,_.~.-




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                     Additional Information:                     l1 N//\

                     En1piorment
                     Currently ·E1np1~ye(l?. "'                ' rlJ")·~·es'l~""K o"iji.~~s:· d~-~-~~·;~lbe the job. /typ,:• . .qf work. . PT.or . FT, . . etc,), . . !f no . describe . .1he . lastjob: . . . . . . .
                                                                      BH.R \Vas last en1p]oycd in 2006 uhe and n1y father o,vned a 1nartial arts sc-hoor.




               INTERPERSONAL FUNCTIO~ING:
               I                                              ~~~~~--~·




               ~~:!~"~ . !!}.~.~?.~~. . . . . . . . . . . . . . . . . . . . . . . . . . . . . ,_
               _Raised by? --~--~-~-w-•--~-~-~,.~,w. L~ ~1.Y dad and any 111 other died_ \V hen _v,;e v.;ere teen.age.rs.)' -~---~-~---~-~---~-~---~-~---~-~-~--~~-~--~~-~--~~-~--~--w
                                                                      1
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            _
                    Siblings?                       2 sisters.
                     Description of Childhood: BHR \~ias born and raised in \le\v York and can1e to AZ at age 14,
                     History of Abuse?              0Nok8J Yes If yes, describe:- On the streets BHR has been abusedl stabbed~ beat up) etc,
                     Developmenta! Milestones 1 ~ tvtet D Not Met~ explain:
                     (walk> t~!kt an~ot!}' t.r~}~
                                                                                                                                                   --
                     C,)nl~)lic.arions at birth?  l Nil\
                     Farnily history of n-lcntaI j No kno\-vn me,ntai health; No suiddes; asthn1a~ HTN and prostate cancer run h1 fmnily~Father hx
                     illness, suicjdes} rned ical ! of crack cocaine
                     issues, and substance
                     abuse?                                      l
                                                                 l
                                                                    j ~ Single D Cotnrnitted Relationship D !Vlarried D Separated                                                                                                                                                                                                                  l~J Divorced [_J
               I
               '
               I
                     Relationship Status:                                                                                                                                                                                                                                                                                                                                                                                              \Vidowed
               I

                                                                ..,Jl ,_Relationshir,                                                 Hisrorv: ·t,o current kno\vn current relationship. .
                                                                        ......,...,,,.., . . ~.. .,., . .,. . ,,.,,., ...,. ~.. .....,.,,,,."NNN~·-=·-.
                                                                                                       r!'..v.•.w.-,.,.,.w--.,.•.w,,,-,................,...,,.._._=•·w.-.•.w,,,,,.•NN,.,W,,,,.....~..,,.,,....~·~•-w.-.•.YN.",.•NN,.,V.,,,.,...••~~•.v.,.v,-.-.-.-,.   ••• ""·   ...         '          . . . .                                    "· .,,,..,."NN.w.,,v.•.w,,..,••NN.V.'."N.·.YN.",."NN.w.,,..........,.,_Wll..,.h"NN.·llo'N.·.'."N.•h-,.,.....•.-.w.wN..,.h"NN.·=·•'Hh•.w=.•.-.w.wN.-,,.w,,.....




Name: Muhaymin) Muhammad                                                                                                    DOB:                                                                                                                                                                                                                                                                                                                                                                             Date: 09/22/2016



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    COP 015251
                                                                                                                                                                                                                                   Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 33 of 179




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Nnmi::: Mulu.unmc1d i\1nlrnymin
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   Datt of Bi11}1;
                         Socia J History
                         Children:                                                                                                                                                                                     2 children a )es 23 and 1O; no contact



                   GENERAL Fl;NCTJONING:
               r'"~"•''••u..-.,...•.YH...._•.,...,,......,..._..,,...,,.•.....,.......-,.,,....••..,,.,..~•,.-.,.,.....,.,.,.._•..-....,.•..-.,.,.,.-.,.,,,..~.•.-.w.....•.,.._,..-.-.,..._..,,..,.,...,...,,..._..,....,,,.••..,,,,..._•.,....,..,........,•.......,_~•..-.,n,.....,.••....,.,,_........-........,,_._..,,_._._..........,•.,.....,,_._..,,_._.._•.,...,•......,,_._..,,_._._..........,•.,.....,,_._..,,_._.._•.,...,•......,,_._..,,_._._..........,.,......,,_._..,,_._.._•.,...,•......,,_._..,,.._.._..........,.,....,.,,_._..,,.._..._.......,•....,.,,_._..,,.._...,.........,•....,.,,_._..,,.._...,.......,•....,.,,_._..,,.._...,.........,•....,.,,_._..,,.._...,........,•..-.,.,..._~..,........,.~-~..,........,•..-.,.,..._~..,........,.~-~..,........,•..-.,.,..._~..,........,.~-~..,........,.~.•~~•~.•~~•~.•~~•~.......,.,......,,_._..,,,_..,.~~



                    Living Situation
                    Li vjng A.rrange1nents                 Horneless for tlle last 6+ years.
                    Source of Finances                 · None.
                   _Method_ a f Tr anspo rt at i on __J __ ' \Valk .
                                                                                                                                                                                                                           1                                          1
                                                                                                                                                                                                                                                                          ; -------------------------------------------------------------------------------------------------------------------------------------------------------------------



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       -                                    -                                     _'1-..,..,,.. .... .....,_,...,._-'+ ..


               .;;~1;:;;e1~;:~t•x_                                                                                                                       U~in~
                                                                                                                                                                                                 Denied eroblems
                                                                                                                                                                                                                                                        H




                                                                                                                                                                                                                                                                      Difficulty reeoned (eiease exelain)
                                                                                                                                                                                                                                                                                                            ,.... ,,,,,, ....     ~                  ........... ,.,                                                              .............                                                                                                                                                                                                                                                                                ,_..............+,,.+r+.+....-..,.,.,,,,
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               """'''"'"'"'''"""''




                    • Bathing......                                                                                                                                                           l ~                                                                     D 'He looks clean \vhen \Ve. rneet up.                                                                                                     1                                                                                                                                                                                                                                    11



                   ~Grornning1l-1ygie11e                                                                                                                                                       _[?.<}                                                                 LJ BHR _did appear clean, neat and it nic\v clothing.
                    • Preparing food                                                                                                                                                          ~          _                                                            D "He has lost a lot of weighr since J seen him since August. He had a                                  !
                   --
               ~-• 1\1obHitv       ....                                                                          ....                                     _                                                                           ---·····-..-...-.. - ...........~. ~tan}£ card, but l don't_ know _what IE:££~ it:'.'._~H-½WNH~•~N-
               ,                 ~-,-,-·~-,w.·~w.·•-                                   • •-·~~----,·-~~.w~,w,_,_,_,·-~~.w.·                                                                                  10                                        •~sw,_,_,_,·-~~.w~,w,_,_,_,._,~~-~.
                                                                                                                                                                                                                                                                                                                                                                                i,., 0.w,.,w,N.·~WNN.~·-•-'w,N.·~---~·-~,w,N.·~----,·-~~-•-•·~----,·-~~-•-••~--.--.·-~~-•-••~~--.--.·-~~w~,w,_,_,_,w,~~-w~,w,_,_,_,w,~~-w~,w,_,
                         • Housework                                                                                                                                                                         l                                                                                                                                                                              Homeless
                         • Shoppinf;
                                                                                                                                                                                                                       □                                                                                                                                                                 0 Unkno\vn
                         It
                           Managine: 1noney                                                                                                                                                                   L. J                                                                                                                                                                       [] \ro income-.
                         • Taking n1cdication
               L __________ __.__ ___ ..:t.::::...____.__, •                                                                                                                                                 l□                                                                                                                                                                           13'.l 11He onlv stays on 1neds unti 1he is                                                                                                                                                                                                                  incarcerated. 11


                         Typical day
                          \Vhen asked to describe_ their typical day they replied~ ·~BHR n1ade noi~cs and n1otioned i~_k__e_h__c_i_s__"'vv_a_I_k_in~g~·/_~------~




               BEIIA''IORAIJ OBSERVATIONS:
                         General Appenrance




                                                                                                                                                                                                                                                                                                                         -       --
                    Dem ea.nor /Interaction
                                                                                                                                                                                               I
                    .Ivlood (as reported by             uBH R made a gesture he ,vas hungry:r                                                                                                  f
                                                                                                                                                                                               !-
                                                                                                                                                                                               I



                    the    individual)
                      ....
                   ,.........,.,. -.~....

                    Affect (as observed by l □ E{iii~·);mic~ LJ Dysph~ri½~NN□N~up"h~'~·~□ lr ritabie □A~;;ious~tJ Angry
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               0

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      O Euphoric -~?l~Fiatw~www
                                                      f D C.onstricted D Labiic
                                                      l
                    The evaluator)                                                                                                                                                             }


                !                                     f [J Appropriate Cg] ~-1inin1al D Poor O .Adequate D Cons_~nt
                                                                                                                                                                                               f
               I

                '
                    Eve Contact   t
                                                    If
                                                      f 0 Good =:] __ Resista11t ~_Hostile □ _Defensive LJ Evasive i:8J Apathetic
               l:__ 1\dd1tional
                    Cooperation
                     _____ ________________
                        ...,..                ..,._
                                                     lf
                                       information: f NIA                                                       ...,..
                                                                      .......                                                                                                                  I,                                                                                            ,,,..      ...,,....-.-.~-,-                                                                                                                         ·,t,N•·~~~.-.w.,.•~=•·..w.•N,WV.•.......,._w,·=,..,.,..,,._,·.~=•.-.w.·NNN.·.....,,._~••.,.,..,.,,,..,.,..,,._,••~HN.•.-.w-.·NNN.•....,,._w,·=.-.-,.,,.-,..




                        Sp~cch                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         D
                         Articulation                                                                                                                                                         i O Goal-Dirc.ctcd [] Unintc[Hgiblc l... . . ! \1umbled D S]urred [] S~Y.ttereg-'=c.c,__C_k_a_r_ _ _ __
                         Tone                                                                                                                                                                  tD Norn1a! D Soft D Loud
                    Rate                                                                                                                                                                      ! LJ Normf~i C Slow D Verbose D Pressured                                       -                                 -                                   -
                    Res onse Latent                                                                                                                                                           t t'W"! Within Nornut! Lirnits f""'"f"'iS~f~~y~d 'D's11~)1:t~~e,f"'""". "'""'. . "'""' . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                   _,. ,-..~, p     :Y . . . . . . . . . . . . . . .
                                                              •-HHHH-H-'H-~-~~-~-....                                                                                                         1     ,~--·--~·~-----•-_;;:=-_._--,:............-==:..._..~~~~----~-------------,
                    Additional Information;                                                                                                                                                   ! BHR d~d not speak.
               ---~~-~-----··-~                                                                                                                                                                                          -       ----~--------------------------------
               f         i\'1 otor ,\ctivitv




Name: Muhaymin) Muhammad                                                                                                                                                                                                                                                                                                                                                       DOB:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Date: 09/22/2016



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          COP 015252
                                                                                                                                                                                     Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 34 of 179




                                                                                                        Name; ~t·f uhar.inrnd \:hthiiy.min
                                                                                                               Date: ~if .Birth
               , - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -~--~-~---~--~-~--~-~----~--~---
                   J\llotor Activity
                 __Qi3-i!__________                                                                                                           · --f-Qs] Norn1al                      Staggerin r D Shuffling O Slo,v D A wkvl"ard LJ Use of Cane.  D
                   Posture          .                                                                                                                     I        r2:J_ t,.;onna! D Relaxed _O_ Ri_g_id D Tense D Slouched O Erect
                       ~~~~;~~=u~r~ei!o~-~1~il :t~: ~~~-DJEko9~~m::~~i~o~~;~,~Jcil i1E~~-ac!i_v_1;_Q=_it_at_~e_d__                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    -l



                       Additional Information: t N/A
                         -    - - - - - - - - ~ - - - - - - - - - - - - - - - - - - - - - - - - - - - - - · - ·-··-·-••1-•-··---··-·"'"'""""'"'"'"'""""''




                       Perception (as observed                                                                                                            ! t-1 Unremarkable D Auditory HaHucinat.tons U Visual HaHucinations D Tactile Hallucinations
                       by !he evaluatnr ~-- i.e.                                                                                                          ! D {)Jfactor{ Hallucinations D Gustatory Hallucinations
                                                                                                                                                           f                                                                                       ~

                       responding                                                           lo unseen                                                      f
                                                                                                                                                           f
                                                                                                                                                           l
                                                                                                                                                           f
                       otherJ,)                                                                                                                            f
                                                                                                                                                           l




                 ___l~~)_p~l~~--~-~~trol                                                                                                                  {       0               Good                                            O Partial O Limited O Poor D None
                Insight_~l □ _Good D Partial D Lilnited D Poor D None
               Additional lnforrriation:.... fL.....
               ~ - - - ~ - - -••=
                                                BHR               did not sneak.
                                                     ~ ...............................................c___,______~ - - - - - - - - - - - - - - - - - - ~ - - - - -                                                                                                                                                                                                                                                                                                                                                                                                                                        - . - -.........,,,..,..._ _ _ _ _ _....,


                 -In te.JHgen Ce ---------------------- --------------------------·-·---------------------------------------· ------· --------------- -------· -----. ------- - -- ' -                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         ---
                  Esthnated inteHigence                    I I Average[] Below Average D Above Average D Borderline 'Intellectual Functioning
                                                           D InreUectuai disability [8] lTnable to detcrn1ine
                  Addition.al [nfonnation: BHR did not speak; Miv1SE was unable to be con10Jeted due to the condition of the B1-{R.

               1\1EN·T.AL STATUS:
                       Mini Mental Status E-xant
               !---•~~~~~---~--                                                                                     -~ -----~----~-...................................................... - .......__,._,.,...~""""                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                -w
                       Category                  i\il etlSU rem en t                                                    Results
                       Orienta1ion               Asked,abou,U1~~on~ place) tinie, and situation.
                                           ·-·                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ·-
                       Attention                 Asked to cornplete Serial 7~s (counting
                                                 backv,rards fron1 100 in incre1nents of 7) and
                                                 the '\.vorld~' task (spelting the ~..vord ~'\vorldH
                                                 forwards and back\vard.s.
                                                                        ._._.                                                                                                                                                                      ~




                       In1mcdiate R.ecaH         .Asked to repeat three \vords: '~Robin, Blue, and
                                                 St
                                                  ---
                                                       Louis,"
                       Nan_}ing          .       A sk~~,.to identify a_ ~en and_ ,v a tch.m.•m-~m,~m-•--~~m-•m-~m,~m.-.                                                                                                                                                                                                                                                                                                                   ......-......-,-.-.-.-,-.--.,-,.,...,..,.,..._.,_...,..,,..-....-r.....,..,..,..,-•.._-.-,-.--.-,.....,.....,._.,•...,..,..-....-r.....,..,-,-,-•.._-.-,-.--.-,.....,.....,,._.,•...,..,..-....--r.....,..,-,-,-•.._-.-,-.--.-,-....-,-.--.-_..,..,..,.•.._...,..•.._...,......-,-..._-_.,_w........,._-....,.,,-,.•.._.,._.._...,......-,-..._-_.,_..,.._.._.._....,._-....,.,,-,.•.._.,.•.._.,......


                       Repetition                Asked to repeat the phrase: "No Ifs; ands~ or
                                                                                                                                                                       buts.''
                       Fol1owing Instructions                                                                                                                          Asked tc, take a pjece of paper in their right
                                                                                                                                                                       hand~- ~fold
                                                                                                                                                                                -
                                                                                                                                                                                    it in half~ and set it on the table.
                       Reading                                                                                                                                         Vias sho\:vn a picc-e of paper that read; '~close
                                                                                                                                                                       your eyes, Band asked to read it and do what it
                                                                                                                                                                       says.                                                                                                                              ---        -                                                                         --- -
                       \Vrit1ng                                                                                                                                        lnstructed to write a sentence of- their choosing.                                                                                   "
                                                                                                                                                                                                                                                                                                                                                                                                                                                   They "vrote:                                                                                           ~~                                                        ''
                       Construction                                                                                                                                    Asked to draw a dock \Vith the hands pointing
               l'-._._...••._._......,._._._..,,......_.........+ .. uH••u ............ H   ... u ...........
                                                                                                                                                                       to 11: TO mn.
                       Ddayed Recall                                                                                                                                   Asked to recall the above words after a five
                                                                                                                                                                       minute delay.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             ..--....-----------------------------------------------------------------------------
                -------- ~-~.-----.. ---.                                             ............,,_.. ~. ~_..,...,...,..,..,.,..., .........._,.,..,.....,..-v-,-,.............-,.,..,........-vv-,.............- , . , . . , . .......-vv-,-..,........,_ _,.,..,.....,..-v-,-,-..,...,.,-.~...                                                                                                                                                                                                                                                                                                                                                                                                                                      -++-+',.....,



               ~-
                Higher.. ....Executive
                              .
                       Category
                                       Funetionin~
                                           ........,...,.,,... .,,,,, , ,,   .,. .......... ""''"'"'"'""'""'"""'"'''"""''"""".......,.,..........,.,.,.. ......,....             __
                                                                                                                                                                       Ivfeasu rem en t
                                                                                                                                                                                        __...,,,,.,...,.....,.,..~~---·
                                                                                                                                                                                              ......,.,.,...,...,.,.,........,.,.,.....,...,....       ...,,,,.,._.,...,.,.,........,.,.,.....,...,....                                                                                                                       ~-~._


                                                                                                                                                                                                                                                                                                                                                                                                                                         !          Ilesults
                                                                                                                                                                                                                                                                                                                                                                                                                                                                .........................................................................................                                                                                                                                                                      "       ..                                   - - - ---- ·-

                       Current events                                                                                                                                  Asked to nanlc- the last three presidents of the                   They responded:                      .n                                                                                                                                                        iI
                                                                                                                                                                                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               H



                                                                                                                                                                       United States.                       -------------------------t---------------------------------------
                                                                                                                                                                                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                                                                                                                                                                         I


                       Judgrnt!nt                                                                                                                                      Asked \Vhat t11ez· \1/0111d do if th~• encountered                 They stated"                     Hand H                               ............... ,,,,.,.,.... ,~
                                                                                                                                                                                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                                                                                  ,-,..,..•~.•.-.,.-.-~~••....,....~.•,•N.w~•.VN.•N.v.-.•,.......,._w,•.....-....,..,.,._•,VM.u,:..u,.......-.••........-~••.......,.J. .. ..,...,_,••NN.w.•.-.•,......,.~•--•• I I I I I I I I I I                                                       I I I I               I I        I I I                                                               I I , ..;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               ~'t
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                I I I                             , ., ........            ~.--...............
                                                                                                                                                                                                                                                                                ' '                                                                                                                                                                                                                                                                                                                                                                                             I    I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ' '                                                111




 l
 L--
Name: Muhaymin) Muhammad                                                                                                                                                                                                                                                                                        DOB:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Date: 09/22/2016



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   COP 015253
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   --   · - -·-   ··------------~-----------------------------------------



                                                                                                                                                                                                                                                                                                                                                    DaH;          0   r 8.irth:
                        lfi 0 her Executive Fnnctioniu
                                                    J\'leasurenient                                                                                                                                                                                                1
                                                                                                                                                                                                                                                                        Results
                                                    a burning house in their neighborhood and a                                                                                                                                                                         respectively
                                                                                                             stamped~ sealed~ and addressed envelope on the
                                                                                                             street.
                        Problem solving....                                                                  .,;\sked to identify the. similarity bet,veen an                                                                                                          They repI ied: ~,
                                                                                                             a le and a banana and a car ....and    a boaL
                                                                                                                                                 --~---- ..... ---- -.                                                                                                  - - -- - - " " - - - - - - - - - - - - ~ - - - - !
                        Abstract thinking                                                                    Asked the tneaning of the foHo\ving proverbs:                                                                                                             Thev,, said: "
                                                                                                                                                                                                                                                                                                                                ,; and            H


                                                                                                             '"Don,t cry over spilled 1nHkn and "Ron1c                                                                                                                 rcspccti vc ly.
                                                                                                             w·asn t built in a da
                                                                                                                             l                                              .t
                                                                                                                                                                                 1




                        .Additional information
                        C1inical records obtained;                                                        D Yes ~ N·o                                           If no~ explain:
                        Pend options:                              □ -3-day -□                               20 day pend                              □ -E-E-P-lf~3-d_a_y"-e-,x-pl-a-in-:P-r-c-SM_l_ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                    _ _ _ _ _ _ _ _ _ _ _ ,,,,m,1UIIU" .. ,_..,.,,,mmm1, .. ,.......................--..,._... .,., ... ,., .. ,.,. .. ,u,unuuo"o"n""'"'""""'"'""""'""'"'"'-''N1YN.•.W.,.WNN.-."<W.".•.-HY.••YN.•-•-....••NN,.,.,,,,...,,_.,.,,.,,,_.NN.•N.-,'•hn-.......NNN.•.-HY.•NN.•N.....-.••-•--••......... "'""''""''"""''"''"'"'''""""''""''"""''"''""'"'"'"""'''"'"'"'''"""'"'"'"'"""'''"'"'"'''"""'"'"'"'"'""''"




Name: Muhaymin) Muhammad                                                                                                                                                               DOB:                                                                                                                                                                                                                            Date: 09/22/2016



                                                                                                                                                                                                                                                                                                                                                                                                                             COP 015254
                                                                                                                                                                                                               Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 36 of 179



                                                                          .        ---------------------------------------------------~


                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Nmnc: l'\h 1hmrnr.~d tAuhavm.in
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Dat,· Gf L3irth:
               SlJMlVIARY:
               ---------------                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               --------
                     Clinica I .summary ·-•-.--,-------~--···~·.                                                                                                                                                                                                                            ··"·-~-·-------·-·-N•-··-··•w••vHHHH-VVVV-•·•w•·•vHHHH-VVVV~•·•w•·•vHHHH-VVVV~•·•w•·•vHHHH~-HHH-Y••··•·v•••-HHH-VY•.. ·············~,

                     The BHR 43 year old, srngle, Black male who was seen at CPR Tcn,pc with his guardian/sister, l'vfussallina f'v1uhaymin, for
                     a PrcSi\lH evaluation. He is Tl 9 with, :tvlC, hornelcss and not employed. As stated above, the BHR fell asleep as soon as the
                     eva)uation began. He wou[d niake up intc-nnittcntly but never .spoke. He on·ly 1nade noises and gestured fron1 time to tilne.
                     All of the information gathered he1ow \Vas from the sister/guardian. BHR•s sister reported he is prin1arily psychotic,
                     delusional and having AVlI and is una\vare of rnood syrnptmns, anxiety or \\'hat substances he n1ay use. Given what is
                     kno\vn_, the BH.R app_pars to _rr1:eet_ criteria for F20.9 Schizo hrenia.                                                                                                                                ---------~-------------~-------------'

               DJA(;NQSTIC IMPRESSION:
               .----------·- ---
                            ----------------------------~~~~-----------


                     F20.9 Schizophrenia
                     Z59.0 Hon1ekssness


                     ASAM SUJ\tilvlARY:                                                                                                                                                      □ Con1pleted                                                                                 ~ Not applicable, explain: .Hx unknown.
                    ...
                     Dhnensions                                                                                                                                                                         I I- I nmxk.alio:1                                                                           2- Biomed                                                          ····":i~··"ii;;·~-;'i'f~;·;;j"·'""···"7·"";i':·"p~;adities s-·· ! 5- Relapse                                                                                                                                                                                                                                    6- Recovery environment
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       ,.,.,..,..._,,,,.,,.....,,.,,            ........ ,....
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .. _.. .....•••~•"""'-"'-H•""""""


                     Risk leve-1
                     (O)No risk (Lo,;v)
                     (1 )Mild (Low)
                     (2) Moderate (iv1edhun)
                     (3 )Significant {f'v1cdiun1)                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ........
                     (4) Severe {Hi_gh)
               '-'•"-'-'•·.,....--~~,,_._-..•......,.v....,..,_~..-.-•.~v..••_._.•.•-....__-... ..,,_-,......,._.,.   -~•..,.,..,u_-....__••....,_..,~..,-~..-.-..-."-'-·..-..-.-..-...... .,.,.,.,.,   L   .-.-~._,.......,_-,.._._._•••_._._.~..__,.,_.,._.,., • .,.,.,._.,., .. .,.,.,.,.,._ ._   .-..••"-'-•....._._,_-,...__••_._.••.,~..,-~_,_-,_••"-'-•....._.   ._..__._._._._._._......,._....._._•...._..,_._.,_..,_._._._..__._._._._._._.._._,._....._._....._..,_._.,_..,_ ,.___.__.,.._._._._._.._._,._....._._....._..,_._.,_..,_._._._..__.,.._._._._._.._._,._....._._....._..,_._.,_..,_ .._..__.,.._._._._._.._._,.__....._._....._.._.._.,_..,_.,_._._..__.,.._._._._._.._._._....,._._..i_._.._._._._._•...._~..-..~.._._._.~.-..-~v-~..-.-..-."-'-•..-..-.-..-_-,...__-,..~.-..-~v-~..-.-...•"-'-..,......,_-....__••~.-..-~~




                                                                                                                                                                                                                                                                                                                                                                                                                                                                    LASAC II .Evaluator                                                                                                                                                                                                                                        9/22/2016
                                                                                                                                                                                                                                                                                                                                                                                                                                                                    Credenti.aJs1l>osition                                                                                                                                                                                                                                     Date


               Supervisor's N an1e (print)/ Signature                                                                                                                                                                                                                                                                                                                                                                                                               Crcd en ti a!s/Pos iti on                                                                                                                                                                                                                                  Date




Name: Muhaymin) Muhammad                                                                                                                                                                                                                                                                                                                  DOB:                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Date: 09/22/2016



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      COP 015255
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                                                                                                                                    N.am~~; iVitdrnrnmmJ i'~'J ulwymin
                                                                                                                                           Dv.tr- uf Birtk

                                                       ADIIS/DBllS POLICY i\ND PROCEDURE MANUAL
                                                                                   Poli.c.y Forrn 106.1
                                                                                 Serious 1\-1 en tal Illness
                                                                                  DE TE R!vf IN ATIO 1'.




                      Based upon my direct behavioral health assessment of this person, or my review thereof+ I

                      J!tnara Lan1ontagne                                                          L}\.SAC
                       Print Nan1e                                                                 Credentials

                      make the fo!towing preliminary serious mental iUness eligibility rccon1111endation:

               1.     Preliminary Reconunenda.tiou of Qu~lifying Diagnosis! (Select the person's principal diagnosis(es) supported by
                      available information. J

                        Psychotic Disorders:      0    F20.0   0   F20.l   O F20.2 0F20.3 0         F20.5 ~ F20.9          0   F28 □ F29 0 F21       0    F22 □ F25.0
                        [] F25.1 □ F25.8 □ F25,9

                        Bipolar Disorders: 0 F3 l.O □ F31. l O F3l.l0OF31. 11 □ F3 l.12 □ F3 l.1J □ F31.2 □ r3 L30 0 F3 l.3 l
                        0F3L320F31.4 nr3L5 0F31.600F3L610F3L620F3L630F3L64 0F3l.700F31.710F31.72
                        [] F3l.73 0 F3l.74 0 F3L75 0 F3l.76 □ F31.77 □ F31.78 0 F31.9 LJ F3L81 0 F31.89 0 F34.0 □ F39

                        Major De.prcssion: D F32.0 D F32, 1 D F32,2 D F32,3 D F32.4 D FJ2.5 D F32.9 D F33J)                                  D   F33, l      D F33.2
                        0 f3JJ □ FJJ.4 0 P31.40 0 F33.4I O F33.42 0 F33.9 0 F32.8 0 F32,9 0 F34.1
                        Anxiety Disorders:        0   F40,00   0   F40.01 OF40.02     0   F4 LOO F41. l        O F40.2 0       F4I .8 □ F41.9

                        Trauma-Related Disorders:           D F43 .10 D F43 .11 D F43J 2             Obsessive-Compulsive Disorders:             D F42
                        Dissociative Disorders:       D F44.81
                        Personality Disorders: [] F60.0~ [] F60.1 ~ [] F60.3, [] F60..1, [J F60~5,                D F60.6, D F60.7~ D F60.81 ~
                        0   F60.89,   0   F60.9

                    l(a) The above noted dh1gnosis(es) is/are suggested based upon the foHowing signs and sy1nptorns of the niental disordcr(s):
                    (Provide descriptions of both positive (confinning) findings and negative C~rule~ouf findings for other diagnoses that v;ere
                                                                                                                   1
                                                                                                                       )


                    considered}.
                    PreSivH~ BHR's sister reponed he is pritnari1y psychotic,. delusional and having AV.H and is una\vare of mood
                    syinptotnst anxiety or \Vhat substances he 1nay use. Given 1,vhat [s known, the BHR appears to 1neet crilt;;r:ia for F20.9
                    Schizophrenia.




Name: Muhaymin) Muhammad                                                      DOB:                                                                                       Date: 09/22/2016



                                                                                                                                                                           COP 015256
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                                                                                                                           p,-.     u .......   ~:·I't Ir.t'IO)
                                                                                                                                                ~\      l t   .11   u ',r
                                                                                                                                                                »1°~-1 J'itl:i.'lii-issn·J.n~
                                                                                                                                                                    .....      i..d', t   ;,.,

                                                                                                                                                Date ~;f Hh1h: ■-
               2..   f_r~tlmJnary Recomrnendation of Funetional Criteria: As a result ofthe above diagnosis, the person exhibits any itern
                     listed unde-r 2(a), (b), and/or (c) for most ofthe past hvelve months ~r: for n1ost of the past six 1nonths \.Yith an expected
                     continued duration of at least six 1nonths:

                     D   2(a) Inability to Hvc in an independent or family setting ,vitb out supervision (Self Care/Basic Needs) - The
                              person's ca pa city to Hvc independently or in a family settingf ind uding the capacity to pro vi de or arrange fi.,r
                              needs such as food 1 clothing, shelter and medica1 care.
                         ['] N cglect or disruption of ability to attend to basic needs.
                         D N eed5 assistance in care fo t· se] f.
                         D Unable to care fur self in ::iafe or sanitary manner.
                         D    Housing~ food and clothing must be provided or arranged for by others.
                         D    L~nable to attend to the n1ajority of basic needs of hygiene,, grooming~ nutrition., medical, and dental care.
                         D    Unwiliing to seek prenatal care or necessary n1edicai/dent:al care for serious medical or de-ntai conditions,
                         D    Refuses treatlnent for life threatening illnesses because of behaviora] health dfaorder.

                     .. J 2lb) A risk of serious harn1 to self' or others (Social/ Legal and/or J?ccling/AffcctlJVIood) ~ The extent and ease
                               with which the person is able to rnaintain conduct v,rithin the H1nits prescribed by la,v, ruies and social
                              expectations,. and/or the extent to v,thich the person~s en1otional Hfe is wen 1nodulated or out of control.

                         D    Seriously disruptive to fmnily an<l/or conununity.
                         D  Pervasive! y or iln1n incn t]y dangerous. to od1er.s) hod Hy safety.
                         D  Regularly engages in assaultive behavior.
                         [] Has been arrested incarcerated, hospitalized or at risk of confineinent because of dangerous behavior.
                                                 1

                         D Persistently negiectful or abusive towards others in the pe-r.son 's care.
                         D Se-vere d~Bruption of daily life due to frequent thoughts of deathi suicide~ or sclf-hann~ often with behavioral
                            intent and/or plan.
                         D Affective disruption causes significant darna.gc to the person's education, live1ihood career, or                    1

                              personal relationships,

                     □ 2(c.)
                         , \ Dysfunction in Role Perfor1nance - Person's capacity to perkHn1 the present 1najor role thnct1on in society --
                              sc.hoot work, parenting or other developn1entally approprlate responsibility.
                         CJ   Frequently disruptive or in trouble at vtork or at school
                         D    Frequently tern1inated frorn v1ork or suspendediexpeUed fro1n school.
                         D    tv1ajor disruption of role fi111ctioning.
                         :J Requires structured or supervised work or school setting,
                         :J Perforn1ance significantly belo\v expectation for cognitive/developinentaI level.
                         ~ Unable to \Vork; attend school, or !nect other develop1nentally appropriate responsibilities.

                     The above noted Functional Criteria ratings are suggested based upon the foUO'wing information regarding this person ls
                     functioning: (Provide a description of positive (confirming) findings and negative {'"rule~out'') findings of the functioning
                     CJ f this; pcrs on).
               NlA




                                                                                                                                                                                          p·~h~(: ~

                                                                                                                               J'nh·y F.nrn JU6. l, ~\·!l Dei·~·m11n;it1i:m
                                                                                                                                              t.a~l n.(~\i $(cd· 9..·19,.;,r.t 5




Name: Muhaymin) Muhammad                                                    DOB:                                                                                                                 Date: 09/22/2016



                                                                                                                                                                                                      COP 015257
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               3,   Ris_l_{ of Deterioration

                     [gJ The person docs !Htt currently meet any one of the above function a! criteda 2(a) through 2(c) but may be expected to
                         deteriorate to such a level w·ithnut treatment

                         t8J   A c1uulifying diagnosis with probabie chronic) relapsing and rernitting course.
                         D     Co . . n1orbidities (like n1ental retardation, substance de,pendence~ personality disorder, etc.).
                         LJ    PersLstent or chronic factors such as social isolation, poverty~ exlre1ne chronic stressors (Jifc~threatening or
                               debilitating 1nedicai iHnesses, victi.tnization, etc.)
                         D     Otbcr (past psychiatrfc history; gains in functioning have not solidified or arc a result of current compliance
                               only; cou rt-con11n itted; care is con1 plicatcd and rcqu ires 1n u1ti pl e providers; etc.).



                    The above noted Functional Crireria ratings are suggested based upon the foHo\ving inforn1ation regarding this person's
                    functioning; (Provide a description of positive (confinning) findings and negative c·rule-out        1
                                                                                                                             ~)   findings of the functioning
                    of this pers.on),
               PreSJ\,11; Given what is kno\vn, the BHR appears to meet -criteria for F20.9 Schizophrenia.




                                                                                                LASAC II Evaluator                               9/22/2016
                    Assessor's ~.amc (print) / Signature                                       Cr eden tials/Positio n                           Date




                                                                                                                                                                            P;1t.:: .1
                                                                                                                                   Poli::y r'nnn I06. J, S ~·.:11 !}.;t1.:m1i1utimi
                                                                                                                                                   L.1i;1 Rcvi1~d, t}_,:_q_:zo-: S




Name: Muhaymin) Muhammad                                                  DOB:                                                                                                      Date: 09/22/2016



                                                                                                                                                                                         COP 015258
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                                    -·--    ------------------------------------------------

                                                                                                                                                                                                                                                                                                                                                                                                                        Nmnc: rvhihmnnrn<l :\-luhnymin
                                                                                                                                                                                                                                                                                                                                                                                                                                                         Da:e 0fHtrth: -


           II. Final Si\111 EHgihility Dctcrn1inat.ion Evaluation

                             D            Sf\-11----, All of the available information supports the con cl us-ion that the above individual has a qualifying
                                           diagnosis ( l) A NIJ either 1neets one or 1norc functional criteria (2) OR is at risk of deterioration (3) and
                                           therefore nlci:.~ts :\DHS/DBHS clinic.al criteria for St\lIL

                                          D S1'v1I A - Functional Criteria 2a or 2b
                                          D S11I B ~ Functional Criteria 2c or 3
                             D            Not SMI - The above Individual does not nu~ct ADI 1S/DB [ iS cEnical criteria fo-r S~1T.

           Clinica! rationale for finaI deterrr1ination:



          ---------------------------------------------------------------------------------------------·----------------------


                 ---------------NNNmN-UUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUUOOUUUUUOOUUUU.-,                                                                                                                                                                                                                                         h            .,ouU<O««O<«m<<OmO<<<«m<<<•<«OO<<«<<U<«<<<OO««<




          __________________                                                 ....._....,........ ,,,.,,, .. ,.,,,, .... ,, .. ,, .. ,.,,,, .... ,, .. ,, .. ,.,,,, .... ,,, .. ,.. ,.,,,, .... ,,, .. ,.. ,.,,, ..... ,,, ....... ,,, ..... ,,, .. ,.... ,,, ..... ,,, ....... ,,, ..... ,,,.. ,.... ,,, ..... ,,,....... ,,, ..... ,,,.. ,.... ,,, ..... ,,, ..... ,.. ,, ..... ,,, .. ,.. ,.,,, ...... ,, ..... ,......... ,,, .. ,.. ,.,,, ..... ,,, ..... ,......... ,,,., ...... ,, ... ,.... ,,,, ........ ,




            Rc-vicv.. cr Name (Print)                                                                                                                            Signature



            Credentials/ Position                                                                                                                                Date of Dctern1ination




Name: Muhaymin) Muhammad                                                                                                                         DOB:                                                                                                                                                                                                                                                                                                                                                                Date: 09/22/2016



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       COP 015259
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  /rupmin9 lna119e
           to, life
                            5030 W McDowell Rd Ste 16Phoenix AZ, Arizona 850353900 (602) 278-1414 Fax (602)269-8410




                           Fax Transmission
DATE: 01/23/2017
TO:                                             FAX:

FROM: Amy Beard
REGARDING: PCP notification
NUMBER OF PAGES IN THIS TRANSMISSION: 2

                 ********************CONFIDENTIAL*********************

This electronic mail message contains information that is or may be LEGALLY PRIVILEGED,
CONFIDENTIAL.PROPRIETARY IN NATURE, OR OTHERWISE PROTECTED BY LAW FROM
DISCLOSURE, and is intended only for the use of the Addressee(s) named herein. If you are not the intended
recipient, an addressee, or the person responsible for delivering this to an addressee, you are hereby notified that
reading, using, copying, or distributing any part of this message is strictly prohibited. If you have received this
electronic mail message in error, please contact us immediately and take the steps necessary to delete the
message completely from your computer system. Thank you.
                                    ······coNFIDENTIAL••••••


Message: You are being notified of care being provided for your patient at Terres.

If you did not receive the correct number of pages, or if there are any questions regarding this fax, please call
(602)278-1414.
       Thank you.


Sender: -~A~m~y~B=ea=r=d_ _ _ _ __

OUR FAX# IS (602)269-8410




                                                                                                                  COP 015260
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                                                            PM FORM 4.3.1
                                                       COMMUNICATION DOCUMENT

To: (Primary Care Provider Name}: _ _ _ _ _ _ _ _ _ _ __                                            Phone#: ( ) -
Address:                                                                                            Fax#:
           ----------------
From: Clinician Name: Amy Beard                                                             Provider Agency Name: Terros 51st Avenue
Provider Agency Address: 5030 W McDowell Rd Ste 16                                          Provider Agency Phone #. (602)278-1414
                               Phoenix AZAZ 850353900
T/RBHA Name: MMIC Recovery Centers T19 SMI                                                  Provider Agency Fax#. (602)269-8410
Dear Primary Care Provider:
We are sending this information to you for coordination of care. We believe you are the assigned care provider for this patient, although you
may not have seen this patient yet. If you vvould like to have more information, or need to discuss this patient, please contact the behavioral
health care provider listed.
Patient Name: tv'luhammad Muhaymin                                    AHCCCS ID # -0335
Patient Date of Birth:                        AHCCCS Health Plan Name:
Medicare ID#:                                 Medicare Advantage Plan Name:
I. REASON FOR THIS COMMUNICATION: (Check all applicable reasons)
_   Patient referred by AHCCCS Health Plan/PCP/Medicare Provider                                      _ Advance directive or refusal to sign
_   Person determined to be Seriously Mentally Ill (SMI)                                                  Annual notification
_   Information requested by AHCCCS Health Plan/PCP/Medicare Provider                                 _   Significant change in diagnosis
_   Patient has Pervasive Development Disorder and/or Developmental Disability
_   Critical laboratory result             _   Medication change                           ___x Other (Please specify belovv):
_ Transferring care back to PCP            _   Out of state placement                       Services closed
II. CLINICAL SUMMARY
1) DSM-IV Diagnosis (required):
Axis I:      295.10 Schizophrenia Disorganized Type305.20 Cannibus Abuse
Axis II:       . No diagnosis on Axis II
Axis Ill:    Chronic Pulmonary Disorders
2) Dose, frequency and target symptoms of current behavioral health medications (required). (If transferring back to PCP please indicate
status of step therapy):
3) Summary of critical labs:
4) Other attached information (required only if requested by PCP, otherwise optional)
_   Behavioral Health Assessment (Date):                                         _   Individual Service Plan (Date):
_   Results of non-critical laboratory, radiology or other tests (Date):
_   Other (Please specify):
Ill. RESPONSE TO PCP'S REFERRAL QUESTION(S)
Date PCP Referral from the Health Plan vvas received: (if applicable)
IV. ADDITIONAL BEHAVIORAL HEALTH PROVIDER CONTACT INFORMATION
Psychiatrist, Nurse Practitioner, Physician ,A.ssistant Name:
Psychiatrist, Nurse Practitioner, Physician Assistant Phone#: (602)278-1414
Clinical Liaison Name:                                                           Phone #: (602)278-1414
Other Contact Name: Amy Beard, CC                                                Phone#: (602)278-1414
    Mailed ~ Faxed Sender name: Amy Beard                                        Date: 01/23/17

Electronically Signed   By: Amy Beard /s/
Signature of clinician completing form                                           Date: 01/23/17

Note: This form must be compJeted in its entirety to demonstrate appropriate communication to the PCP. Retain copy in person's comprehensive medical
record.
                                                                                                        Effective Date: 12/15/2008 Last Revised 7/19/2007




                                                                                                                                               COP 015261
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                                                                                  Sl\'11 EVAL.UATION REQUEST FORM

                R.~(_ u_i~.:ed .lleft•r:~·al. .l!~.f.0....1...,·m....a""'t....io.,,..n,.____ _..,.__ _'i~....;;*l::..:'l:.:.ei:::ts=·e-=a::.::d:.:.:d.:.rc=s=-s-=a=ll-=a:i::)L.Jl:.:H~ca:::h:::lc=-·::.:fi.::.:cl:.::d:::_.s~c\~'C:.:.'"...!.."...::.tJ:.::·m:.:.:t':_*_"'_-------.
                RBHA: fv.lercy J\'.larico1>a lntegrafed                                           Referral day: 9/16/2016                                                                Referral time: 1356
                                                           -,----------
                Evaluation 'fype: f<outinc                                                                                        Pre-SMI: Yes ·                                                                                        C~()E/C(YI': No
               - - - -.. . . . _._. . . . _________....___--,------·----1----------~
                 BHR Name (AKA): Muhammad Muhaymin                                                                                                               DOB:                                                                   SSN: 11111111111

               1_BHR Phone #: G      0786     Gender: F cm~d<.'.         Ilace: White
                  _ _ _ _ _ _ . ._ _ _ _. _ _.__,,_,,_ _ _ _ _ _ _ _ _- i - - - - - - - - - - - - - - 1

                Primary language: English                                                                              Interpreter language: None                                                                                       Medicare: No
                 T19: Yes                                                          ------- AHCCCS JD:                                                                 335                                      ·-rPlan: M:crcy {~arc
                                                                                                                            ------
                Legal Guardian:                                   ·ves                                                  , Guardian Name & number (Jegal guardianship papers required at
                                                                                                                             the time of evaluation): Mussallina Muhaymin                                                                                                                                0786
                Referral source (name and #): Guardian Mussallina Muhaymin                                                                                                                                                      BHR agrees to eval: Yes
                                          786
                B}IR locatic,n (please include hospital, unit, roo1n #, etc):

                Booki;;g.iooc # (if app~i~able):                                                                    _______ J Co~rtDate / ~ele"8e-D-at-e:---.. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

                BHR Address (residential or n1ai1ing): Mailing                                                                                                                          •                   PHOENIX, AZ. 85041
                                                                                                                                                                                                                                       -----------
                                                                   . ---                                        .                                      -                                                                   -----------------!
                Co1nments: Found SMI 12/14/2010 Dr Hoffman. Per MMIC this BHR never engaged in servs. CIS:
                        099, MMIC: S03048910

                Evnluation Information (For (~PI~ use onlv):
               ~E_J~_•a_lu_a_ro_r_~_~a_1_ne_:_ _ _T_a_m_a_r_a_L_a_M_o__n_ra_g_n_e____:__                                    P_re_~-_S~M_l_·____ _
                                                                                       D_c_tc_'nn_in_a_ti_on_ou_t_·co_m_c:_ _

                Evaluation Date:                              . . . . . . . . . . . . l. . . 9/.16/201.6. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .~.~~·~·~·~·~·~.~.~. .~.~·~·~·'.. . . . . . . . . . . . . . . . . . . . . . . . . .-11_:_30_A_M_ _ _~
                BHR site preference:                                              Terros: W. McDowell                                                                     Reason for site selection:                                                      (;eogr,nphical I,ocati
               ----------·--------------------1----------1------------1
                Eligibility Documents:                                            1~19                                                                                     Days of Medications                                                            :N·ot
                                                                                                                                                                                                                                                          ' . . ..
                                                                                                                                                                                                                                                                   currentlv
                                                                                                                                                                                                                                                                    . .. ..
                                                                                                                                                                                                                                                                               ta.kino
                                                                                                                                                                                                                                                                            ,. . . . b
                                                                                                                                                                           remaining:
                ls the BllR hotneJess?                                        1
                                                                                  Yes (on the street)                                                                      AC'J' Appropriatt;:
               -·------"""""""""""''""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""'•'------------'•"""""""""""""""""""""""""""""""""""""""""""""""""""""""""""

                Comments (Serious                                                 N/A
                Crimes, Languages,
                Special needs, other):




                  Determination date:
                                                                         r. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . D~tennination
                                                                                                                                                           """""""""""""""""""""""""""""""""""""""""""""""""""·-·

                                                                                                                                                                                                                                          ( None .S~lccf<.\(I)
                                                                                                                                                                                                                                                                                                                                     ..
                                                                         I
                                                                                                                                                              outcorne:                                                                                                                                            ____           ...,


                  SJ\,tl diagnosis (if                                                                                                                        Site assign1ncnt:                                                                                                                                                      <

                                                                                                                                                                                                                                                                                                                                     '
                  applicable):
                                                                          I

                  Sl\.11 Processor
                  Comments:                                                                                                                                                      _
                                                                                                                                                                          ....... ..................................................                                                ..................................................




                                                                                                                                                                                                                                        Ilcviscd 12-15-15




Name: Muhaymin, Muhammad                                                                                                            DOB:                                                                                                                                                                                                  Date: 09/22/2016



                                                                                                                                                                                                                                                                                                                                            COP 015262
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                     ~•JI   II   I   I   I   Ill   I   I   II   Ill   I   I   I   I   l   I   II      -•"""""""'"""'"'"""""'""""""'""""""""""""'""""'""""""""""""""'""""'""""""""'"'"""'"""""'"""'"'""'"'"""'"""""'"""""""'"'"""'""""'"'t-...~-_...,.------~...,-,-,-.-~,._...,




                                             CONFIDENTIAL TRANSMITTAL
                                          From:                                                                                                    To: Cenpatico Integrated Care                                                                                   D        '
                            Crisis Preparatjon & Recovery Inc.
                                   2120 s Mcclintock Dr                                                                                            To: Health Choice Integrated Care                                                                              D
                                     Tempe, AZ 85282
                                      (480) 804-0326                                                                                               To: Mercy Maricopa Integrated Care
                                                                                                                                                                                                                                                                  □""'""'
                                                                                                                                                   To: Crisis Response Network                                                                                    1




                      Evaluator Name:                                                              Tarnara Lamontagne
                                                                                              ----------------------

                      TRANSMI"l IAL METHOD:                                                                                 [gJ Emailed

                      DATE EMAILED:                                                                                         9/22/2016


                      COE/ COT:                                                               □
                                                                                              r
                                                                                              ~i<loloHlo~
                                                                                                            YES            rg) NO

                      MEDICARE:                                                                              YES           (g] NO

                      T-19:                                                                   ~ YES                        □ NO                     □         PENDING

                      If Non-T19 and not pending, AHCCCS screening completed:                                                                                                             D        YES           D NO
                      t,HCCCS efigibJe:                                                       D             YES (resources for application provided)                                                             □ NO

                      STATUS:                                             □ GMH (CPR)                                              ~ PRE-SMI (RBHA)                                        D Determination requested (CRN)

                      IF DETERMINATION REQUESTED: 0 3-day request □ 20-day pend □ EEP
                      The information contained in thts electronic document is int.ended only for the confidenUat use of the designated racipient(s) named
                      above. This document contalns 1nformet1on that is privileged and confident,al. If the reader of th:s message ~s not the intended
                      ret~ipient{s}, you are hereby notified that you have received this lransrn[ssion in ermr, and Ihat any review, dissemination, distribt:tlon
                      or copying of this document is strictty proh!blte-d_ tf you rlave rece[ved th!s communication in error, please notify us immediately arid
                      discard the message. Thank you.

                                                                                                                                                                                                                                                       Revised- i 2-03-i 5




Name: Muhaymin) Muhammad                                                                                                            DOB:                                                                                                                                        Date: 09/22/2016



                                                                                                                                                                                                                                                                                  COP 015263
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Jv1uhayn1in, Jv1uhamn1ad                                                                                                                                                             Page 1 of 2

                                                         Client Facesheet
                                                             'ferros

Time: 12/05/2016 01: 17 PJ:\1

Patient Information

Name: l\,1uham1nad J:v1uhavmin
                           ~
                                       DOB:               Age: 43 Social Security#: --8
Current i\ddress:                      City, State, Zip: Phoenix, AZ 85041-
Home Phone: Ho1ne:                  0786                     Marital Status:             SE.,,\:: lvf Race/Ethnicitv:                           J




Referred By:                   Processed By: Kimberly Bryant

J)irect Care Clinic:

Date of assessment:

J.,evel of Care Information:

Level of Care: SUPPOR1T\lE            Special i\ssistance:     r      Advocate:                I
OHR i\.dvocate:
Phone: Ext: Fax:
Email:

l{esidential Inf01mation

E1nergency Information
En1ergency Contact :J\1ussal lian      Muhay1nin      Relationship: Sister                                    Phone:                                      786
Primary Physician:                     Phone:         Fax:
Psvchiatrist: Jon Allison MD
  ~
                                              Phone: (602)278-1414                                            Fax: (602)269-8410

Insurance Infonnation
 Payer Name                            Phone                         Policy Nbr                                                     Group Nbr
MMIC Recovery Centers T19              {800) 564-5465                -3099                                                          ~335
SMI

Program Inforn1atio11
Open Date        Close Date         Program                Assigned Clinician                                      Site
09/22/2016                          Supportive              Kimberly Bryant                                        West McDov11ell

Admitting DSlv1-N AXIS (1):

Axis I - ICD 9 Code/ DSM 4 Description                                    ICD 10 (~ode/ DSM 5 Description

295.10         Schizophrenia Disorganized                F20.9            Schizophrenia
               Ty1Je
305.20         Cannibus Abuse                             F12.10          Cannabis use disorder, Mild




                                                                         .,,.,,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_,_




                                                                                                                                                                                                                     COP 015264
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l'v!uhaynun, l'v!uhamn1ad                                                                               Page 2 of 2


              ,
              i No diagnosis on Axis II



Axis III:         30        Chronic Pultnonary Disorders
Axis IV:          Problen1s with/related to honsing,
Axis V:           45

CCP Kimberly Bryant BlclT




                                                                                                                      COP 015265
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Jv1uhayn1in, Jv1uhamn1ad                                                                                                                                                                                          Page 1 of 2

                                                                                                                                    Client Facesheet
                                                                                                                                         'ferros

Time: 11/08/2016 11 :36 i~lvI

Patient Information

Name: l\,1uham1nad :l\.1uhavmin           ~
                                                                              DOB:               Age: 43 Social Security#:
Current i\ddress:                                                             City, State, Zip: Phoenix, AZ 85041-
Home Phone: Ho1ne:                                               0786                                                                Marital Status:      SE.,,\:: lvf Race/Ethnicitv:          J




Referred By:                                    Processed By: Kimberly Bryant

J)irect Care Clinic:

Date of assessment:

J.,evel of Care Information:

Level of Care: SUPPOR1T\lE                                                Special i\ssistance:                                         r     Advocate:        I
OHR i\.dvocate:
Phone: Ext: Fax:
Email:

l{esidential Inf01mation

E1nergency Information
En1ergency Contact :J\1ussal lian                                             Muhay1nin      Relationship: Sister                                                       Phone:                        786
Primary Physician:                                                            Phone:         Fax:
Psvchiatrist: Jon Allison MD
  ~
                                                                                     Phone: (602)278-1414                                                               Fax: (602)269-8410

Insurance Infonnation
Payer Name                                                                      Phone                                                       Policy Nbr                                  Group Nbr
MMIC Recovery T19 SMI                                                           {800) 564- 5465                                             -3099                                       -=>335

Program Information
Open Date Close Date                                                Program                                                          Assigned Clinician                     Site
09/22/2016                                                          Supportive                                                       Kimberly Bryant                        West McDov11ell

J.\dmitting DS1"1-IV A,'XlS (1):

Axis I - ICD 9 Code/ DSIVI 4 Desc,iption                                                                                                        ICD 10 Code/ DSM 5 Desc1iption

295.90         Schizophrenia                                                                                                        F20.9       Schizophrenia
               Undifferentiated Type


                       y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y y_ _ _ _ _ _ _                yyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyy




                                                                                                                                                                                                                                COP 015266
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l'v!uhaynun, l'v!uhamn1ad                                                                               Page 2 of 2


V7109         I No diagnosis on Axis II                               ,


              ,''


.4.xis III:     NONE
Axis IV:        Proble1ns with/related to housing,
AxisV:          NONE

CCP Kin1berly Bryant BliT




                                                                                                                      COP 015267
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Jv1uhayn1in, Jv1uhamn1ad                                                                                         Page 1 of 2

                                                         Client Facesheet
                                                             'ferros

Time: 10/24/2016 01: 17 PJ\1

Patient Information

Name: l\,1uham1nad J\1uhavmin
                           ~
                                       DOB:               Age: 43 Social Security#: --8
Current i\ddress:                                City. State, Zip: Phoenix, AZ 85041-
Home Phone: Ho1ne:                 0786                     Marital Status:       SE.,,\:: lvf Race/Ethnicitv:
                                                                                                            J




Referred By:                   Processed By: Kimberly Bryant

J)irect Care Clinic:

Date of assessment:

l{esidential Inf01mation
Status:

J1:111ergency Information
Emergency Contact:                     Relationship:    Phone:
Primary Physician:                     Phone:           Fax:
Psychiatrist: Jon 1\llison MD                   Phone: (602)278-1414                        Fax: (602)269-8410

Insurance Information
Payer Name                             Phone                         Policy Nbr
MMIC Recovery T19 SMI                  (800) 564-5465                             99

Program Information
Open Date Close Date                Program                Assigned Clinician                  Site
09/22/2016                          Supportive              Kimberly Bryant                    West McDowell

Admitting DSJ\,1-N AXIS (1):

Axis I - I C~D 9 Code/ DSM 4 Description                                  IC::D 10 Code/ DSM 5 Description

295.90         Schizophrenia                             F20.9            Schizophrenia
               Undifferentiated Type




IV71.09        INo diagnosis on Axis II

Axis III:      NONE




                                                                                                                               COP 015268
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l'v!uhaynun, l'v!uhamn1ad                                                                           Page 2 of 2

Axis IV:       Problems with/related to housing,
Axis V:       NClNE

CCP Knnberly Bryant BHT




                                                                                                                  COP 015269
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Jv1uhayn1in, Jv1uhamn1ad                                                                                                 Page 1 of 2

                                                          Client Facesheet
                                                              'ferros

Time: 09/30/2016 11:36 i~lvI

Patient Information

Name: l\,1uham1nad :l\.1uhavmin
                           ~
                                       DOB:                  Age:    Social Security #:--8
Current i\ddress:                                 City. State, Zip: Phoenix, AZ 85041-
Home Phone: Ho1ne:                 0786                      Marital Status:       SE.,,\:: lvf Race/Ethnicitv:J




Referred By:                   Processed By: i\llyson Parsons

J)irect Care Clinic:

Date of assessment:

l{esidential Inf01mation
Status:

J1:111ergency Information
Emergency Contact:                     Relationship:    Phone:
Primary Physician:                     Phone:           Fax:
Psychiatrist: Jon 1\llison MD                   Phone: (602)278-1414                         Fax: (602)269-8410

Insurance Information
Payer Name                              Phone                         Policy Nbr                            Group Nbr
MMIC Recovery T19 SMI                   (800) 564-5465                -3099                                        335

Program Information
Open Date Close Date                Program                 Assigned Clinician                  Site
09/22/2016                          Supportive               Allyson Parsons                    West McDowell

Admitting DSJ\,1-N AXIS (1):

Axis I - I C~D 9 Code/ DSM 4 Description                                   IC::D 10 Code/ DSM 5 Description

295.90         Schizophrenia                              F20.9            Schizophrenia
               Undifferentiated Type




IV71.09        INo diagnosis on Axis II

Axis III:      NONE




                                                                                                                                       COP 015270
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l'v!uhaynun, l'v!uhamn1ad                                                                         Page 2 of 2

AxisV:        NONE

CCP Allyson Parsons BIIT




                                                                                                                COP 015271
                                                                                                                                               Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 53 of 179




                                                                                                                                                                                                                                                                                                                                        Nanh:: i\luhammad fvluhnrrnin

              ! NA~'lE:
                                                                    ---
                                                                  Muhammad Muhaymin                                                                                DOB:                                                                                                                 CO~TINUATJON. ,..
                                                                                                                                                                                                                                                                                                                           I
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                       Race
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                                                                                                                                                                   2. Black                                      Prinrnry Cun-ent Sub                                                                                      I (Nont~ Sl\lccte_~)                 r
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                       Language                                                                                                                                   1. English                                                                                                          Secondary CmTent S                           I (None Selected}
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                       Medfca] Insurance l                                                                                                                         2. AHCCCS                                                                                                            Tertiary Current Sub               I   (None Selected):                I       (None Selected);
                      1\1edical Jnsurnnce 2
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             L~·lcdical Insurance 3                                                                                                                                (None Selected)
                                                                                                                                                            i


                       /\HCCCS ID                                                                                                                                  A9?.270335
                      TI9                                                                                                                                          Yes

             l1 If Private insurance prcs<:nt, pJcasc
                indicate type, insurance ID# a11d
                Policy __l\umbcr
              --------..-.__ _______ ......--            ....,.       -..----..-..-
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             ] Referral Onte
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                      Referral Source                                                                                                                       I      L Selt''Family/ }7'-dend
                      Health Plan Referral                                                                                                                  I      No
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                      Arrests in the last 30 days                                                                                                           !     0
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               Household•-   ••-••~ --,~-~,•~, ~-
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             j Primary Residence                 __________ -~ 7. Homekss/~!•~-l~crJor Hi
             LTreatment Particj_pation ____ , ,. . . . . .~. . . . . . . . ____ y~\~!! nta ry
                       Veteran Srntus                                                                                                                              No
                      ADOC
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                                                                                                                                                                  No                                       ·-·                    ,,._,vv,,.. .._,    VYVY".•..,.,,.,vv~,_


                      AOC {adnh)                                                                                                                            ;     No
                   -------
                       DES/RSA                                                                                                                              I
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                                                                                                                                                            J                                       ~~ ............... u ..t,+•--~~-•~---........,.~~ ...........................

                                                                                                                                                            [!..... No ...... .... ...... .. ..... .... .. .... .... .. ..... .... ... .... ....
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                       DES Job.s
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                                                                                                                                                            I
                       Schnn1                                                                                                                               I Nfi
                       Diagnost1c Sm11!nary
              ~ v = • • -.. =•


                       F20.9 Schizophrenia
                       ZS9. O Hornelessness




              ...........ohh'.h...  ,.,_._,.-..,_._,..,............,.ohh'.h.....,.,..,.--,~oh.'.,'.,.,...v.l,,'.,..,..........,._.-   ~




                       Pri rnary Trnnsport                                                                                                                         2. fan1ily/Friend                                                                                                j

                       Social Support of Recovery                                                                                                                   l. No attendance in past n
                                                                                                                                                            i


                       Gender Identity                                                                                                                            6 \Voman
              -·                                                                                                                                            i

                       Sexuai OrjentaHon                                                                                                                           4 IIctcrosexual




Name: Muhaymin) Muhammad                                                                                                                                                                                                          DOB:                                                                                                                                                                   Date: 09/22/2016



                                                                                                                                                                                                                                                                                                                                                                                                           COP 015272
                                                  Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 54 of 179




Initial and or Change in Diagnosis

1vlodifiedDate 12!0520161050 A1\l



Primary Billing Diagnosis: ,lXIS I : 295.10 -Schizophrenia Disorganized Type


.,\tis I -DS~I -IV                                                   DS~I-V                                             Specifier:
    295.10     Schizophrenia Disorganized Tire
              --------------------------------"
                                                                    :F209          !Schizophrenia
'i""()'\ 10
,j""""         Canmbus Abuse                                         Fl2 IO        :Cannabis use disorder. 1c!Jld
                                                                                                                        -------------------------------
•




A.xis II:
iV71.09        Nodiagnos1sonA,,isil

.~xis III: 30         Chronic Puhnonary Disorders
.~xis IV: Problems 11ithlrelated to housing.
           Significant recent losses as of 0912212016:
A.xis \r: 45




Modified bv:• Lillian1 Villalobos !v!D

Date: 12:052016




                                                                                                                                                          COP 015273
                                                            Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 55 of 179




Initial and or Change in Diagnosis

1vlodified Date 09126!2016 03 51 P1v!


Primary Billing Diagnosis: ,lXIS I : 295.90 - Schizophrenia Undifferentiated Type


.,\tis I -OS~! -IV                                                                DS~I-V                                          Specifier:
    295.90    Schizophrenia Fndifferentrnted T)ve
             ----------------------------------------------------------
                                                                              :F209          !Schizophrenia
•·
                                                                              •
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•




A.xis II:
iV71.09       Nodiagnos1sonA,,isil

.~xis III: NONE
           Significant recent losses as of 09/22/2016:
.,\xis V: NONE




Modified bv:• Julia lvlatthies BHP

Date: 09/22/2016




                                                                                                                                                                    COP 015274
                                  Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 56 of 179




                                                             Tcrros
                                              Discharge Summary
                                              Discl1arge from Terros

CLIENT ID: 1101103099
CLIEN1': Muhammad Muhavmin        ,.,
Payer:
  •
       IvfMIC Recovery• Centers T19 S1v1I

SSN:                                               DOJl:                              SEX: Nlale

C.IIART #:         l.1AST Bll,LABLE SERVICE: 01/09/2017

DATE OF INT.i\KE: 09/22/2016                       DISCH.i\RGE DATE: 01/23/2017

DSl\1-IV DIAGNOSIS: 295.10 305.20                    V71.09


RE.A.SON FOR DISCHARGE: 07 J)eceased
Deceased

SU1\tll\1ARY OF SERVICES PROVIDED:
Intake
 Integrated Health, lviedication Monitoring,

SU1\tll\1ARY OF GOALS ACHIEVED:

PLAN FOR FOLLO\V UP SERVICES:

REFERRED TO:

Electronically Signed By: 1.\my Beard /s/
i\.111y Beard 01/23/2017

Electronically Signed By: ,-'.\n1y Beard /s/
Clinical Dir./Supv. - An1y Beard Date O1/23/2017




Revision Date: 6/li00 Amy Beard




                                                                                                        COP 015275
                                                                        Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 57 of 179




                                                                                                                                                                                                              l
                                                                                                                                                                                .~mercy .
                                                                                                                                                                                ~rf n,aricopa
                                                                                                                                                                                  integrated care
                                                    Mercy Maricopa Scattered Site Housing Application

           PNO:   Terros                 Direct Care Clinic:                  West McDowe II                                             Case manager (print name):   Kimberly Bryant
           Case manager email:                kimberly.bryant@terros.org                                                                Case manager phone:   602-278-1414

           1. Member information
           l>-1cmbernarne:        Muh~_mmad Muhaymi.!:!.AHCCCSID#: _________                                                                                          DOB:


           Type of subsidy housing requested:                                         Iii Member only
                                                                                      D Member and dependent family members

           Sex: OMaJe □Female                                        Priority population: [i]Yes □No If yes, desctibe:                                  Living in park
           Is this member homeless?                                  lilYes 0No

           ACT team: 0Yes 0No                                                                          Title 19: 0Yes 0No                                                    COT: □Yes li]No

           Currenthousingsituation/setting:                             Living in Maryview Park

           2. Housing hi.story and current needs
           Has the housing applicant lived independently in the past two years?                                                                    □Yes li!No
                   If yes, what was the most significant reason for leaving: (please check all that apply)

                   □Eviction                         □Hospitalization                                  □Inpatient Substance Abuse                        OJail/Prison        □Voluntary
                   □ Other:           ___________

           Does the applicant have legal issues?                                      0Yes · liJNo                     If yes, please describe: _ _ _ _ _ _ _ _ _ _ _ _ __

           Sexoffender:            0Yes [ilNo                        Ifyes,level: _ _ _ _ _ _ __

           Does the applicant haye a parole/probation officer? 0Yes li!No

                   If yes, PO's name: _ _ _ _ _ _ _ _ _ Phone: _ _ _ _ _ __

           Does the applicant have a legal guardian? ~Yes 0No
                                            Mussallina Muhaymin AgencY:
                   If Ycs'guardian's name: -----.............................................................................................   Family {sister)   Phone: - - -             786



                                                                                                                      Page 1 of2




Name: Muhaymin, Muhammad                                                                                       DOB:                                                                              Date: 12/05/2016



                                                                                                                                                                                                   COP 015276
                                                                            Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 58 of 179




             Current sources of incorne and an1ount (please check all that apply]:

                         oss1 $ 0                                          □ SSDJ         s_o_. . . . . . ._,                 □social Security $_o_ __
                         0GA $___                                          □VA$ _ _                                           □AFDC/TANF$19o,oo
                         Ounernpi oyment benefits$_ __                                                                        □ Employment$ _ __

             Sources of financial ass is ta nee the applicant has applied or wHl apply for: .!.=!.~!hamm.ad wants to appl,j for SSDt, does r'OCeN~ food s.tamµs in tle i?m[]Unt ct $190.00

             Does the applicant require a start~up box?                                                      i]Yes 0No

             Has the meu1ber aJ)plied for Con1n1unity Housing? 0Yes )i1No
             (If yes, rnem.berwi1J be removed from Community Housing waitlist.)


                                                                                                                                                                                                                                                    ~.,.--1
                 r"'··--""-1!';<;<. .
                 i·
                                    ,lfll\ao._ _ _ _ _.ol:il; tr , , _.... _ , ,_ _ ~ , - ~ . . . . , , , , , ...- ,......, ; , , , . , , , , , , . . , , . . , - ~ . , , ............, ........., · " ' · - · - - - - · - · " " - · · · " " ....




                              REQUIRED: Please con1plete and submit the VI-SPDAT along with this application~                                                                                                                                       J:.
                 I -··- --~ -~A~~~:::::_~:::~. . . ~ ..
             3 Certification/Signatures


                                                                                                                                                                                 Date
                                                                                                                                                                                                                                                                  I
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                                               Please complete this form, print/scan and email to: housing@n1crcymaricopa.org




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        I

Name: Muhaymin) Muhammad                                                                                             DOB:                                                                                                                                     Date: 12/05/2016



                                                                                                                                                                                                                                                                COP 015277
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        Amy Beard

        From:                                Julia Matthies
        Sent:                                Monday, September 26, 2016 3:55 PM
        To:                                  Amy Beard
        Subject:                             RE: Ox needed, see below


        done

                             ..
                              .
                              .••
                                •   Julia Matthies
                              :.    Clinical Director
                                •

          1-IEALTH.                 5030 W McDoweli Rd. Ste 16 • F.)hoenrx, AZ 85035
                                    P: 602-285-6817
                             .
                             .••'   wtv1v,·. tcrros.o rg
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        From: Amy Beard
        Sent: Friday, September 23, 2016 4:38 PM
        To: Julia Matthies <Julia.Matthies@terros.org>
        Subject: Dx needed, see below

        From: Amy Bea rd
        Sent: Friday, September 23, 2016 4:13 PIVI
        To: Aflyson Parsons <Allyson.Parsons@terros.org>
        Subject: FW: new referral-Muhammad

        Allyson,

           I am assigning Muhammad r'v1uhaymin to on your caseload. It is documented he has a Guardian, his sister, Mussallina
        Muhaymin            -0786, and he is homeless at this time. I will be requesting an MD appointment in 7 days, so you can
        give that appointrnent to Muhammad and his sister, as she may know.where to find him.
        Per report in the Core assessment: All of the information gathered below was from the sister/guardian. BHR1s sister
        reported he is primarily psychotic, delusional and having AVH and is unaware of mood symptoms, anxiety or what
        substances he may use. Given what is
        known, the BHR appears to rneet criteria for F20.9 Schizophrenia.

        Please contact his sister and give the Doctor's appointment, September 30th from 11arn-12pm and I will request it to be
        scheduled.


        Thanks,
                                    Amy Beard
                                    Clinical Coordinator
                                    5030 W McDoweH Rd, Ste 16 • Pt1oenix, AZ 85035
          l-lEALTH                  P; 602-285-6819

                                                                                                     1




Name: Muhaymin, Muhammad                                                                      DOB:                                                                                                         Date: 10/26/2016



                                                                                                                                                                                                                   COP 015278
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                                                                            ADHS/DBHS Policy Form 113.1
                                                         NOTIFICATION OF PERSON IN NEED OF SPECIAL ASSISTANCE
        A TIRBHA, provider, or other person qualified to make the determination that determines a person with a Serious Mental Illness {SMIJ is in
        need of Special Assistance, in accordance with ADHSIDBHS Policy and Procedures Section 113, must noh'fy the ADHSIDBHS Office of Human
        Rights within five (5) days of the determination, If the person is not already identified as Special Assistance, notification is required even if
        someone Is involved and assisting the person.
        Part A: Notification (to be completed by the T/RBHA,-provider or other person. qualified arid sent to the Office of Human Rights at
        (602) 364-4590 or via secure e-mail to OHRts@azdhs.gov)

                   The following person, who is a person determined to have a Serious Mental Illness (SMI), is in need of Special Assistance.
                                   --
        First NamelMuhammad                 I Last NamefMuhaymin                      I   oosjo                      I                  IH_o_m_e_1e_s_s_______..,J
                                                                                                                         Residence Type ...

        Address fHomeless                                                   I City ,...,P_h_o_e-ni_x_ _ _ _ _"""'I State !Arizona                   I Zip code I...._____,I

        Phone ~==---51_0_ _                   _.I   Guardian (If none, list NIA) l,...M_u_s_sa_l_lin_a_M_u_ha_y_m_i_n_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _....                              l
            Title XIX?
                         0Yes
                         Q No            CIS ID f-0335                                TtRBHA ,_lr111_M_1c
                                                                                                       _ _ _ __.                      GSA (NIA for T/RBHAs)           EJ
        SMI Provider Name I....T_e_rr_o_s_H_e_a_lt_h_________.l                            Site Name/Location            1
                                                                                                                         ....w_e_s_t_M_c_o_:o_w_e_u_________--'
        SMI Case Manager I_K_im_be_r_ly_B_ry_a_n_t_ _ _ _ _ _ __.l                                                               Site Phone            1602-278-1414

        SMI Clinical Supervisor f....A_m_y_B_ea_rd
                                                ___________..l                                                                   Site Fax              1602-269-8410

                Indicate the areas of Special Assistance need. Please check all that may app!y, regardless of whether a process is currently pending
            fl) Service Planning                    Ill Discharge Planning Process                      ll)Grtevance Process                       ll)Appeal Process
           Provide the clinical basis to support that the person is in need of Special Assistance. Please detail the specific circumstances and hov1 they affect the person's
           ability to communicate preferences and/or participate effectively in the ISP, discharge planning, grievance/investigation. and/or appeal processes

         Muhammad is new to the clinic and his sister has filed for guardianship prior to Muhammad coming to Terros. She currently has
         temporary guardianship. Muhammad is diagnosed with 295.90 Schizophrenia Undifferentiated Type; he presents as paranoid
         and so far has only engaged when-with his sister. His symptoms of schizophrenia also impair his ability to communicate. For
         example, he uses hand gestures to answer questions. Please note he has a high substance use which substance is unknown
       \ he only identify \Vith marijuana.

       I
            Grievance or        O Yes           Currently    Qves
            Appeal Pending:     @ No            Inpatient?   @No            Inpatient Facility & Unit'i..._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _...,!

        Indicate a guardian. relative, or a friend is regularly involved with the person and Behavioral Health provider.

        If so. by Who (Name} IMussallina Muhaymin                                          I   Relationship !Guardian/Sister                                                          I
        Phone~786                                 I   Address
                                                                                                             1.--------:::==================1
        Is the person in need of Special Assistance aware that you are submitting this notification?                                                                ©Yes O No
        Please Explain:
           Mussaflina Muhaymin is aware that this form is being submitted on the behalf of Muhammad. Cm called and left message with
           detail of the Special Assistant Form.


        Date Completed 110/26/2016                                                                                By Name IKimberly Bryant

        Phone Number Jso2-278-1414                         IE-mai!jkimberly.bryant@terros.org                   !Title        lease Manager
                                                                                       age of2""""""""""'===----~:-:::-::::==========::::::::::::::::::_::
                                                                                                                                                        __:;::[a=st;:;;R;::evi:;:·s=ed~:
                                                                                                                                                        Effective date: 10/01/2015




Name: Muhaymin, Muhammad                                                           DOB:                                                                                        Date: 10/26/2016



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                                                                                                      Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 61 of 179




                                                                                                                  ADHS/DBHS Policy Form 113.1
                                                                                                    NOTIFICATION OF PERSON IN NEED OF SP.ECIALASSISTANCE

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       ,----;:::=============.=. . . .=. .-=. . . . .=. . . .=. . . .=. . . .=. . . . .=. . . .=. . . .
       !PART B: Response (to be completed by the Office of Human Rights Administration (OHR):
                                                              =:::::;
                                                                                                                                                                                                                                                        li ~~~~l~~:.• r.l.li..I.•.f.:~.~.·.~·.(.i(i!.if!!]1]1 ::i 11.l:
                                                              . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . ":;..."
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                                                                                                                                                                                                                                                                                             · · ----'-"'--"-"""-;:::::::::::::::=::::::::::;1
           Re: NAME _ _ _ _ _ _ _ _ _ _ _ _ _ ___. DOB j                                                                                                                                                         I Original Part A Notification Date I....______.I
       IPer the information provided/supplemental information obtained, the person meets the criteria for Special Assistance                                                                                                                                                                    @Yes                QNo




       1----------------------------------------------
       tThe person requires Special Assistance in the following areas
       I
             lZ) Service Planning                                                   0             Discharge Planning                                                                 0            Grievance Process                                                          [Z]            Appeal Process

           The follO\ving person/agency is designated to provide Special Assistance

        0            OHR               Assigned Advocate.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __,, Phonel.._ _ _ _ _ _ _....                                                                                                                                                                                                           !
           Date (as of}              !________I
                  OTHER             I
                        First Name !Muhammad                                                         I             fM_u_h_a_y_m_i_n______
                                                                                                         Last Name ...                                                                                   _.l        Relationship ..               I____________I
       1
                                IH_o_m_e_le_s_s______________ City !Phoenix
                        Address ..                                                                                                                                        l                                                                        I I_________,(
                                                                                                                                                                                                                                                             Phone ...
                                                                                                                                                                                                                                                                                                                                             1

        Additional Information, if any:
       1,-........................_........_ _ _=-.......................................................                           ~-=. -=....................=="="·......................                  ="""a=...............-"""
                                                                                                                                                                                                                                    ..          =""""~'Q~--==-......--=.......,. .===·=·..·-·1




       J....._r======,-----;:::::===:=::;:-----;:=========:::::----;::.====-=-=-=-=-~1
       1
        Datef..._ _ _ _ _ _ First NamelMuhammad                    I                                                                              f            lM_u_h_a_y_m_in______
                                                                                                                                                      LastName ....                                                                                 --JI OHR Tit!e I..________,I
           PART C: Notification of Change (to be completed by the T/RBHA, Provider or other person qualified)
           Please indicate the date when the need for Special Assistance was no longer required and the reason(s) why. Submit Part C to OHR within ten
           (10) days of the detennination .

           As of, Date ....        I __________.I
           The above referenced person no longer meets the criteria for Special Assistance for the following reason(s):




           The person was informed, due to a change in circumstances. he/she no longer meets the criteria for Special Assistance and OHR is
           being notified
           Please exolain:




           First NamelMuhammad                                                     j   LastNamelMuhaymin
                                                                                                                             I                                                                                  Agency
                                                                                                                                                                                                                                       I                                                                                                  I
           Phone,....2510                                                     I        E-mail             I___,_____
                                                                                                                ,. ==---==== I'                                                                                 Title
                                                                                                                                                                                                                                      I                                                                                                  I
       .___ _ _ _ _ _ _ . . . . . . . . . . . . ___. . . . . . . . . . . . . . . . . . . . . . ._                            . .,_ _ _ _.,....Page. ·2of"..::
                                                                                                                                                                                                                                           Date Completed 110/26/2016
                                                                                                                                                                                                                                                                                             -....                  Last Revised:
                                                                                                                                                                                                                                                                                                                                         I
                                                                                                                                                                                                                                                                                     Effective date: 10/01/2015




Name: Muhaymin, Muhammad                                                                                                                              DOB:                                                                                                                                                                    Date: 10/26/2016



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                                                                  Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 62 of 179




                                                                                 ADHS/DBHS PofJcy Form 113.1

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                                                                  II
                                                                   NOTIFiCATION OF PERSON iN NEED OF SPECIAL ASSISTANCE

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                 ~~~TB: Response. (ta bs completed by the Offlca of .Human Rights Ad~inlstration (OHR};                                 -~~~lt,~-i~l~jK ~ · .:.~~~..i ~ ;~-;;":~~ifs~:~




                 ~~~ NAME. !Muhammad Muhaymir                                 .                J oqa·                   I
                                                                                                                       : Ot1glnal Part A Notification Date [10/27/18 .                                     I
             ~~i
             I'
                 U1e Information provided/supptemen~I Information obtained, ltle penion meets the cr\taria for Special Assistance
                            !l                                            .                       .            .               .
                                                                                                                                                                       @Yes QNo

                 f?r the Clinical Team and emafl dated 11/8/16, Member meets Special Asslstance·crlterla due to Medical-Psych!atrlc Condltlon
                 ln,bluding Schizophrenia-and symptoms of paranoia and substance use which also Inhibits his ability to communicate severely t
                 impacting his participation in setvice/dlscharge planning and grievance/appeal processes. Sae Part A for more detail,

                 The parson requires Special Assistance In tha following area,
                 .· @ S2rvice Planning                        0   Discharge Planning                         @ Grievance Process                        0           Appeal Process
                 The followlng'peraon/agenQy.is designated toprovida Special Assistance

                 q~                 OHR   Assigned Advocate   '----------------....------..,.j Phone                                                      .._I_ _ _ _ _ _--11

                 °,,te(aSQij ~(_______.....i·l

                 lZll OTHER
                  j ! F!rst Name l~ussalllna                       f Last Name ._[M_u_h_a_ym_·_in________.l              Relatipnshlp is!s!~ __                                                -=]
                   ~ '•
                   j 11
                                    Address   ~                                                         J   City IPhoelifx 85042        I Pnone-786                                     (eel!)             I
                 A~ltional Information, If any:
                   :· I
                 yljpical Team, please regularly involve the above-named person who Is meeting Special Assist~nce needs as delineated in
                 ~~/loy 113.
                            '.i       .
                            lf.,
                   :It                                                                         /) ··,                                      I

                                                                                                                                   ~       OHR 11ue           loHR Advocate [I                         .   I
                 ~~r C! Notification of Ch~n9e (to bo comple~d b~ the T/RBHA, Provider or cthef, _~rson qUB.lrfled)
                 P.l~~se lnrJ!cate the date Whan the need for Special Assistance wes no longer required and the reason(s) why. Submit Part Cto OHR Within ten
                 (1 D} days of the datermlnatlon.
                  ' ~i·


                               lo Ii~ l]
                  , J·
                 Asjbf.Oate[o/
                  .,!          r 7r    •                             I            .
            · T;h~ above referenced person no longer meets the crlterla for Speclal Assistance for the following reason(s);

                   ;p~°'~
                        ~     I,

                 rr~ person was Ir.formed, due to a change in clrcumsfances, he/shs no longer meets t,e crtterla for SpocJa! Assistance and OHR rs                                         ·ovcs
                 b~(ng notified               _                                        -
                  P·-- 1ease
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                                                                                                                                   Date Complakld                3' ... 7 -Z d/ 7                          It
             '--'--'---------------------p,.,;a""',ge,,...,.2""'01..,.2.---------·                                                                                                      L11.sl RBV1&ed.
                                                                                                                                                              Effeetlvo date: t 0/0112016 ·




   Name: Muhaymin, Muhammad                                                                    DOB:                                                                                                             Date: 01/14/2017


Name: Muhaymin, Muhammad                                                                        DOB:                                                                                                                  Date: 03/13/2017



                                                                                                                                                                                                                        COP 015281
                                                     Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 63 of 179




                         1
                         ,.L




                         3
                                                (N THE SUPERJOR COURT IN AND FOR THE STATE OF ARIZONA
                         4

                                                                IN AND FOR THE COUNTY OF MARICOPA

                                   In the n1at1er of the of:                                      PB20 J6.. 003462
                         7
                                   MUHAMMAD A.. MUHA YMlN~                                        ORDER OF CON'I'rNUANCE

                                   An Incapacitated or Protected Person.


                        10

                        11
                                                                                                                                              I
                                           Upon motion of Counsel for the Ward to continue the hearing set for December t, 2016 at
                        12     l
                               l
                                   3:00 p.mt.
          ~             13
          < ~~
          z "s
          ~::8 H~       14
                                           ff IS ORDERED that this matter is rescheduled for                 .:Ja-n~
                                                                                                                  ~-,-
                                                                                                                      {i_  ·-. ~ 2ofr
                                                                                                                          (J /D: 0 0                            L.&.,1'11'.

          ◄    ·t ~
                                           IT IS FURTHER ORDERED that Petitioner's Temporary Letters be extended until
          3i 1
          A.i<i 15
              e.i~

          ~ I? 5
                   IO   16
                                    ~ 61" J.o/1 and the Clerk is directed to issue new Temporary Letters effective until such
          >             11
                                   date~
                        18

                        l~

                        20
                                                                                                                                               ___
                                                                                                                                 ;.......,....._   , _........-..,....-~
                        ~l
                                                                                                         aBianca, Commissioner
                        22

                        23
                                      IT IS ORDERED watving the fee for a
                        24            certified copy of thia Ord•r of AppOintment
                                      an-.1 Gift• ~•u.r ot Appo,ntm•~•
                        25

                        26

                        21

                        28




Name: Muhaymin) Muhammad                                                    DOB:                                                                                    Date: 12/12/2016



                                                                                                                                                                           COP 015282
                                                                                         Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 64 of 179




                                                                                                                                                                              OR      O Respondent

                                                                                                   SUPERIOR COURT OF AR.IZONA
                                                                                                      IN MARICOPA COUNTY

                                                                                                                                                    Case Number2,0\k>- ~~-,~~L
                           r
                           ~he Matter of: (check one or noth)
                             Guardianship O.-Conservaton;;h ip                                                                                      LETTERS OF APPOINTMENT
                                                                                                                                                    AS TEMPORARY

                                      ~~~-
                                                                                                                                                    (Check cne box)

                            ·           D
                                  an .~du it                                        a Minor
                                                                                                   M\~'4rrtt)
                                                                                                         ~
                                                                                                                                                    C Guardian and Conservator
                                                                                                                                                    ~ Guardian
                                                                                                                                                    0 Conservator
                                                                                                                                                    AND ACCEPTANCE OF TEMPORARY
                                                                                                                                                    APPOINTMENT


                           ISSUANCE OF TEMPORARY LETTERS

                           1.                  NAME OF PERSON APPOINTED: This person (name}_~~t._O..                                                                                                                    \J\L~"\~                                           r"\
                                               >S appointed as:                              0   Guardian and Conservator                           OR¢ Guardian              ORO Conservator




                                           REASON FOR APPOINTMENT: The person 1Nho needs a guardian and/or conserJaior is
                                           D          a minor                            OR      Dan incapacitated adult or a ward                               oR'fp. a protected person
                                                                                                                                      .,,,,.-                  \
                          4.               LENGTH OF APPOINTMENT:
                                                                                                                                     ~
                                                                                                                                      ~   \~               ~-1:
                                                                                                                                                                   ~ \
                                                                                                                                                                          :;L_Q_\3;:
                                           RESTRICTIONS that apply to this TEMPORARY appointment, by order of the court:

                                          .,_IM.JJLJLk'I                I   I   l _ i w ..   H - - - - - -




                                          ........... ►-•       IWF'f




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                                                                                                                                                                         a-ANES{ CLERK                                        - r-.,.\1'.RKlW,
                                                                                                                                                               Clerk of.the Superior Court
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                          ©Super~or Court of Arizona in Maricopa County                                                                                                                       'P8GCT82.
············· .,•.·. · · ·· .,......... ALL·RlGH·fS· RESERVED·····-·······-···-·-··-··· -·· · - ·· · · · · · · · · .... · · · ..... f?age ..t of.2 ........ .                     . use only .most .cwrentv. .              flt..~
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                                                                                                                                                                                                                                          Date: 12/12/2016


                                                                                                                                                                                                                                                      COP 015283
                                                    Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 65 of 179




                         ACCEPTANCE OF TEMPORARY APPOINTMENT
                         State of Arizona             )
                         Maricopa Cou n!y             ) ss.

                         I accept lhe duties as TEMPORARY                 O Guardian and Conserv,;tor                                             OR~ G1Jardizr                                         ORO Conservator


                         of    Mvl Y'!_ff)(CltJL Vt LtYl f1¥JtiIB ------ __, ,. ______                                      (nme)'

                         ! swear that ! vtm oerlcrm these duties according to !aw.
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                                                                                                                  -·-
                          GUARDIAN ANotoR coNsrnVAToR




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                           ©Supericrr Court of Ariz.on.a in Maricopa County
        ,.,•R-••••••••--•-<-~•~~~--Abb•RIGHTS•RES6RVED , , "•   •............. • ... •   ,w•   , •. ,
                                                                                                        . Page. 2.ci 2 ..   -v-,.·... -.-.-"-~~,---m.... •·-          Use . oniy most. current version,, ...... ··-· ....... , .
                              LTA




Name: Muhaymin) Muhammad                                                           DOB:                                                                                                                               Date: 12/12/2016



                                                                                                                                                                                                                          COP 015284
                                                             Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 66 of 179




                                                                            ADHSJDBHS Policy Form 113,1·
                                                              NOTIFICATION OF PERSON IN NEED OF SPECIAL ASSISTANCE
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            PART
              ,,. 9; Response (to be completed by the Office cf Human Rights Admi11i$tration (OHR):                                           1~;;w.~1~~iclr~?~,tql!if.l-lr1Jit-
                                                                                                                                              tili8ltl\11t~i~.IJ~·~~r~~~~~~W@~~t
               R~ NAME !Muhammad Muhaymin
               ' '.}
                                                                                            IDOB     1
                                                                                                                           I Original Part A Notification Date [~ 0/27/16                               I
            P~~ the inforrnat!on provided/supplemental information obtained, the person meats the criteria for Special Assistance                                        E)Yes QNo                          I



               f~r the Clinical Team and email dated 11/8/16, Member meets Special Assistance criteria due to Medical-Psychiatric Conditfon                                                             J
               including Schizophrenia and symptoms of paranoia and substance use which also inhibits his ability to communicate severely
               Impacting his participation in service/discharge planning and grievance/appeal processes, See Part A for more detail.

            Tile person requires Special Assistance in the following areas
                   IZJ Service Planning                (ZI   Discharge Planning                            0        Grievance Process                        0         Appeal Process

            The following person/agency is designated to provide Special Assistance

           10                OHR   Assigned Advocate                                                                                             Phone        I
               Date (asof)
                    ,."            I                          I
            tzl'. OTHER                                                                                                                                                                                  '
               . ::
               !' ii::}·
               . =~
                             First Name IMussaliina              I Last Name IMuhaymin                                     f Relationship !sister                                                      r
               ; !i.!~;
               .' ;;;•
                             Address~.
            Add.itional Information, if any;
                                                                                                     I   City   !Phoenix 85042
                                                                                                                                              I Phone                            786 (cell)
                                                                                                                                                                                                        I
             . .
               1,,..

            Cllf.lical Team, please regularly involve the above-named person who is meeting Special Assistance needs as delineated in
            Po'.iicy 113.
                     ::
                     :.:
                     ;;:
               : H                                                                          I,   •   j                                            j

               Oa~e,11/16/16
                     ":i:
                                             I   First Name Cynthia (\ ,1//1.lv.
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                                                                                       .
                                                                                           ~~ ~.Name!Fullen           ./

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                                                                                                                                   U)ti,AI'-"     OHR Title       loHR Adv~~te II                      I
            P.A'RT
               I·.
                   C: Notification of Change (to be completed b~ the T/RBHA, Provider or other rlerson qualified)
            P~e indicate the date when the need for Special Assistance was no longer required and the reason(s) why. Submit Part C to OHR within ten
            {1C>) days of the determination.
             : ;~
            As Date  j~t.
                     if
                                   I                              I            .
                                                                                                                                                                                                         I
                                                                                                                                                                                                         j

                                                                                                                                                                                                         i'
            The above referenced person no longer meets the criteria for Special Assistance for the following reason(s):
               : !1-
                     ,.
               : J
                     ;!-,.
               '     :;.
               : It
               :     j:                 .

            Tne person was informed, due to a change in circumstances, he/she no longer meets the criteria for Special Assistance and OHR is                                               ()Yes
            be(ng
               ., notified
                                                                                                                                                                                           @No
               Pl,ase exclain:
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               ' !}
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           IPhone f                                I    E-mail
                                                                  I     ..                       :~ J                      Title
                                                                                                                                      I
                                                                                                                                          Date Completed
                                                                                                                                                                                                       I
                                                                                             Page 2 of 2                                                                                Lnst Rev!aell:
                                                                                                                                                                  Effective date: 10/01 /2016




Name: Muhaymin, Muhammad                                                                    DOB:                                                                                                                Date: 01/14/2017



                                                                                                                                                                                                                  COP 015285
                                                                                 Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 67 of 179




                                                                                                AOfiSlDBHS Policy Fonn 113.1
                                E                                                 NM'iFICA110N OF PERSON IN NEEi> OF SPECIAi,. ASSISTANCE
                               ATIRBHA, provider, or CJ'ther person qusltned to make the determinaUon that d8termimn a person wltb a Serious Mental Illness fSMJJ ts in
                               need of Specie/ AssJstanc9, In accordance with ADHS/DBHS Policy and Procedures Sectlon 113, must natffit the AOHSIOSHS 0/mr, ofHuman
                               Right~ wilhin ~ (5} days ()/ the determination. If the {)6fSOn Is not already identifiltd aB Sper;ial A$~~tanr;a, notffirmtion is ,equirsrt even If                                                          i
                               someon& is involv8rl end easfsfing the person.
                               Part A: Notification (to be compfetecl oy tne TIRBHA, providet' or other pereon qualified and sent to e vn1ce OT numan Klghts at
                                                                                                                                                                       ·
                                                                                                                                                                                                                                            I
                                                                                                                                                                                                                                            l
                               (602} 364-4590 or via secure e-mail to OHRts@azdhs.gov)
                                 '                                                                                                                                         ..........._,.,..,..., ....   ----
                        .. ![i:           The rol!owlrig person, who ls a person determined to have a Serious Mental Illness (SMI), is in need of Speo:al Assistance.

                               FirstName~uhammad                      r Last Name IMuhaymin                        Iooafo                 ·     I Residence rype IHom;i°;s
                                                                                                                                                                                                                                    I       I
                        '
                               Address !Homeless
                                                              I
                                                                                                       J City IPhoentx
                                                                                                                                :: ::..         j state !Arizona                      I    Zip coda               f                 I       I
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                               Phone ~ 5 1 0                                  Guardian (If nona, list NIA) fMussallina Muhaym!n
                                                                                                                                                                                                                                    I           I



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                            • ·•            G)Yes
                            : ••_Tille XIX? O No
                                                              CISID ~ 3 5
                                                                                                           I       T/RBHA   IMMIC                      I             GSA (NIA for T/RBHAs)


                            ii ;j                                                                                                                                                                               ...
                                                        I
                            ' $,Ml Provider Name Terros Health
                                .,,,                                                                           I      Site Name/Lcoatlon            (West 'McDowell
                                                                                                                                                                                                                                    I           I


                            ' ~Ml Casa Manager IKimberiy Bryant
                                                                                                               I                                              Site Phone                     !so2-21a-1414
                                                                                                                                                                                                                                    I           '
                                                                                                                                                                                                                                                :

                               iMI Clinical Supervisor JAmy Beard
                                ~I•

                                jr
                                                                                                               I                                              Site Fax                      1602-269-8410
                                                                                                                                                                                                                                    I
                                ;,
                                ;;:
                                ii;,   Indicate tile areas of Special As,latanc! need. Please check an that may apply, regardless of whether eprocess is currently pending
                            • :flZJ Smifi;e Piannini;                      tZI Oisd1erge ?l&r1nlng Proceas                          tzjGrlevance Process                          IZ)Appeal Process
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                               f?rovllie the cllnlcal basis to support that the parson ls In need cf Special Asslatence. ?lease dela!l the specific clrcumstsncea and how they effect the person-a                                          l
                               ablllly lo comnnmicate prefsnmces end/or pal11clpate effecUvely In the ISP. dlsch.arge planning, grte11ancelinvesti9alfan, sndfor appeal processes

                               Muhammad is new to the cUnle and his sister has filed for guardianship prior to Muhammad coming to T&rros, She currently hae
                             · temporary guardianship. Muhammad ts diagnosed \'11th 296.90 Schizophrenia Undifferentiated Type; ha presents as paranoid
                             iand so far has only engaged when Wllh his sister. His sympto1n&- of .schizophrenia also Impair his ability to communicate. For.
                               example, he uses hand ~stures to ansv1er questio11s. Please note he has a high substance use which substance is unknown
                              he only identify with marijuana•
                                 ..


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                                                                  I
                                :~Grievance or    Q, Yes
                                :[Appeal Pending: @No
                                  ,.
                                                                        Currently
                                                                        Inpatient?
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                                                                                       G)No            tipatienl Fac!lity & Unlt
                                                                                                                                   I
                               IHdicate s guardian. relative, or a friend is regulariy involved with the person and BehaVioral Health provider.
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                               1iso, by Who (Name) IMussamna Muhaymin                                                 I Relattonshlp~erdlan/S~ter
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                               Je: lhe pmon In need     of Spaclal Assistance aware that you are submitting 1hlS notiflcatlon?                                                                                        G)YesQNo              I

                               P.iease El<lllaln:                                                                                                                                                                                           I
                                MussaHlna Muhaymfn Is aware that this form is being submitted on the behalf of Muhammaci. Cm called and left message with
                                                                                                                                                                                                                                            Ir
                        , #etafl of the Special Assistant Ferm.
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        .-~,.......-.-:--
                               Date Completed f10/26/2016
                                                                                   I                                                          ey Name IKlmberty Bryant                                                             I ._-J   i
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                               Phone Number         1ao2-21a-1414                 I -mauJklmberiy.bryant@terros.org                       Title
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Name: Muhaymin, Muhammad                                                                                        DOB:                                                                                                                            Date: 01/14/2017



                                                                                                                                                                                                                                                    COP 015286
                                                                       Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 68 of 179




                                                                                 ADHSfDBHS Polley Form 113.1
                                                                   -                                 --
                                                                   NOTIFICATION OF PERSON lN NEED OF SPECIAL ASSISTANCE
                                                                                                                                                 -
                A T/RBHA, provider, or other person qualified to rnake tha detemi/natfon that dstermin8s a psrson with , Serious Mental I/Inns fSMQ is Jn
                nssd of- Spec/al Asslsten.ca, In accordance with ADHS/DBHS Policy snd Procedures Section 113, must notify the ADHSIDBHS Offir.e ofHuman                                                                                                               '!'
                Rights within five (5) days of ths determination. ff the pef5on ls not already identified&. Sp&r;lal Assistance, notification is roqulrod ovon If
                someone Is Involved and assisting the person.                                                                                                                                                                                                           '
                fi'art A: Notification (to be completed oy tne , 1RBHA, provider                 o'r' other perBon qua lined and sent to                     e v111ce OT riuman lghts at                                                                             !
                (602} 364-4590 or via secure e•mall to OHRts~tdh.s.gov)
                                  --
                                                                                                                         .

                          The following person, who la a person determined to have a S&rlous Mental Ulness (SMI), is in need of Spec:al Assistance.
                                                                                                                                                                                                                                                                     I
                First   NamefMuhammad               ILast Name lMuhaymin                          I coelo                       ] Resicfence Type (Homel;-s
                                                                                                                                                                                                                                           J                          I
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                Address !Homeless                                                     I City (Phoenix                              I   State ~.:_lzona                                 } Zip coce                 I                         I.I
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                Phone      iiii2s10                     J    Guardian (It 110110, list NIA) jMussalllna fvluhayrnln:
                                                                                                                                        c1e;;;;;,;;;; >                                                                                    I
                  Title XIX?
                               ('e)Yes
                               O No             CISID 1~0335
                                                                                          I      T/RBHA      IMtAtC                              I       GSA {NI~ for T/RBHAs)                                            EJ                                          !




                SMI Provider Name ITerros Health
                                                                                              I        Slte NameJLocatlon                (west McDowell
                                                                                                                                                                             '
                                                                                                                                                                                                                                   :       I
                SMI case Manager !Kimberly Bryant
                                                                                              I                                                       Slte. Phone                              1602·278-1414
                                                                                                                                                                                                                                           I
                SMI Clinical Supervisor fAmy Beard
                                                                                              1
                                                                                                                                                      Site Fax                                 r602-269-841 o                            ::]
                        Indicate the areas of Special Assistance need. Please check art that may apply, regardless of whether a process ls currently pending
                  l£l Servlce Planning                       121 Oblcherge Planning Process                          ~Grievance Process                                          IZJAppeal Process
                 Provide the clinical basis to support that the parson ls In nee:1 of Special Assistance. Please de!a~ the spec11lc clrc\.RTl&tance9 and how they e.ffect the person's
                 ablntv to commanlcirt• pn~ferancu and/or participate effecUvc!y In lhe ISP, discharge planl"llng, glfev&l'IC(!finllestigatton. and/or appeal prccesaes

                Muhammad is new to the clinic and his sister has flied for guardianship prior 10 Muhammad coming to T&rros. She currently has
                temporary guardianship. Muhammad is diagnosed with 295.90 Sch{zophrenla Undifferentiated Type; he presents as paranoid
                and so far has only engaged when with hls sister. Hls symptoms of schizophrenia also lrnpalr his ability 10 communicate. For.
                ex.ample. he uses hand gestures to answer questions. Please note he has a high substance use which substance is unkno\vn
                he only identify With marijuana.




                  Grievance or
                  Appeal Pending:
                                       QYes
                                       © No
                                                        Currentty
                                                        Inpatient? @No
                                                                           Qves
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                                                                                       lnpsllsnt Far:ilit.Y & Unit
                                                                                                                     I                                                                                                                   ]                              L

                Indicate a guart!ian1 relative, or a friend Is regulany involved With the person and Behavloral Health provider.                                                                                 €}Yes QNo                      1
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                If so, by VI/ho (Name) IMussamn~ ~uhaym!n                                                  Relatione'.iip§~erdl'an/Sl~ter
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                Phonaiiai-o786
                                                '
                                                        :]     Address (1214 S. 41st Street
                                                                                                                                                 r
                                                                                                                                                      City 'Phoenix
                                                                                                                                                                                                                                           I                              lI
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                                                                                                                                                                                                                                                                          !•
                Is Iha per&on In need of Spacial Asslstance aware that you are subrrlttlng 1hls notification?                                                                                                          @YesQNo
                Please Explain:
                                                                                                                                                                                                                                                                          I•
                                                                                                                                                                                                                                                                          I ;
                 MussaHlna Muhaymln ls aware that thls form Is being submitted on ~e behalf of Muhammad. Cm caned and left message \\4th                                                                                                                                  •
                 datall of the Special Assistant Form.                                                                                                                                                                                                                    I I
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      .......
                Date Completed 110/26/2016
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                                                                                                                               By Narne fKlmberly Btyant
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                Phone Number !802-278-1414                              !-mall kimberly.bryant@te;~,org                       Title                   Case Manager
                                                                                                                                                                 .................-.
                                                                                                  rage 1 or,                                                                                                                     La&1 RovlmJ:                               'I

                                                                                                                                                                                               Effective dat9: 10/01/2015




Name: Muhaymin, Muhammad                                                                       DOB:                                                                                                                                                  Date: 11/16/2016



                                                                                                                                                                                                                                                                COP 015287
                                                                 Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 69 of 179




                                                                             ADHS/DBHS Polley Form 113,1
                                                               NOTIFICATION OF PERSON lN NEED OF SPECIAL ASSISTANCE

                  ..........
        PART B: Response (to be completed by the Offlce of Human Rights Administration {OHR):
                                                                                             --·                                                    :!ilJlli■BJ
         Re: NAME !Muhammad Muhaymin
                                                                                       I   DOB 1
                                                                                                                               I Originai Part A NoUficatior. Date [10/27/16                  I
         Per the information provided/supplemental informatlon obtained. the person moots the criteria ror Special Assistance                                           €)Yes QNo

         Per the Clinical Team and email dated 11/8/16, Member meets Special Assistance criteria due to Medical~Psychiatric Condition
         including Schizophrenia and symptoms of paranoia and substance use 'vVhich also inhibits his ability to communicate severely
         impacting his participation in serviceldischarge planning and grievance/appeal processes. See Part A for more detail.

        The person requires Special Assistance in the fo!lowing areas
                                                                                                                                                                            -
             l ✓ I Service Piannlng                    [ZI    Discharge Planning                            [ZJ       Grievance Process                        0       Appeal Process

         The following person/agency is designated to provide Spacial Assisiance

        D         OHR              Assioned Advocate
                                      ~
                                                                                                                                                      Phone
                                                                                                                                                               I                             l
         Date (as of)
                               I                               I
        0      OTHER                                                                                                                                                                           !
                                                                                                                                                                                               !

                     First Name IMussalllna
                                                               I   Last Name IMuhaymin
                                                                                                                               I Relationship !sister
                                                                                                                                                                                             I
                     Address         ,........                                                      !   City      !Phoenix 85C42
                                                                                                                                                     I ?hone              -0786 {ceH)
         Additional Information, if any:
         Clinical Team, please regularly involve the above-named person who is meeting Special Assistance needs as delineated in
         Policy 113.

                                                                                              ,
                                                                                        /)          )                                                     /

                                                                                                                                                    OHR Title IOHR Advocate II
                                                                                                                               :::--

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                                                                                                                                                      #




         Date{ 11/161"16
                                              IFirst Name Cynthia i, A l ~ ~ Name Fullen
                                                                           ,
                                                                                                                           /
                                                                                                                                   ~
                                                                                                                                       .,/.                                                   l
         PART C: Notlftcatlon of Change (to be completed b) the T/RBHA, Provider or othe{derson qualifled}
         Please indicate the date when the need for Special Assistance was no longer required and the reason{s) why. Submlt Part C to OHR within ten
         {10} days of the determlnation.

         As of; Oate           f
                                                                   l
         The above referenced person no longer meets the criterla for Special Asslstance for the following reason(s}:
                                                                                                                                                                                               I!




         The person was informed 1 due to a change in circumstances, he/she no longer meets the criteria for Special Assistance and OHR is                                                         I

         being notified
                                                                                                                                                                                    Oves
                                                                                                                                                                                    .,.
                                                                                                                                                                                         I         I
                                                                                                                                                                                    0No            I
         Please exolain:                                                                                                                                                                           I




         I
         I                                                                                              """""



          First   Namel
                                                       I   Last Name\
                                                                                                                  I            Agency
                                                                                                                                             I                                                I
         Phone           I                        I     E-mail
                                                                   I                                              J            Tltle
                                                                                                                                             I                                                I
                                                                                           t'8 ge   2 cf 2            -·
                                                                                                                                                 Date Completed
                                                                                                                                                                   I                          I
                                                                                                                                                                                  Last Revloe:l:
                                                                                                                                                                   Effective date: 10/01/2015




Name: Muhaymin, Muhammad                                                               DOB:                                                                                                Date: 11/16/2016



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                                                                                Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 70 of 179




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                        Piilrson f ltlng:_.- - , - , ~ - ~ . . . - - ~ _ _ , . ~ ~ ~ ~ ~ -.........                                                                                       !
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                        Clty ~ Stat&} Zip Code:~~~i.....:.....t~-~.._....-....-+,.__ _ __
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                        Telephorts~---~.....,......:...-.:---~~~~.,.___ _ ____..._ __
                        Em.an Ad-dmss.:,_ _..__--..:..s.J11~r-ti1111""11J.Ju...a..~. ~~WL...f...~"-J.....i....                                                                           ! CERTIFIED COPY .
                        Lawyer's Bar Numti(!r:_____
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                        Licensed Fiduciaiy Numbet~ ----•~-•w_ _ _ _, _,- - ~ - · - ·_ _.,,.,._,_,___- - ·•..-
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                        Rapn,senting                              O Setfl wlthout a Lawyer                  or              D Attorney fot D Petitioner                     OR O R!spondont



                                                                                       SUPERIOR COURT OF ARIZONA
                                                                                          IN MARICOPA COUNTY

                       In the Matter of: (~.;,eek one or both)                                                                                  Case   Nurr.ber:_f.f?_2~1 ~-=- QoS~ lR z_
                       ¥Guardianship O Conseivatorship                                                                                          Ler1e:Rs OF APPOINTMENT
                                                                                                                                                AS TEMPORARY
                                                                                                                                                 (Check one box)     .
                                                                                                                                                 D Guardian and Conservator
                                                                          D a ~1inor                                                            ii:]"'Guardlan
                                                                                                                                                0 Conservator
                                                                                                                                                ANO ACCEPTANCE OF TEMPORARY
                                                                                                                                                APPOINTMENT
                                                             ..

                       ISSUANC.E OF TEMPORARY LETTERS
                                        NAME OF PERSON APP01NTED: This person                                                                          (nameL,1~J.l~~-,,pu..b&!:j iM.,i_(\...
                                        is appointed as:                        D Guardian and Conservator                                      OR~uardlan                   OR         O .eons.a~                             tof
                       2.
                                        ~~.:~~~o-1u°~~~--~N~/O~ ~~Ns:~V~T~R:
                                        REASON FOR APPOINTMENT: The person who needs a guar.dfan and/or conserva1or is
                                        D a minor                             OR 8]a11 incapacitated adult or a ¥Verd                                    OR           D a protected person
                                        LENGTH OF APPOINTMENT:,.,·~~~-                                                                                       l t Z:OLU _- ' '.. ,.
                                    RESTRICTIONS that apply to thts TEMPORARY appointmentl by order of the court

                                                                                                                                                                                                                                             .••-t11c••tzr';               ·--~             "11F:P:




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                                                                                                                                                                  .                 '
                                    WITNESS~---_ _AU_G_l_3_2_01_6_                                                                      _..,_           Clerk pf tha ·superior Court




                                                                                                                                                                                    .                                                                                                                                .J.
                                                     '                    '
                        All Rt-GHTS RESERVED                                                                                            Page 1 of 2                           IJsa ·only most curren                                                ,
                       LTA




                              I   111    I   I   I       I        I   I   I


Name: Muhaymin, Muhamm~d ··                                                                                     1                                        111111   11    I
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                                                                                                                        DOB:
                                                                                                                        I   1111   11   - - - - - - - - - - - - - - - - - - - - - - -



                                                                                                                                                                                                                                                                                                             Date: 11/16/2016


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                                                                                  Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 71 of 179




                                                                                                                                                                         Case No.
                                                                                                                                                                                      -----
                                                        ACCEPTANCE OF TEMPORARY APPOINTMENT
                                                        State of Arizona          }
                                                        ~Aancopa   County         ) ss,
                                                        I accept lhe duties as TEMPORARY                                         O Guardian and Conservator   OR ~Guardian        OR D Conservator


                                                        of   .1'{\~Q.;tn,.            ~ cl,.                                     .k_ · ·.             ~(name).

                                                        J swear that l wiH perf       hese duties acco




                                                                                                                                              ~UG 2 8 2016
                                                        Subscdbed and sworn to before me this date:
                                                                                                                                             ---------
                                                        My Comm)ssion Expkes: - ..·---·~-----
                                                                                                                                                                             c.




                                                        LTA




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                                                                                      11   I   I   I   I   I   I   11111   111   111   11


Name: Muhaymin) Muhammad                                                                                                                    DOB:                                                     Date: 11/16/2016


                                                                                                                                                                                                        COP 015290
                                                                                                                                    Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 72 of 179




                                                                                                                              SMI EVALUATION REQUEST FORM
                                         Re< uil·ed l?.eft•rral lnformation
                                         RBHA: 1"I~tcy.:~Jari¢0,pi(l1itegf~f~
                                                                                                                                                                                           **Plensc ndd rcss all a
                                                                                                                                                                                      Referral day: 9/16/2016
                                                                                                                                                                                                                                                        l.icnble fields cverv time*•,
                                                                                                                                                                                                                                                             Referral time: 1356                            ------
                                            Evaluation Type: 8;o,uti'.ti¢                                                                                                             Pre-SMl: Yes ; ·                                                           coE1co·r: No'.)••.,;:/:
                                     1--------··--------'------.----
                                     BHR Name (.I\.KA); Muhammad Muhaymln DOB:
                                                                                                                                                                                                                                                            1---
                                                                                                                                                                                                                                                             SSN:

                                            BHR Phone #: G                                                                                                                Gender: f efu1tJ"                                                                      Race: White
                                         Primary language: English                                                                                                       Interpreter language: None
                                            Tl9:              Yes··••·                                                                                    AHCCCS ID:                                          335
                                            Legal Guardian:                                                       \'.'~~T):;                                                ! Guardian Name & nu1nber (legal guardianship                                                                                      uired at
                                                                                 ' tile time of evaluation : Mussallina Muha mi                                                                                                                                                                                0786· - - - 1
                                         Referral source (name and#): Guardian Mussallina Muhaymin             Bl-IR agrees to eval: \'c~•-(i :'.
                                         678-920-0786
                                         BHR location (please include hospital, unit, room#, etc):


                                      _____ _____
                                            Booking/DOC# (if applicable):

                                            BHR Address (residential or mailing): Malling
                                                                                           ......,
                                                                                                                                                                                                             Court Date / Release Date:

                                                                                                                                                                                                                                               HOENIX, AZ 85041
                                     f.comments: Found SMI 12/14/2010 Dr Hoffman. Per MMIC this BHR never engaged in servs. CIS:
                                     I        099, MMIC: S03048910
                                     L----··---------·--------------------------'
                                      Evaluation lnibrmation {l•or CPR use onlv):
                                                                                                                                                                                                                                                                                                                             '""""""""'

                                     I Evaluator Name:     ... Tamara LaMontaane                                         ,~-"""'
                                                                                                                                                                                                                  Detennination outcome:                                        :P rcJSMt
                                                                                                                                                                                                                                                                                     .     i,; .i..•.•.•.

                                            Evaluation Date:                                                                   9/16/2016                                                                          Evaluation Time:                                              11:30AM
                                                                                                                                                                                                                                                                  -·                     .. .,.. ;;. ·• 11·· ''l'Lf, •'ti
                                            BHR site preference:                                                              Terros: w.                             McDowell
                                                                                                                                                                                                              I
                                                                                                                                                                                                                  Reason for site selection:                                       11
                                                                                                                                                                                                                                                                                ,( iCO~llP.
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                                            Eligibility Documents:                                                             Tl9.
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                                                                                                                                                                                                                  Days ofM'edications                                           Nhtcu•:telltl
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                                                                                                                                                                                                                  remainin,z:
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                                            ls the BHR homeless?                                                               ~~$:,r.o.n. ftb.c:;t;fft{ct)                                                       ACl' Appropriate:                                             Y.isI}}-
                                                                                                                                                   ...,                                               ....
                                            Comments (Serious                                                             '    N/A
                                            Crimes, Languages,
                                            Special needs, other):                                                                                                                                                       ...................
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                                             Determination date:                                                                                                                                      Determination                                                   {~(b\.it:.$itecte!l)
                                                                                                                                                                                                      outcome:                                                    .

                                        I SMI diagnosis (if
                                        I
                                                                                                                                                                                                      Site assignment:
                                          applicable):
                                        I SMl Processor
                                        I
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                                        l
                                        l Comments:




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Name: Muhaymin, Muhammad                                                                                                                                                                       DOB:                                                                                                                                       Date: 11/16/2016



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                                                             Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 73 of 179




                                                                     ADHSlt>SH$ Policy Form 1"13.1
                                                        NOlfACATION OF PERSON IN NEED Of SPiCtAL ASSISTANCE
        A i/RBHA, provider, or other pemon qualified ta make lhs determination thotdetermin11s o per~n with@ Serious Mental lllnpss t§MIJ ls In
        need ofSpecial Assistance, in accorclance with ADHS/DBHS Poocy end Procedures Section 113, must notify the ADHSIDBHS Offlc9 ofHuma11
        l«ghts within nvf) (5) days of tho determination. II the person is not already identi!fBd as Special A~slstanr;e, notifir;afioo i1> roquirod oven if
        someon& is Jnvoht6d and assfstlng the psrson.                                                                     ·
        Part A: Nctfification (to be completed by  TIRBHA, provide.-or other peraon qualified and ~n tD e                                         uman Rights at
        (602} 364-459D or via se-eure e-mail to OHRts@azdhs.gov)
                  The following person, who fs a person detenn1ned to have a Serious Mental Illness (SNJI), is in need of Special A$sistancs.

         Fist NamelMuhammad                  ILast Name [~:uh~rt1,i,n,, :               IDOB f                   I Residence Type fHomeless
                                                                                                                                .----!=::-----=--=-=-=-=-1,
                                                                                                                                                                               I
                                                                                                                                                                                        I
        Address fttomaless                                                  I   C~ty ~hoenix                     I State IAritona            j Zip oooa    .._I_ _           __.I,      I
                                                                                                                                                                                        I
                              _2s_1_0_       __, Gua,dian (If none, list NIA) IMussalfina M~aymin                  :c~fim,perc«y )                                             I        I




          Title XIX?
                       © Yes
                       O No
                                        c1s 10                 335      · ' ·:
                                                                        _ __
                                                                                l       TIRBHA   _IM_M_lc
                                                                                                 _
                                                                                                        _ _ _ _.            l      GSA {NIA for TIRBHAs)     ~
                                                                                                                                                             E._J


                           lli_e_rr_os_H_e_a_lt_h________
         SMI Provider Name ...                                                      l       srte Name11.ccauon       l. .
                                                                                                                      w_e_s_r_M_co_o_w_e11
                                                                                                                                        _________                             ~I,
                          (~_,1m_ber_1_y_B_rv_an_t_ _ _ _ _ _ _
         SMI case Manager ...                                                       l                                           Site Phone      1602-278-1414
                                                                                                                                                                               I
         SMl Clini0al Supervisor JAmy Beara                                         I                                           Site Fax        leo2-2ag.941 o
                                                                                                                                                     I                       7
              Indicate the area& of Special Aooiatance need. Please check an tha1 may apply, regardless of whether a process is currently pending
          IZ] Selvlce Planning                     (ZJ Plscnerge Plenntng Pn;icess                      ll)Grlevance Process                 li]Appeal Process
         Provide 'he dlnlcal basis to support that the person Is in need of Special Assistance. Please de1aR the .specific circumstances and how they af'fec1 the person'&
         sbllily to eomrmmleale preferences am.1/or paJt!cip\\te effedlveiy tn the ISP, dltchaige plaoram. grf&vancelirweatlgal.iOn. ancltor appeal pmcas.ses

           uhammad is new to the cHnic and his sister has ffled for guardianship prior to Muhammad coming to Terros. She currently has
         temporary guardianship, Muhammad ls dlagnoset:i wltl1 295,90 Schizophrenia Undifferentiated Type; he presents as paranoid
         and so far has only engaged when with his si$ter. H1s symptoms of schlzophrenJe also lmpGtlr his ablllt)' 10 communicate. For.
         example, he uses hand gestures to answer questfons. Please note he ha& a high substance use which aub&tance Is unknown
         he only identify with marijuana.




           Grievence or
          Appea! Pending;
                               O Yes
                               (!>No
                                         \       Currently
                                                 Inpatient? @Mo
                                                               Oves
                                                                            lnpall8"l Facility & Unit   I_________________I
                                                                                                        ...

                                         '
        lndicate a gt.1ardan1 relative, or a friend Is regularly involved with the person and Behavloral Health provlder.                                 @Yes QNo
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                                                                                                                                                                                 I
                                                                                                                                                                                 I      I
                                                                                                                              I
                                                                                                                                                                                        !
         If so, byWho(Name) ~~s~allina Muhaymin                                             ] Relationship{Gl:larcllen/S~ter                                                            i


                                                  I                                                           ~===---========                                                           '
         Phone                   788                  Address                                    _______ Cit'{ ...
                                                                                                                              l
                                                                                                               IP_h_oe_n_lx_ _ _ _ _ _ __

         11 the person In need of Speclal Assistance aware that you are subrnitting this notificatioo?                                                      @YesQNo
         Please e laln:
         Mussalina Muhaymln ie aware that this form is being submitted on ~he behalf of Muhammad. cm caned and left message wilh
          etafl of the Special Assistant Form.


         Date Completed (10/26/2016                                                                            By Name IKlmberly Bryant

         Phone Number        602-278-1414                          1   kimberJy.bryant@terros.org
                                                                                         age o

                                                                                                                                                                                        )


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Name: Muhaymin, Muhammad                                                             DOB:                                                                                       Date: 11/17/2016



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                                                            Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 74 of 179




                                                                                ADHSIDBHS Policy Form 113.1
                                                        NOTIFICATION OF PERSON IN NEED OF SPECIAL ASSISTANCE
                                                                                                                                                     lt~¾1f~~~~&.~}~f~ci'it~l~~~/~~J!z.~
                                                                                                                                                     ,.,.,~.."·"·.~~,.,~r~,,,,~ ,. . ~,_,,~,,,.,,.,.!\8>-~1•'1,···'·
       PART B: Response (to be completed by the Office of Human Right'S Administration (OHR}:
                                                                                                                                                     ~it1iall~lrdl1~~:.a11
       Re: NAME !Muhammad Muhaymin                                                    I    DOB 1                               I   Original Part A Notification Date 110/27/16
                                                                                                                                                                                                                  I
       Per the information provided/supplemental information obtained. the person n1eets the criteria for Special Assistance                                                      (:)Yes QNo

       Per the Clinical Team and email dated 11/8/16, Member meets Special Assistance criteria due to Medical-Psychiatric Condition
       including Schizophrenia and symptoms of paranoia and substance use which also inhibits his ability to con,municate severely
       impacting his participation in service/discharge planning and grievance/appeal processes. See Part A for more detail.

      The person requires Special Asslstance in the following areas
          IZJ Service Planning                 121    Discharge Planning                                       0        Grlevance Process                             0         Appeal Process
      The following person/agency is designated to provide Special Assistance


      □      OHR          Assigned Advocate                                                                                                             Phone
                                                                                                                                                                      I                                          I
       Date (as of)
                          I                             I
      0     OTHER
               Flrst Name IMussaltina
                                                        I   Last Name IMuhaymin                                                I Relationship      !sister                                                       II!
                                                                                                                                                                                                                   I

                                                                                                      I
                                                                                                                                                                                                                   I
              Address 17214 S. 41 st St.
      Additional lnformation, if any!
                                                                                                           City     fPhoenix 85042                   I      Phone                         786 (oell}
                                                                                                                                                                                                                   I
       CUnfcal Team, please regularly Involve the above-named person who is meeting Special Assistance needs as delineated in
       Policy 113.

                                                                                          •'\   ,..   )
                                                                                      I     J                                                               J

       Oatel11/16/16
                                     I   First Name Cynttiia [' .ii /ILM "'~~e Fullen
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                                                                                                                                             ~-         I   OHR Tltle     IOHR Advocate IJ
                                                                                                                                                                                                                 l
                                                                            r                                               ./
       PART C: Notlflcatlon of Change (to be completed b) the T/RBHA, Provider or other                                            rson qualified)
       Please indicate the date when the need for Spacial Assistance was no longer required and the reason(s) why. Submit Part C to OHR within ten
       (10) days of the d&tennination.
                                    •
       Asof1 Date     f
                                                            I
       The above referenced person no longer meets the criteria for Special Assistance for the following reason(s):




       The person was informed, due to a change in circumstances, he/she no longer meets the criteria for Special Assistance and OHR is
                                                                                                                                                                                                     0Yes
       being not!Hed
                                                                                                                                                                                                     (vNo
        Please exolain:




       First Namel
                                               I   Last Name    I                                                   I          Agency
                                                                                                                                             I                                                                    I
       Phone   I                           I       E-mail
                                                             I                                                      I          Trtle
                                                                                                                                             l                  :::                                              I
                                                                                                                                                 Date Completed           I                                       I
                                                                                           1"'8ge i       ot .tl:                                                                                 Last RcvlNd:
                                                                                                                                                                           Effective date: 10/0112015




Name: Muhaymin, Muhammad                                                              DOB:                                                                                                                Date: 11/17/2016



                                                                                                                                                                                                               COP 015293
                                                 Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 75 of 179




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                       3
                                           IN THE SUPERIOR COURT IN AND FOR THE STATE OF ARIZONA

                       5                                       IN AND FOR THE COUNTY OF MARICOPA
                                                                                           .

                            In the n1auer of the of:                                            PB20 I6-003462.
                       7      •
                            MUHAMMAD A. MUHA YMIN,                                              ORDER OF CONTINUANCE
                       8
                            An IncapaciUt.ted or Protected Person~
                       9

                   10

                  11
                                     Upon motion of Counsel tbr !he Ward to continue the hearing set for December }. 2016 at
                  12
                           J;OO p.m.,

                                     IT IS ORDERED that this matter is rescheduled for                   ;J/J,nfJAK'V - ~ ,20 I~
                                                                                                                  ~,---crJD:0/j    i
                                    lT IS FURTHER ORDERED that Petitioner's Temporary Letters be extended until

                            ~ ?.!., ~l~a.nd the Clerk is directed to issue new Temporary Letters effective until such
                           date,

                                                                                    ...c/Jbv:._ ___ .~
                  18

                  19
                                     Entered this         J..Jr:        day of._.                        -..1'~~~      -vvfb-.
                  20



                  22
                  23
                              IT IS ORDERED wstvtng the fee for s
                 24           oettlflad copy or thia ·Order of Appointment
                              anti ~m,· L.t1Hl1f of -"flflttJAlffl@IU


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Name: Muhaymin) Muhammad                                                     DOB:                                                      Date: 11/28/2016



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                                                                           Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 76 of 179




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                          Licensed Fiduciary N u m b e r : - - - - - ~ - ~ - - -                                                                                                                                                                                                     fl'   ... ,..,..~   ,-c,------, .... -;~ .... -~...... ~     •   . .............      '-. -



                          Ftapreaentl~g                 r/J.s.n, without a Lawyer                                                        or         O Attcirney for O Pet(t!OMr                                                                OR                  D Respondent                                                                                                                           - I       [
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                                                                                                                SUPERIOR COURT OF ARIZONA                                                                                                                                                                                                                                                                           I
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                                                                                                                   IN MARICOPA COUNTY

                                                                                                                                                                                      case Number:1,0~.,:,,~~!l"'2-.
                         r
                         ~ e Matter of: (check one or both) ·
                           Guardianship QeonservafOf&hlp                                                                                                                              LETTERS OF APPOINTMENT
                                                                                                                                                                                      AS TEMPORARY
                                                                                                                                                                                      (Check one box)
                                                                                                                                                                                      D Guardian and Conservator
                                                                                                                                                                                      ~ Guardian
                                                                                                                                                                                      D Conservator-
                                                                                                                                                                                      AND
                                                                                                                                                                                       .  ACCEPTANCE OF TEMPORARY                                                                .




                                                                                                                                                                                      APPOINTMENT                                                                                                                                                                                                          .'
                                                                                                                                                                                                                                                                                                                                                                                                           >

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                         ISSUANCE OF TEMPORARY LETTERS                                                                                                                                                                                                                                                                                                                                                     ,
                         1.             NAME OF PERSON APPOINTED: Thia person ( n a m e t ~ 1 . $ ~ ~ ~ ! ' \                                                                                                                                                                                                                                                                                              '.
                                        is appointed as:                                   D Guardlan and Conservator                                                                 OR ¢Guardian                                                 ORO Cooservalor


                                        .~~~-,0~--.~~=:IA=~~-~~:
                                        REASON FOR APPOINTMENT: The person who needs a guardian and/or conservator is
                                        D a minor                                      OR Dan lncapacilaled adult or ~ward                                                                                  OR)d a protected person
                                        LENGTH OF APPOINTMENT:                                                                                              .:J~--. Z,,\;._ ~-~5'.ac"••-••"·'"··· .....
                                                                                                                                                                                                  ..                  \
                         5.             RESTRICTIONS that apPJy to this TEMPORARY appoinlmenlt by order of lhe court



                                                                                                                                          *   p,1apo1   v ......   •*P         IPfl   F Rlf   •        I    iilllllilSl<I Ill            1 •;;Jhl        $)164,illlstzzlllil!III"              RJPFF
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                                                .MJlMl l l 41W       tlltltl   I                  h        41       -W L-W.ii.

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                                        wITNESS,:
                                              . __ ..,. ,_ DEC   18 2016                                                                                                                                     • • ...        • 1

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         1·              @Superior Court of Arizona fn Maricopa County                                                                                                                                                                                                                          -. "PBG
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Name: Muhaymin) Muhammad                                                                                                                      DOB:                                                                                                                                                                                                                                            Date: 11/28/2016



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                                             Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 77 of 179




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                                                                                                                      case No. __*_,....,,..._,....__•-•- - •
                                                                                                                                                           d __...,




                       ACCEPTANCE OF TEMPORARY APPOINTMENT
                       State of Arizona         }
                       Maricopa County          ) ss.

                       I accept the duties as TEMPORARY         D Guardian and Conservator             OR f1., Guardian     ORO Conseivator


                      of   -~~oomml.               tvtt~htty.m.DI. __                  ••   u•   (name),

                      l swear 'that I wHt perform these f)uties accordfng t
                     -~ .
                      ~~~
                         "'""" l {\ .. ~~~~,;,,,4-------             I          --


                      GUARDfAN AND/OR CONSERVATO

                      Subscribed and sv,orn to before me this date:       DEC l 3 20f6
                                                                                                                             MICHAeL KJEANES. CU=Rt\
                      My Comrnlssion Expire~: _ _ _ _ _ _ __




                     ©Superior Court of Arizona in Maricopa County                                                   PBGCT82f 082107
          -----Abl?R0lM+$:~&.S&RWtl-•----                        ~--_,Rage.2..t1£.2_ _ _ _ _...._U®_QrnyJI1~ currgnt version
                      LTA




Name: Muhaymin) Muhammad                                                 DOB:                                                                                         Date: 11/28/2016



                                                                                                                                                                        COP 015296
                                                                         Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 78 of 179




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                                                                               GUIDELINES FOR

                                                     HEALTH PROFESSIONAL'S REPORT


                            INSTRUCTIONS TO PETITIONER; Fill in the information below and give this document to the physicianl
                      registered nurse, or psychologist appointed by the Court to evaluate the health of the person said to need protection
                           immediatefy after the aORDER APPO[NTING (Attorney, Health Professjonal, and Court lnvestigator)H is signed.
                            The complete written report should be given ;o everyone Hsted in the ttORDER APPOINTING 1' no rater than 10
                                ·                               days before the scheduled hearing.




                           COURT CASE NUMBER:                                                                    PB
                                       I


                           NAME OF EVALUATOR:


                                       '
                           EVALUATOR'S PROFESSION:                                                            MPhysician                     D Registered Nurse □Psychologist
                                                                           u...s.L..-,u~6. .i!t.i.......a.;;:.r~~4d
                           ~AM~ OF PATIENT {subject of this evaluation): ___                 ..                   ......4...._d_...;_k....:......;;u;;;..;.......;;/2.&...1:~::;_z;;i:~'4.-/...._4.....,,,.__r- - - - - -
                                                                                                                                                 =


                                                                                                                                            (Person said to needguardfan)

                          NAME OF PETITIONER:

                          PETITIONER'S TELEPHONE NUMBER;

                          DATE AND TIME OF COURT HEARING:


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Name: Muhaymin) Muhammad                                                                                   DOB:                                                                                                                 Date: 12/05/2016



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                                                                                                 Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 79 of 179




                                                                                                                                                                                                                                                                                  Case No.                                - - - - - - · - ·-------1111
                                                                                                                                                                                                                                                                                                                                                     ..




                 QUESTIONS FOR HEALTH PROFESSIONAL TO ANSWER:
                -------""'""'"'""'"""""''"""""""""""''"'~...,...,..,..,.,,,..,..v.._, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                      Note: If not enough space on this form to .answer~ write fn ~See attached{; and respond on_ separate page.                                                                                                        1
                                                                                                                                                                                                                                                                                                                                                                                                                                   ·t
                         · Please re~state the question on the attachment and·use same number.as-from this document.· · · ·
                                     I




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                                                                                                                                                                                                                                                                                                                                          f r _ r l t_ _ _ _ _ _ _ _ _ _
                                                                                                                                                                                                                                                                                                                                                                       _
                                                                                                                                                                                                                                                                                                                                                                                                                                  j
                 1.         What is the date you last saw the patient?
                 2.      • How Jong have you been treating the patient?


                 3.        Why were you asked to do this evaluation?
                           [1r                             J have been the person's physician for many years~
                           [E                             I was asked to do so by the family,
                           D                              I was selected by an attorney~
                           D                              My office is close to the person's residence~
                           D                              I am a                        O
                                                                     doctort D registered nurse, or                                                                                                                                     D psychologist, for the person's nursing home.
                            0                             Other.
                                                                                        --------~-------------------
                                                                                        ______________                                  ,                                                                                     ,..,.,...._...__~--------------------------------,,--..----------



                 4.       -What is your area of specialty? . . . . >'--'~'4---:dd..llf,,,,IL,d,I~'--=··A--'--7."-11-4~----,,rc-----------------                    P....G-


                           Are you Board Certified in this areaii:.J                                                                                                              Yes ctfNo
                           In a.ny other areas?                                                                                                                                  D Yes D,No
                           ff uyes" 1 list:

                         _ Does the person you are evaluating appear to be having difficulty in any of the following areas?

                           r6                             Mental disorder                                                                                                                                         D                             Physical illness
                           □                              Chronic intoxication or drug use
                                                                                                                                                                                                                  □                             Cognitive abilities
                           □                              Anything. else (explain below)
                                                                                                                                                                                                                  □                             Physical illness ONLY

                           If he or she is having difficulty, please specify the nature of the illness. disorder, etc.j
                           including diagnosis:
                                           ~it r't x Q"'l-
                                           ~                - Su Fl<fA-.S: f::. KdJfli
                                                                                 -     S:o£A I                                                                                                                                                                          ?AP ti4.,.,,PA-,1)~:'f,,,A_ lw
                                                                                                                                                                                                                                                                                       ~                                                                       I
                                          cl.1.;;;, tlJ. a p# N.J..2-ed Y71f '.'f-                                                                                                                                                                                                                     ---------------------------------------
                           - - - - - - - - - - - - V . V , Y l f f ' N o T l l l a ' l l l........<'!ff'M,V.'Nl!'IIIIIIIIIOIIIIIIIIIIIIIIIIIOIIIIIIIIIIIIIIIIUllllllllllftlllllOIIIIIIIIIIIIIIIIUllllftlllllllllllOIIIIIIIIIIIIIIIIUIIIIIIIIIIIIIIIIIOIIIIIIIIIIIIIIIIUIIIIIIIIIIIIIIIIUIIHIIIIIIUIIIIUlllllllll~V.'\hY-N>'NJ{,'N-"IIIUllllllllllllll•l1tlllll1IIIIOllllll1IIIIUIIIIOlllllltlllll1IW/.?llU.V.V.V.'W,MM'WU.V.YN,'WoV.




                 7.        Has the person been treated or hospitalized before for this difficulty?                                                                                                                                                                                                                                                     Yes                  □No
                           If yes. when and where?                             \
                               Ue /4 ·A? 6£ r: o                                                                                        YtLP:.4                                  r~ £ w, u,                                                                  H           e:4, c♦A ZLd ;../Jl                                                                           UI 11: {q__,
                                 /i.1c -J"lr:ltrL-




Name: Muhaymin) Muhammad                                                                                                                                                  DOB:                                                                                                                                                                                                                                                          Date: 12/05/2016



                                                                                                                                                                                                                                                                                                                                                                                                                                          COP 015298
                                                 Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 80 of 179




                                                                                                          Case No. - - ~ - - - - - -

                   8.      is the person able to do the following things? Please check each applicable box.
                           D       Pay his or her bills                         O
                                                                         Take medication appropriately
                          .0       Obtain food                                  D
                                                                         Provide adequate housing
                          .D       Live alone                                   D
                                                                         Exercise daily self-h~lp skflls
                          ·D     Make appropriate judgments that will protect him or her personallyr physically, or financially
                           0     Drive a motor vehicle. {ff nyes' expla}n below,)
                                                                       1
                                                                           ,




                           If you believe a guardianship is warranted but you believe the person to be protected is capable of
                           and should be permitted to drive a motor vehicle. please explain .
                           -----------~••'""""""""..,.,,                         _______
                           - - - - ~ - - - - - - - - - - - - - - - - - - - - " " ' " ' " " " ' " ' ' ' " "..................    -------
                                    ---~-------------~-~-------------------
                   9.




                   10.    . Do you believe that the medication is affecting the personts ability to respond coherently? __ /
                                                                                                                                 Oves                    [0No

                           Do you believe that the medication is affecting the person's ability to ambulate?                      D Yes
                   12.     Do you believe that a i'medication hoUday/1 if possibJe, would help you better evaluate the ~on?
                                                                                                                Yes    LufNo     D
                    13.     Do you believe that any changes made in the type or amount of drugs the person iS receivi n.9...would
                            noticeably affect his or her mental or physical abilities?                                           D Yes U No
                            Do you believe that any further medical evaluation or treatment would benefit the person?,_/

                            ff so. please give your recommendation: .
                                                                                _                                                □ Yes                    LJANo

                                                                      ----------------- - - - - - - - - - - -
                           ---------·""""""'"'"'"''"'..............
                                                                                                                          ..
                                                                                                        '-~-""""""""""""' ,    _________
                    15.     Do you th i ~ e person would benefit from other types of therapy such as counseling?
                            D   Yes Li1 No     If yes, describe:




                           ----------""'"""'""""""~                        --------------------------
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              .      ALL R!GHTS RESERVED _                                ~age 3_ of 6           _· _         _ ~
   ~~~~.....;:;:.:::~~~~~~~~~.:.:u:trn:_~';'~>ll;l-:t&~t;~i:kt~~·-!!c.....L"'":":"t"eTIN%''1'1i;,~~~~..,...~-::
                                                                                                                                   ,,,--:""."--"'\'" ..4..'cl""'i.',::,,,,wqd'!,>,t,-M•.=--->"S ____, . . . , , ~
                                                                                                                                -~~~~~~~                                        -~~~~




Name: Muhaymin) Muhammad                                                       DOB:                                                                                              Date: 12/05/2016



                                                                                                                                                                                      COP 015299
                                                                                                              Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 81 of 179




                                                                                                                                                                                                          Case No.
                                                                                                                                                                                                                                ---------
                   16.                    Where do you think the person should live today?

                                          g                             At home with a companion
                                                                        In a group home
                                                                                                                        At home with a nurse
                                                                                                                        In a boarding home
                                                                                                                                                                      □
                                                                                                                                                                      □
                                                                        in a supervisory care facility
                                                                        In a hospital
                                                                                                                        rn a nursing home
                                                                                                                                                                      □
                                          □                             In an Inpatient Psychiatric FacUity for inpatient mental health treatment. Explain.
                                          □                             Other~~ please explain~

                                                                                •---•
                                                                                    II                        -1111-1111-1111-IIMI-IWWW-lll&M---
                                                                                                                                              ➔----..-----------------------~-----....,._,.----




                   17.                    Do you believe that the person's condition could improve within 6 months to a year?                                                                                                                                                                    l"'"",:'1 /


                                                                                                                           Yes                                                                                                                                    D                              LI"'No


                   18.                    Is there is any reason for the court to review this matter again within less than one year?_/
                                                                                                                            Oves ~No

                  19.                     Please make any additional comments or suggestions you think would be helpful to the court in
                                          making this decisiona t                                                         t

                                          ... /'14 ';f:. l (;;Li L                                               , l~.    , e .i!. 1::;l:!,.--2,.Jd.!-.o/--·                                 ~~~i_cj!L_
                                                   , '4 1P                           44JAiJ'.                       h ,.           -                                                        · - Mt< e fH4._fJ. _. .!Lt ·rt 6 ·r. ..
                                          _J_!j__e~ I                                      $rl               a A2 ~                                                                                                                                                                                                      .
                                         """"'''"""'""""''""''"""""''""''""""~-                  ..   ---·-----~--~-----------------------


                  MENTAL HEALTH TREATMENT ISSUES (This section must be completed !Ethe petitioner is
                  requesting authority for a guardian to consent to in patient mental hea Ith treatment, and if so~ th is report or a
                  separate report covering this information must be completed and signed by a licensed psychologist or
                  psychiatrist)
                  r-----------------~----·-""'""'"'''---------------,-.-,-_-,-,--------
                      . ~Jt~:           Jin~t ~~bJgt, :s;;;ce ~n this for~ t~ anS~er, wr;te In .. atta~h~~>~fld ~espond~n i~Paf8t~:p~-~it :•
                                                                                                                                          0


                  · .· .· ./.··/:Please r~ ..~fate(_th~e. q1:1estion ~n-the attachment ah~ use sarne·num.ber as from .thirtd_ocunient_.:;::-:·i<:?\'-';::_.-::
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                    ' ·, _.· ~ ·.t. :'·) _.: , ·, . .:-"_-:, ··-:. ·(,I:,_::._>_;·: ":- ·>:,' ,:,t· i '. ·· : ·: . . >,·. : .'::·. ·'.: . :· :·.,·.,: .·-·: :. '- :_, . : .. ··,.·,..' ·.... ' -: . _·. :- -...· :::.:'.,. ·,. ·:<'.···'··>..: ·:_. . ·,-~-.. .:_ . \'i _:•i>·: ::·,_..-/-~ ·,~ r ::_.:_<::;';_(\i _·.->:
                                          .   •'   • ..   ~•                    .                                                             I;••·.·,                    .          .   ,::~    -~-'         .                                                  ':   ••.. : , • ~ . .                             ••   ~,.
                             • •   ••                          ·,   •   ~   •       " ~-   .·-    .. _   •                                                            •       ........... _ _ _ _ _   •   f       ------" - -                                             •              •   "      •          ~




                  1.                      Is 1t      fe opin Ion of the undersigned thatthe patient is incapacitated as a result of a mental disorder?
                                           @Y~s 0No
                   2.                     What i.s the mental disorder?
                                        ___7,..._·        &J ,A q;


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   ~~~~~•~~~-3::'.~1:c                                                                                          a=--:,-...:--:-~'"•~'fC-•--.i.~"K..,.•~~•:~.. -....;,._..,;........,_~~~-~~~~?~~.ztt.:..,!n,t~~~"!~~~~~,i";,r.r::-;~':.~~~~1::;




Name: Muhaymin, Muhammad                                                                                                                 DOB:                                                                                                                                                                                 Date: 12/05/2016



                                                                                                                                                                                                                                                                                                                                COP 015300
                                                                                              Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 82 of 179




                                                                                                                                                                                           Case No.
                                                                                                                                                                                                                    --------
                  3.          Is it the opinion of the undersigned that the p ~ t Is Ii kefy to need in patient mental he aIth care and
                              treatment within the next year?            Yes Llf No (The maximum term for which authority may be          D
                              granted to pface a patient in an Inpatient Psychiatric FaciHty and treatment is one year. This authority may
                                be renewed or extended based on the evaluation and recommendation of a licensed physician or
                              psychologist submitted with the annual report of the guardian~ A.R.S. § 14. .5312.01(P})

                              In the event that the answer to #3 is uves", please explain the need for, and the anticipat.ed onset
                              and duration of the inpatient treatment;                                                                                                                ,.
                                                                                                           '
                                       ~/J            ct 11:,;.~_£_ t0                            ,&;., • /ii w             e '"t S            ti ~ (2 JL f                 r1·' t € t=a.f!d f


                  5.         What kind of treatment is the patient currently receiving for this disorder?
                              H-           ~ e.. i::1 t!fl                                        U.DJtV~A.J- r-                                                ··-··r···                    -                                                       "

                                          l4ff                  tV JLJ7H e.v .,                                           W 1¼                      & t;td1 u,rr/ri..t.f: r.                                        /.4 # H            td?i/7.....                                      ..................................,,..,..., ......w,,,,,..




                  6..        Give a comprehensive assessment of any functi9nai impairments of the patient..
                             ---hi-:r., 2_,u/C__fi;_1!;!e.~r ... Jfl 6. {Y..JZJ:...tc.(u Q:, . L ~ e.&!deurLr-1_u u. t!4/J.if;,
                             .Yii! t;&tJ f.{ I G ( 'i'--«J           -f AV 6.l Pis I W@ p,../1;                -       j.J, ,J
                                                                                                       .        ......,,,..,,.. ___....,,,...,,,,,,,,,,,,,,,,,,,, .. ,,.,_'+'Nr'"' _ _ _ _ _ ,, .... .,, ... ,............ ,, ... ,..... ,, ............ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                  7.          How and to what extent do these impairments affect the patient's ability to receive or evaluate
                              information needed in making or communicating personal and financial decisions?
                                                                                                            ...
                              __ _;;[':f Uj!;!<.-!f u¼f1A1.1J:.J-t eu-:r:.. du e rt1                                                                                                                         /'-if rcld,.rrr to                                   5      yMf1 n~.r
                             What tasks of daily Uving is the patient capable of perfonning without direction or with minimal
                             direction?
                             ---~A~T-ff21L,.wN.v..i.,f.1."l,,,;;1___~ . - . , - - . , ~ w ~ • ~ w . w . " - • , - , . , ~ w m - • - - - - ~ - -                                                                                                            - - - - - -




                            -------~------------~--------------------------------

                  9..                      .., appropriate rehabilitation plan or care pfan for the patient?
                             What is the most
                         "~Z.~'l,:,::.../4..;._,t.,___,..fi-=L-r....o~'--"'S.::           J__
                                                                            '..............
                                                                                    L         ·A~;;;...-.--=0_'
                                                                                               .....                                                     ..--H•-~_,,_,,_,,_,,_,_,,,_, ____ ,., ,., .,.,_,.,.,., .~,~~-- ~
                                                                                                                ~~t-..;;;;,;;,1;.___(--,{- - - - - - - - -
                                       ·--------------------------



                  10.        What would be the least restrictive living arrangement reasonably availaqle for the patient?
                                                                            /
                                                                           Le I V
                                                                                                   -
                                                                                                 fiV r.;             /fl 't'            11 IP fl,, 4              f'           (..LJ       i H-1
                                                                                                                                                                                                  '
                                                                                                                                                                                                                    E. .i!!H::1:LI-!t
                                                                                                           \I
                             ~"''"''""''''"'"""'''"'"'"'''""'''"'"'"'    ------------------------------------------------------------------



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Name: Muhaymin) Muhammad                                                                                                                     DOB:                                                                                                                                                                                                    Date: 12/05/2016



                                                                                                                                                                                                                                                                                                                                                      COP 015301
                                                                           Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 83 of 179




                                                                                                                                                                                                                Case No.
                                                                                                                                                                                                                                    ---------

                  11.      Is there any reason why this patient should not personally appear in court?                                                                                                                                                    D Yes         ~o
                            If i'yes 1 please explain.   1
                                                             ;




                                                 ..v..-...,..........,..,..,..,, ... ,,,,.,,.,,,,., •• ,., ........ _ _ _ ,_,,,,, ......... ,, ....................... _ _ _ _ _ _ _ _ _ _ _ _ _ ,. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                           hM-'..V-.......,.......




                  12.      Please make                               any addjtional comments or suggestion~ you fee! would be valuable to the court:

                                                                                               nftl'PIIIIIIIII   I   I   Ill                                                           -w...... ,...... ,, _ _ _ _~ - - - -
                                                                                                                               1111111 ............ ..,..,, ............................




                           _ _ _ _ _ _ _ _ , ........ ,-...'ff'u.•NNNN.W_,,."ll.Yo"h"N~..................... ,,,1 _ _ _ _ _ , . . , , ~ ... ,, ..                                             ,m,t ◄   l!Um>•> ♦ >I   .... +..............._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ..,_ _ _ _ __




                   DATE REPORT PREPARED:




                                                                                                                                                       SIGNATURE

                                                                                                                                                                                                           UlUAM VILLALOBOS fvLD.

                                                                                                                                                      PRINTED NAME, PROFESSIONAL TITLE (MDJ RN, etc,)




                                                                                                                                                                  ·--                -·-·-----------------------
Name: Muhaymin) Muhammad                                                                                                 DOB:                                                                                                                                                            Date: 12/05/2016



                                                                                                                                                                                                                                                                                           COP 015302
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                                                                                                                                      f'•-•'-,.,_,_•-••••• ~JO~-d~•••••••••..J•• .........   '-   .L   • •.._.._.   ••

                                                                                                                                      l
                                                                                                                                       '

      ,.




            Lawyer's Bar Number:____             . - ..... ~. - - - - - - - ~
            Licensed Fiduciary Number: ________, ~ - - - ~ - - - - -

            Representing   D Salfj ,vithout a Lawyer                                 or   L] Attorney for     D   Petitioner OR   D Respondent


                                                  SUPER.IOR COURT OF ARIZONA
                                                    . IN MARICOPA COUNTY
            In the Matter of {check one or bothJ                                                           Case Number:_     f}3A:-P,{ {, .:::JJ.Q?, 4 ti},
           15<· Guardianship O Conservators hip of
                                                                                                           TEMPORARY ORDER FOR
                                                                                                           (check one·box)
                                                                                                           09uardi~nship and Conservatorshi.p
                                                                                                           ~Guardianship
                                                                                                           D Conservatorship

                NOTICE: This is an frnportant court order that affects your rights. Read this order carefuHy. If you do not
             understand this order1· contact an attorney for legal advice. This appointment is not effective until 11 L.etters of
                                              Appointmenf 1 have been issued by the Clerk of the Court.
                            I   3PJF7             ..-µ   I OI   •-~t:"'lft""'~   I               i,; I I




           THE COURT F1NDS:
           1.       PETITION FILED. A svi1orn Petitio_n for Temporary Appofntment pf a. Guardian and/or Conservator for the
                    person named ~bove vv.as fiied wrth the Court by the Petitioner.

                    PERSON TO BE PROTECTED·: The person to be protected by this order:

                    0            Is a MINOR whose 1-velfare and best interests require the appointment of a Temporary GUARDIAN
!-'                              t.o provide for his or her continuing care and supervfsion;

                    D            1s -a.MfNOR for ~vhom . flTemp.orary ·c.ONSERY.ATOR is nacessary·becausi:the or she ha~tmoney
                                 or property that require·s .m.anag~r,nent or proteiHon or nas or may have bU$.int:sS a.flairs whfch rna,J
                                 be jeopardized by·his n1i_nori~y. er the minor needs ·funds for his or her education ~nd protection is
                                 necessary :or desirable to· obtain or provide funds.                                      ·
                                        .                                                                                                                  .   '                         .

                                Is an ADULT who ls incapacitated due to .physical .and/or mental disabHQiesi that he or she is
                                unable to make or commun1cate respcns1ble decisions concerning his or her person and that
                                appointment of a Temporary GUARDIAN is ·necessary to provide for his or i,~r c9ntintiing: care and
                                supervision.                                                                           .

                                is an AOULT for vJhom a Temporary c·o NSERVATOR-is necessa·ry because h.e.-or she.is unable to
                    □           effectively manage or appiy- his or her estate :due to p~ysic~I and/or rnentaf disa.biHlre$1
                                confinement or disappe-arancet and that It is ·ne.cessary to_obJain or provide-fundf.rfor the support,
                                care, and vvelfare of the person to be protected. and of-those .e~titlecf to·_ his.·or'her support~



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                                       Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 85 of 179




                                                                                                                         Case No.
                                                                                                                                     -~----·
  3.       NEED FOR PROTECT1ONF There is sufficient evidence to support a finding of incapacity or need for
           protection by the person who is the subject of this order;

 4.       PERSON TO SERVE AS GUARDIAN and/or CON8.gRVATOR:                                                              '\rt ;,   h• . ·    lhuhc:,, r11i   is
          competent to serve as: D Guardfa·n·a·nd Conservator OR [8~~Jardfan OR                                               D Cons~~ator.
 5.       There fs no guardian or conservator appointed by a court to datel or this order replaces such other order~


          □           EfvlERGENCY. An emergency exists and there is need under law for the Court to enter this order
                      1m1nediatefy;

                      PRIO.R NOTICE~ Prior nqtice ·of this order is not required to be given to the person to be
 7.       □           protected or his or her attorney or others entit!ed to prior notice because aH the conditions of
                      Arizona law, ARS §14-5310 and/or 14~5401.01 have been met

                      MORE THAN· 30 DAYS. For good causef this tempo~ary appo!ntment may be for tnore than 30
                      days, according_ to Arizona law, A.R. S~ § 14-531 O {D) and or 14-5401 ,01 (D} for the foHowing
                      reasons:


                   111Tlrrrr   ........ ...__-fll"l-11- - - - - - ...
                                                                   .  -.•       - - - -




THE COURT ORDERS:
1.        APPOINTMENT:                         n'.\115..,:;jfJ.l/.!iM, .~ll)\t•
                                                            is appointed as TEMPORARY                 r·
          D Guardian and Conservatoc OR1~YGuardla. OR D Conservator of th.e above-named person pursuant
            to Arizona law ARS §14-5310·ar1d/6r 14-5401.01.

2.        LETTERS: This Order shaH be filed with the Clerk of the Court, and upon      a bondf rr required~                       fmng
          TEMPORARY LETTERS shaH be rssued to the Appointee in accordance with the terms of this Order and.
           subject to the foUowing restrictions (if any): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




3..      NOTICE:                                             The appointee shaH give notice to the minor and his or her parents or 1o the
                                                             protected or incapacitated .pefspn named in the caption abover and_ to all othersi
                                                             with a copy of each of the foUowing documents:
                                                             a. The Petition for Temporary Appointment w1th this Order;
                                                             b. The Petition for Permanent Appo~ntment;
                                                             c. An reports~ affidavitst or other documents filed in support of both PetiUons,

4~       EMERGENCY HEARING WITHOUT NOTICE:
         D          Personal s~rv1ce shall be completed no later than 72 hours after the date of thJS order upon the
                    perspn who needs the protect1on~ his or her attorney. and the parents of that person if the person is
                    a rninor.


@Superior Court of Arizona in lvlarir.,opa County                                                                              PBGCT81f 121710
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                                                                                       DOB:
                                                                                                                                                            Date: 10/25/2016


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                                                                                                                                                                                   case No.
                                                                                                                                                                                              --------
                                                     PROOF OF NOTICE~ Proof o-f Notice of Heartng shaH be fifed v✓ith the Clerk of the Courtl
                                                     Probate Regrstrar1 as required by Arizona Lawt ARS §§ 14...5310 (B) and/or 14-5401.01(8).

                  6~          THE APPOINTMENT ENDS~


                          ~
                              The Ap~intrnent ends on
                                            /
                                                                                                                                    . · "'_,,.     1 ,20Jb, or
                              t3,(                  For good cause, this temporary appointment has been extended beyond 30 days.

                                                          1   1 11   1   11   Jiljlllllft'l""''''lt ■ 1lM',.lllfff    2--WWhl   i     -       ,_   ..,._   d_.__,,   mmtitt,&WoL




                  7,.     CHANGE OF ADDRESS~ The person appointed as guardian and/or conservator shaH notify this Court
                          immediately of any change in his or her address or the person protected by this order. The appointee shatl
                          be respons'fble for aH co~ts resulting from his/her faHure to do soT

                  8.                   ND:
                                                    No Bond is required, OR
                                                    The Guardian and/or Conser✓ator shall fiJe a bond in the amount of $
                                                    with the Clerk of the Court, Probate Registrar.                                                                                     --------------

                  DONE lN OPEN COURT~




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                                                                                                                        Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 87 of 179



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                                         '>" . , . , . _ _

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                                                               ...    j   ..,,.,.." . . ..,.,. ......., . , _ . . . .          .v_....... ,,, ........... ~..._......                               ...........~ . . . . , , _ ..,, .. , ......... ~-""'r-·M, ... ,•.. ..,..•,,,,..,.,..••VM1V.•.........   v.-.w.•.=-•.-.w.-.~•·••>• ► •,"•W~1,,,,,                  .. ,,,,,,,,.,WN.•;.,.,,,,.•NN,•NNN.•.-.w.....-.w<-..·•..·N.w...,..,_.llN',.....,...,,.••'llll"_,_,, ... -...,....   II I•.., ·~ ... ~,......_...,..._.........__,._.._ _____ ....,,...,, ................. M_,,._.,,,,._-.,_.M, ..... ..
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             I
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      ' r AfJllENDU1v11'(0 COU_RT _ORDER - COMPLI.i:1-\NCE.                                                                                                                                                                                                                                                                                                                            C:ase #: PB2016-003462                                                                                                                                                                                               I
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             l
            To rnaintain public trust' and confidence, the c.aurt· has a duty to ensure that court-appointed Guardians, (:onservators nnd                                                                                                                                                                                                                                                                                                                                                                                                                                                                    f
            Personaf Representatives co1nply \\ ith     Court Orders., Cout1· Rules and Arizona Probate La,vs, Therefore,1    an                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Ii
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             t
            IT IS OR~ERED tht!t the foHo\ving__!as~~ COf!!I?~eted in t~~~ case:      ~~---- ·--~~---~--~--
             GUARDIANS;                                                 CONSElt.\1ATORS:
                                                                        D Is.sue.~Let,ters of Appointmc.nt \.Vi~hin !~ days   :o,                                                                                                                                                                                                                                                                                                                                                                                                                                                                           I
            •       "·:;,:       ➔   ➔   -    _._,,,,,_....,


            1Q~ 1:.suc ..Lct_ters of AJ>poinune_nt \VTthi.n days
             0 l·ile Certificate ot Completion of 1 ram mg              O ftle Ceruficate ofCornp[ct1on ot Tram mg                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           >
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             l
                 ·within iOdays                                             within l Odoys                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   l;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             j
                                                                        D Post a Bond within l Odavs  .,                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     l
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             l
             PERSONAL REPH.ESENTA1~1\1 ES / SPECIAL                     D File Proof of Restrkted /\ccoun1 within 30 days of                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 I
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             A D!\llNJS'l'RATORS:                                           appoint1nent                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     ,
                                                                        D Fi le Proof of Recnrded Restriction on Re.al
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             j


             0 Issue Lc!tcrs of Appointment within 10 days                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   i
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                D       File Ccrtrficatc of Con1pletion of Traiu ing                                                                                                                                                                                                              Property \.Vith in 30 days of appointn1ent                                                                                                                                                                                                                                                                                 ~
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             \
                        within l Odays                                                                                                                                                                                                           t        D                       Fik- ~roof of Annuity Contract. within 60 days of                                                                                                                                                                                                                                                                          i

                0       Post a Bond within 10 days                                                                                                                                                                                               1                                appo1ntn1ent
                0       File or provide proof of maHing of Inventory &                                                                                                                                                                                    D                       FHe Inventory & Apprajsement within 90 days of
                         Appraisen1ent. vvithin 90 days of appoint!ncnt
                                                                                                                                                                                                                                                          D
                                                                                                                                                                                                                                                                                  appohnment
                                                                                                                                                                                                                                                                                 File Consumer Credit Report (dated \Vithin 90 days of
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            II
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                                                                                                                                                                                                                                                 1                               the 1nventory & Apprahrerncnt) within 90 days of
                                                                                                                                                                                                                                                 1
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           IT .,!-~-~!!.1!!~1I~_!!~Q!.ID~~E.~ t~at the follo~~Jl.[!Cl'S91~i~).~E.~~!~~£Qn~l!?le for,·~on1plcting thes.~_!ask~.:.~.~.,a~--------                                                                                                                                                                                                                                                                                                                                                                                                                                                             Ii
                RESPONSIBLE FIDUCIA.RY:                                                                                                                                                                                                          r        RESPONSIBLE ATTORNEY:                                                                                                                                                                                                                                                                                                                             i
                                             Guardian                                                                                                                                                                                                     O    Attorney for the Fiduciary                                                                                                                                                                                                                                                                                                                    i
                                             Conservator/Special Conservator                                                                                                                                                                              D                                                       Attorney for the Iristtrance Cornpany                                                                                                                                                                                                                                                     I
                0                            Personal Representative/ Special Administrator                                                                                                                                                               D                                                       Attorney for the \Vard or Protected Person
           L . . .~. . . . . .............---------                                                                           --=-- . . ,                               s;n.,...._,....._......,....._                                                                                      ,r                   JairPl"Lrr•                        r        ,-         1      -~                                  =•"' ..,"',.,.•...,,...,._,... ,.,.....,...........,.,

                                                                     £4. RE\1 IE\V HEARING IS SET TO DE-TERI'vlINE COt\1PLIANCE

                     fiJ                     Review H.caring Date: _                                    Time: 8:30 n.m,.       ll/~te:                                                                                                                  ·
                                             Hearing Lo,~ntion:              125 W. \Vashington St, Courtroon1 104, llon~ Edward Bassett
                                             Compliance \\'i1h Bond, ~rraining, and _!:.cttcr~ 9f ~Qfl9_\lltlruatt¼

                     D                       Rt~\ iew Hearing Date: _ _ _ _ _ _ _ _ _ _ Time: 8:30 a.m~
                                                     1


                                             Hearing Location:             125 \V. Washington St,. Courtroo1n 104, Hon. E<h-, ard Bassett                                                                                                                                                                                                                                                                                                                          1



                                             Compliance with l~estricted Account and R.e.stricted Real Propertyt

                     U Revie,,., Hearing Date: _ _ _ _ _ _ _ _ _ _
                     ~

                                                                                                Time: 8:30 a,n1.
                                             llearing Location:            125 W, Washington St, Courtroom 104, I-Ion. Ed¥r'ard Bassett
                                             Co111pliancc with Annuity Contract.

                     D                       Rcvie,v llcaring Datt\: _ _ _ _ _ _ _ _ _ _ Tin,e: 8:30 a,m.
                                             llearing Location:           125   Washington St., Courtroom 104, I-Ion. Ed\\ ard Bassett                              ,v.                                                                                                                                                                                                                                                                                            1




                                             Compliance with Inventory and Appraisement and Consumer (:redit l<eport..

           IF YOU lfAYlt COI\1PLff:D ,v1T11 THE ORDEn.s OF THIS COURT, THE REVIE\V HE-AR.INC \VtLL BE
           \lACATEOw YOU \\'ILL NOT BE NfJTJFIED IF A REVIE\V HEARING JS VACATEL>.

           IF YOU BELlEVE YOU liAVE C'OMPLIED \\lJ"fH 1'HE ORDERS OF THIS COUR~r, C0Nl~AC"f PROBATE
           ADMfNISTRAl'ION AT (602) 506--5510., REVIEW FOR COMPLIANCE OCCURS UP TO TflE DATE OF' THE
           HEAUING; THERF~FORE, YOU SHOIJLD CALL TflE DAY BEFORE THE }-{EARING TO SEE IF YOUR
           HEARl~G HAS BEEN VACATED~

           ALL OTHER QUESTION ABOUT YOUR CASE SifOULD BE DIRECTF.~D TO TIIE C()URT \\.IHERE YOUR CASE
            IS ASSIGNED.
                                                                                                                                                                                                                                                                                                                         '.

                DA TEI): October 25 1 29.16                                                                                               JUDICIAL OJi~FICER:.....__~~-~l-----.•t~·"'"'""._:::::,-~  .. - -
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                                                                                                                                - -                            - - - -                                             ~"~~-                                    .. T>T><,.-,-                     ........ "ff""",T",........,.. .........   T.-r,-,-,"-,-,.-"'"""T>-Y •----.         •-,---.-.--..--~-••••-••,••'                       ,•-"--'•"-·•~-v,.·•.__._.._...,.•..,_....._........._... ~ ........ , ............. ,,,.L     -..----•-•••4---•

                                                                                                                                                                                                                                                                                                                                                                  ~                                                                         Revised fviarch 13, 2014




Name: Muhaymin) Muhammad                                                                                                                                                                            DOB:                                                                                                                                                                                                                                                                                                                                                                                  Date: 10/25/2016



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    COP 015306
                             Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 88 of 179




Psych
                                                  Terros
                                              Medication Log
Client:: Muhammad Muhaymin
Client ID:        099                   Date of Birth:
Date of Log: 12/12/2016
Current Provider:

                                                  Active Meds




                                                Inactive Meds



                                                     Allergies




                                                                                                   COP 015307
                                      Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 89 of 179




 lnspbung Change
              fo'lUfe

Contact Note


Encounter Date: 01/09/2017                                        11 :20 AM to 11 :24 i\M Duration: 4 min
                                                                  Service code: T1016HN53 Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider n1ade call to client Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                              New OR Continuing
F12.10                     Cannabis use disorder, Mild                                  Continuing
F20.9                      Schizophrenia                                                Continuing

Case Managen1ent: activities 1nay include assisting, maintaining, and 1nonitoring covered services~ finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach
and folto,v up, and other activities as needed.

Cm called Nluhamn1ad temp guardian to follow up on his passing. ivlussallina informed cm that he did pass but
she does not know hovv they vvill not release his body or any paper work until after the investigation vvas
complete. Cm infb1111cd :t\r1ussallina if she needed anything to contact this cm and Nlussallina asked if we had
any resources that can help pay for his Funeral cost. Ctn informed lviussallina she would put out an en1ail
ask.ing for resources and get back to her if she hears of any.
 Staff case.

Indicators


Electronicallv signed by: Kimberly Bryant Bll'f Isl                                    01/09/2017 03:04 PM
Provider Signature                                                                     Date

l.Jser Signature (person completing form): Electronically Signed By: Kimberly Bryant

CIS ID:          099
AHCCCS ID: ~ 3 3 5




                                                                                                                   COP 015308
                                    Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 90 of 179




 lnspining Change
           fo7Ufe

Contact Note



Encounter Date: 01/06/2017                                      3:32 l'l\1 to 3:33 PlVI No billing tor service
Patient Name: Muhammad Muhaymin
Provider Name: 1\my Beard BH1'


Provider received e-mail from case ,nanager. Contacted for coordination of care.

D1annos1s   Add resse d Tod av:
Diagnosis                  Diagnosis Description                                      New OR Continuing
F20.9                      Schizophrenia                                              Continuing



From: Rasheedah Sl1al1eed
Sent: Thursday, January 05, 2017 3:32 PM
·ro: 1'homas Bohanske <'fho1nas.Bohanske(q)terros.org>
Cc: ,A.my Beard <:;\Jny.Beard(glten,os.org>
Subject: Muhann11ad I\1. [secure]

IIello 'fom ... Jiere is the way I found out l\1uhall1Inad lvL had passed away: On 1ny ,vay home from ,vork
yesterday (1/4/2017) I observed Phoenix P.D at Maryvale library ,vith yello,v tape out and nun1erous police
cars and mobile units, I k.new l'v!uham.mad was homeless in the park. behind the library so this Cl\1 ,vent to check
on him. I looked around for l\1uhall1J11ad as I located his belongings, however, he was not arou11d. CM asked
individuals in the park who he hung ,vith if they had seen him. This is when I was informed that he was killed
earlier that mo1ning and that's why the police were still in the area. Ci\1 saw one ofMuhann11ad's sister's in the
park as she spoke ,vith this CM and clarified that it was Muhan1n1ad that had been killed by the police. I hung
around for a while providing support to the sister and then spoke wit . I hung around for a while providing
support to the sister and then spoke with a female detective who also clarified that Muhanunad was dead.
Today, 1/5/17, I tried to contact Muhammad's guardian ,vhich is one of his sister's, ho,vever, there was no
answer. Caine in to work. today and notified CC, AI11y of the incident




Rasheedah Shaheed
Case Manager




                                                                                                                   COP 015309
                                     Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 91 of 179




5030 W NlcDowell Rd, Ste 16 o Phoenix, AZ 85035
P: 602-278-1414

Indicators



Electronicallv sigt1ed by: .A.mv Beard BHT Isl                                        01/06/2017 03: 52 P:tvl
Provider Signature                                                                    Date

lTser Signature (person completing form): Electronically Signed By: Amy Beard

CIS ID:          099
J'.\HCCCS ID: ...-J335




                                                                                                                COP 015310
                                      Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 92 of 179




  lnspbung Change
           fo'lUfe

Contact Note


Encounter Date: 12/12/2016                                        9:22 AM to 9:30 i\M Duration: 8 min
                                                                  Service code: 0001A Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider drive titne self at l\1aryvale Park. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                              New OR Continuing
F12.10                    Cannabis use disorder, Mild                                   Continuing
F20.9                      Schizophrenia                                                Continuing

Case Managen1ent: activities 1nay include assisting, maintaining, and 1nonitoring covered services~ finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach
and folto,v up, and other activities as needed.

Cm drove back to Mm.y-vale Park..
Cm meet to update assessn1ent

Indicators


Electronicallv signed by: Ki1nberly Bryant BI-fr Isl                                   12/12/2016 04:03 PM
Provider Signature                                                                     Date

User Signature (person con1pleting fom1): Electronically Signed By: Kimberly Bryant

CIS ID:     -,099
AHCCCS ID: ~ 3 3 5




                                                                                                                COP 015311
                                      Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 93 of 179




  lnspbung Change
           fo'lUfe

Contact Note


Encounter Date: 12/12/2016                                        9:05 AM to 9:20 i\M Duration: 15 min
                                                                  Service code: 0001A Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider drive titne self at Office. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                              New OR Continuing
F12.10                    Cannabis use disorder, Mild                                   Continuing
F20.9                      Schizophrenia                                                Continuing

Case Managen1ent: activities 1nay include assisting, maintaining, and 1nonitoring covered services~ finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach
and folto,v up, and other activities as needed.

Cm drove back to the clinic to get a ne,v computer to co1nplete Muhammad assessment.
Client scheduled.

Indicators


Electronicallv signed by: Ki1nberly Bryant BI-fr Isl                                   12/12/2016 04:00 PM
Provider Signature                                                                     Date

User Signature (person con1pleting fom1): Electronically Signed By: Kimberly Bryant

CIS ID:     -,099
AHCCCS ID: ~ 3 3 5




                                                                                                                COP 015312
                                      Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 94 of 179




  lnspbung Change
           fo'lUfe

Contact Note


Encounter Date: 12/12/2016                                        9:00 AM to 9:14 i\M Duration: 14 min
                                                                  Service code: 0001A Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider drive titne self at Hon1e. Contacted for coordination of care .

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                              New OR Continuing
F12.10                    Cannabis use disorder, Mild                                   Continuing
F20.9                      Schizophrenia                                                Continuing

Case Managen1ent: activities 1nay include assisting, maintaining, and 1nonitoring covered services~ finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach
and folto,v up, and other activities as needed.

Cm drove to I\1aryvale Park to finish updating Muhmrunad assessn1ent and ISP.
Cm \Vill con1plete ISP

Indicators


Electronicallv signed by: Ki1nberly Bryant BI-fr Isl                                   12/12/2016 02:11 PM
Provider Signature                                                                     Date

User Signature (person con1pleting fom1): Electronically Signed By: Kimberly Bryant

CIS ID:     -,099
AHCCCS ID: ~ 3 3 5




                                                                                                                COP 015313
                                              Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 95 of 179




  lnspvu,w. Change
                fo"l Ufe

Progress Note
f:ncounter Date: 12/ I. 2/20 16                                09:30 AM to 11 :00 AM Duration: 90 mi.n
                                                               Service Code: T1016HN99 U11its: 6
Patient Nan1e: Muhammad Muhaymin
Patient 11):       3099
Provider Name:Ki1nberly Bryant BHT

         . Addressed Todav:
  Iaanos1s
 Diagnosis             Diagnosis Description                                                    New OR Continuing
 Fl2.10                           Cannabis use disorder, Mild                                   Continuing
 F20.9                            Schizophrenia                                                 Continuing


Data
1'his session was held at !vlaryvale I>ark. with the following person(s) in attendance:

l)iscussion and I11terventions:
Case wianagement: activities may include assisting, 1naintaining, and monitoring covered services, finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach and
follow up, and other activities as needed.

Cm meet \Vith wiuhaffilnad and his guardian/sister I\1ussallina at :t\1aryvale Park to con1plete his assess1nent and
ISP. Ctn ask.ed ~luhanunad all the questions on the assesstnent and what Muhan1111ad could not answer ~lussallina
answered for Muhammad. Cm informed !vfuhann11ad and !vlussallina that she ,:vould finish up 1\1uha1m11ad ISP and
go over it with both oftl1en1 and have then1 sign it. Ctn got l\.,fuhan1111ad goals and strength's
Living Goal: I ,vant own apartment/ l\.,fuhammad needs to keep in touch with cm ru1d guardian for updates on his
housing.
Lean1ing/Working Goal: I want to work pat1-time to earn money/ l\1uhannnad will n1eet with RS for supportive
employment
Social Goal: I want attend community groups/ wluhammad will meet with RS to coffi111unity support se Living
Goal: I want own apartment/ l\1uha1111nad needs to keep in touch with cm and guardian for updates on his housing.
Lean1ing/Working Goal: I want to ,vork part-time to earn money/ Muhammad will 1neet with RS for suppottive
employment
Social Goal: I want attend community groups/ wiuhammad will meet with RS to comn1unity support services.
Health Goal: I want to visit \Vith PCP yearly for routine check-up/ Muhammad 111eet with the PCP for intake.

Strength's
:tvfuhrunmad has ,vork history
Muhannnad has the support of his family
:tvfuhrunmad has the support ofthe clinical tea1n
Muhan1111ad \Vill attend his appointments
J\.1uhrumnad cru1 cook and clean
Muhan1111ad utilize tl1e transit system
Page 1/2                Pt. Name: Muhayrnin, :rvtuhan1n1ad                1\1.R. #: Prog. Note 12/12/2016 2:08 Pl\1 IZin1berly B:ryant
Revision Date: 6/li00




                                                                                                                                         COP 015314
                                              Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 96 of 179




Muhann11ad has support from his dog
J\1uhannnad does get food sta,nps
Muha1nn1ad car drive
J\1uhannnad has Associate's Degree
Cm informed Muhammad of getting a letter fron1 a doctor for his services dog and he ,vould be able to bring his dog
to the clinic. cm info1n1cd J\1uha1nn1ad about the Christmas party and Muhammad said he would like to come ifhc
could find a babysitter for his dog. Cm infon11ed Muhanm1ad she ,vould schedule a cab for the 14th at 10:30am.

Assessment
Cit presented with sx oflTse of Drugs and Alcohol. Barriers to progress are Housing, incon1e. Clt's affect is good
eye contact, walked around and was cleaning. l'v!ood appears to be elevated, friendly.
Client has no SI/HI Ideation.

Progress
Steady progress.

Plan
Continue services.


Electronicallv Signed By: Kimberly Bryant B}IT                                                 12/1212016 03:48 Pl\1
Provider Signature                                                                             Date




Page 2/2                Pt. Name: MuhaYJnin, Jvluhan1n1ad                 l\1.R. #: Prog. Note 12/12/2016 2:08 Pl\-1 Kiniberly Bryant
Revision Date: 6/liOO




                                                                                                                                        COP 015315
                                     Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 97 of 179




 lnspbung Change
          fo'lUfe

Contact Note


Encounter Date: 12/05/2016                                       12:11 I>l\1 to 12:12 Pl\tl Dura.tion: 1 min
                                                                 Service code: A01104 U1lits: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Amy Beard BHT


Provider provided bus pass to client. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                             New OR Continuing
F20.9                     Schizophrenia                                                Continuing

Provided monthly, regular tare bus pass, #L31-729523

Indicators


Electronically signed by: A111y Beard BHT Isl                                         12/29/2016 01:45 PM
Provider Signature                                                                    Date

·user Signature (person completing form): Electronically Signed By: Amy Beard

CIS ID:     099
AHCCCS ID: ~ 3 3 5




                                                                                                               COP 015316
                                              Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 98 of 179




  lnspvu,w. Change
                fo"l Ufe

Progress Note
f:ncounter Date: 12/05/2016                                    10:00 AM to 12:10 PM Duration: 130 min
                                                               Service Code: T1016HN53 U11its: 9
Patient Nan1e: Muhammad Muhaymin
Patient IJ         3099
Provider Name:Ki1nberly Bryant BHT

         . Addressed Todav:
  Iaanos1s
 Diagnosis             Diagnosis Description                                                    New OR Continuing
 Fl2.10                           Cannabis use disorder, Mild                                   Continuing
 F20.9                            Schizophrenia                                                 Continuing


Data
1'his session was held at ()ftice \vith the following person(s) in attet1dance:

l)iscussion and I11terventions:
Case wianagement: activities may include assisting, 1naintaining, and monitoring covered services, finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach and
follow up, and other activities as needed.

Cm sat in ivith Muha1ru11ad, guardian Mussallina, step n1other, and Dr. Villalobos at his appoit1ttnent evaluation.
Dr. Villalobos a5ked Muhamn1ad the questions and the ones he could not answer his guardian did tl1e best they
could. Cm sat and asked !vfuhann11ad a few questions to help Dr. Villalobos get the n1ost con·ect ans\ver, after his
appointment cm took Muhan1n1ad and his guardian back. with his ctn to fill out a housing application and
VI-SPDAT. Cm asked the questions on tl1e VI-SPDAT and housing application and Muhammad answered the best
he could, cm informed Muhan1111ad that the clinic will be moving and on the 9th of January \Ve will be located by
the park :tvluhammad in currently staying at. Cm asked Muha1111nad if he would like to finished his assessment and
ISP due to Jv1uhanunad fallen asleep. Muhammad said he would lik.e to continue late, cm said she would go by the
park later this week to finish his assessment. Cm said she would go by on Wednesday or Friday. Cn1 walked
Muhan1111ad and his guardian out and ret11inded Mussallina this ct11 would call when the doctor was finished with
her court documents she needed filled out. lvfuha111111ad asked cm ifhe could get a 111onthly bus pass, cm ,valked
lvluhan1111ad and his guardian up to the fi·ont lobby and filled out the monthly bus pass fon11 for Muha1mnad to sign,
bus form number 1,31-729523.

Assessment
Clt presented with sx of presented, lJse of Dn1gs and Alcohol, Confusion. Barriers to progress are Stability. Clt's
affect is constricted. Mood appears to be euphoric.
Client has no SI/HI Ideation.

Progress
Slow progress.

Page 1/2                Pt. Name: Muhayrnin, :rvtuhan1n1ad                1\1 .R. #: Prog. Note 12/05/2016 1:17 Pl\1 IZin1 berly B:ryant
Revision Date: 6/li00




                                                                                                                                           COP 015317
                                              Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 99 of 179




Plan


Electronicallv Signed By~Ki1nberlv Bryant BH'I'                                                12/05/2016 01:36 PM
Provider Signature                                                                             Date




Page 2/2                Pt. Name: MuhaYJnin, Jvluhan1n1ad                 l\1.R. #: Prog. Note 12105/2016 l:17 Pl\1 Kiniberly Bryant
Revision Date: 6/liOO




                                                                                                                                       COP 015318
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  lnspbung Change
             fo'lUfe

Psychiatric Progress Note


Encounter Date: 12/05/2016            No billing for service
Provider:       Lilliam Villalobos MD
Patient Name:   Muhammad Muhaymin            Age: 43 Years


Submitted Code(s):
Start Time: 10:24 A~A End Time: 11 :00 AM
Non EM Code: 90792 Unit: 1


Open in errorr




Pagel of 1
Name: Muhanunad i\-1uhayinin       ClS ID: --,099




                                                                                                        COP 015319
                                    Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 101 of 179




 lnspining Change
           fo7Ufe

Contact Note



Encounter Date: I 1/18/2016                                     2:20 l'l\1 to 2:30 PlVI Duration: 10 min
                                                                Service code: T1016HN53 Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider n1et ,vitb guardian at Office. Contacted for coordination of care.

Diannosis Addressed Todav
Diagnosis             Diagnosis Description                                            New OR Continuing
F20.9                 Schizophrenia                                                    Continuing

('ase Managen1ent: activities ,nay include assisting, maintaining, and ,nonitoring covered services, finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach
and follovv up, and other activities as needed.

l\1uhanunad guardian can1e into the clinic to inforn1ed cin that she needed ,nore information of tl1e guardianship
pape1work, Mussallina inforn1ed cn1 when she went to the judge they gave her more tin1e because the
pape1work was not filled out vvith enough information. Mussallina informed cm she needed the to have it done
by the I st of December. Cm infon11ed Mussallina that she ,vould email the doctor due to her being off and cn1
will contact her on l\1onday to see if the doctor ,vants hi111 to come back in or if she would fill it out Cm
emailed tl1e doctor and vvill follow up on l\1onday. Mussallina said she would contact cm on Monday.

From: Kimberly Bryant
Sent: Friday, November 18, 2016 3:24 PM
To: Lilliam Villalobos <Lilliam. Villalobos@terros.org>
Cc: Amy Beard <Amy.Beard@terros.org>
Subject: Muhammad M

Hello
Mussallina came in for Muhammad and asked if you could put more information with the report, Mussallina
informed me the judge gave her more time because she said the guardianship paperwork needed to be filled
out with more accurate information on Muhammad. Mussallina said she needed it by the 1st of December
and his next appointment is on 12/5/16.




                                                                                                                     COP 015320
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Thanks

                       .

                       .    Kimberly Bryant
                            Case Manager




Staff case.

Indicators



Electronicallv signed by: Ki1nberly Bryant BI-fr Isl                                   11/18/2016 03:14 PM
Provider Signature                                                                     Date

User Signature (person con1pleting fom1): Electronically Signed By: Kimberly Bryant

CIS ID:     :,099
AHCCCS ID: ~ 3 3 5




                                                                                                             COP 015321
                                              Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 103 of 179




  lnspvu,w. Change
                fo"l Ufe

Progress Note
f:ncounter Date: 11/1.4/2016                                   02:31 P~I to 03:25 PM Duration: 54 mi.11
                                                               Service Code: T1016HN53 U11its: 4
Patient Nan1e: Muhammad Muhaymin
Patient 11):       3099
Provider Name:Ki1nberly Bryant BHT

         . Addressed Todav:
  Iaanos1s
 Diagnosis             Diagnosis Description                                                    New OR Continuing
 F20.9                            Schizophrenia                                                 Continuing


Data
'fhis session was held at ()ffice with the following person(s) in attendance:

Discussion and Interventions:
Case Management: activities n1ay include assisting, n1aintaining, and n1onitoring covered services, finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach and
follow up, and other activities as needed.

Cm meet \Vith lviuhannnad and his step mother Annie who can be reach at                 2685. Ctn 111eet with
Muha1n1nad and his step n1other to con1plete his assesstnent and ISP. Muhan1n1ad infonned ctn he was tried and
asked ifhe could do halftoday and half when he come back in for his appointment. Cm informed Muha1runad and
his step n1other this ctn could break it into t,vo parts. Ctn asked lvluhann11ad the questions on the his assessment,
lviuhru1m1ad and his step 1nother Annie answered the questions this cm asked. lviuhammad asked ifhe could get a
bus pass and ctn filled out the fon11 and gave Iv1uha1nn1ad his monthly bus pass. Cn1 informed I\i1uhannnad this
clinic had a PCP since 11uhamn1ad did not have one ru1d gave him the name, address, and number phone to the PCP
 cm asked Muhamt11ad what he was wanting for the clinic and Muhan1111ad said ~rhat ever the clinic cam e do for
hitn. Muhanm1ad did ask for counseling and cm infon11ed Muhammad this cn1 will set him up for counseling. Cm
walked Muhan1111ad to the fi·ont and made hin1 an appointment for 12/5/16. Muhammad did talk at times but
would also use hand gestures ru1d his step 1nother would answer the questions for Muhamn1ad when Muhammad
could not ren1en1ber.

Assessment
Clt presented with sx of presented okay used hand gesture at tin1es,, Fatigue. I3arriers to progress are Stability,
substance use. Mood appears to be euphoric.

Progress
Slo,v progress.

Plan

Page 1/2                Pt. Name: Muhayrnin, :rvtuhan1n1ad                1\1.R. #: Prog. Note 11/14/2016 3:18 Pl\1 IZin1berly B:ryant
Revision Date: 6/li00




                                                                                                                                         COP 015322
                                             Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 104 of 179




Electronicallv Signed Bv: Kimberly Bryant BHT                                                  11/14/2016 04:31 PM
Provider Signature                                                                             Date




Page 2/2                Pt. Name: MuhaYJnin, Jvluhan1n1ad                l\1.R. #: Prog. Note 11/14/2016 3:18 Pl\-1 Kiniberly Bryant
Revision Date: 6/liOO




                                                                                                                                       COP 015323
                               Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 105 of 179




  lnspbung Change
             fo'lUfe

Psychiatric Progress Note


Encounter Date: 11/14/2016
Provider:       Lilliam Villalobos MD
Patient Name:   Muhammad Muhaymin                                     Age: 43 Years


Submitted Code(s):
Start Time: 02:00 PM End Time: 02:30 PM
EM Code: 99214 Unit 1


Reason for Treatment:
Presenting issues/Chief Complaint: I am as ok as I can be.
Patient came accompanied by Stepmother, she brought some paperwork for the Guardianship, we
discussed that her daughter was given the same paperwork filled out last appt, patient remains homeless,
presented casually dressed, clean, had his dog with him, responded questions when asked, disorganized,
moderate FOi, LOA, when asked if he was sleeping he said 'earth'\ appetite ok, denied any S/H ideations,
questionable hall, did not answer accordingly. Drug use hx, drug of choice cannabis.
Recommendations:
Plan reviewed: 11/14/2016
Schedule appt for a Psych Eval.
CSPMP reviewed. No opiates rx'ed.
Once Psych Eval completed I will consider rx meds.
Continue to provide Supportive Therapy.
Contact Case Manager with any concerns.
Practice Sleep Hygiene.
Continue compliance with Clinical Team recommendations.
Encourage proper hydration, nutrition and exercise. Regular Diet.
Risk factor reduction: Avoid stressful situations; contact Clinical Team with any concerns.
Contact the Crisis Line if he becomes DTO/DTS.
Follow up with PCP for Medical Concerns. Denied any now.
RTC with Psychiatrist in 4 wks or as needed.
RTC with RN for labs or as needed for triage.


Psychosocial stressors: Housing stressors are severe.

Review of Systems:
Reviewed, NO changes
Ears, Nose, Throat: Negative
Pagel of 4
Name: Muhanunad i\-1uhayinin     ClS ID: --,099




                                                                                                           COP 015324
                                  Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 106 of 179




Constitutional:        Negative
Cardiovascular:        Negative
Endocrine:             Negative
Gastrointestinal:      Negative
Genitourinary:         Negative
Hematological:         Negative
Immunologic:           Negative
Musculoskeletal:       Negative
Respiratory:           Negative
Skin/Breast:           Negative
Eyes:                  Negative
Neurological:          Negative
Psychiatric:           Positive Additional Detail: psychotic


Histories:
Reviewed with NO Changes

Past Medical History
Past Medication: Has not taken meds in a long time. Treated while in jail but does not remember name.
Developmental History: Normal
History of injury, illness, and seizures: Denied.
Meds Reported at Intake:

Family History
Mental illness in family: Cousin : Schizophrenia
Substance abuse in family: Unknown
Suicide attempts in family : Unknown
Violence in family : Denied
Medical problems in family: Mother died
Father died
other comments:

Social History
Client is homeless. Living situation is stressful.




Mental Status:
Client is a 43 year old, male. Dressed appropriately. Appears age and normal weight. Client is
well-groomed. Oriented to situation, place, person. Level of alertness is normal. Eye contact is good.
Speech quantity is diminished with slow rate and diminished amplitude. Client has no mannerisms of
note.. Thought processes: tangential. Associations: very loose. Stream of thought is tangential. Reports
no delusions.. No hallucinations reported.
 Client is not DTS. Client is not OTO. Sleep: fair. Appetite: good. Mood: congruent. Affect: flat. Fund of
knowledge: fair. Memory: fair. Insight: poor. Judgement: poor. Concentration: poor.
Observed Gait : Steady. Muscle Strength and Tone appears: Normal.
Client did not report danger to otl1ers (DTO).
Client did not report danger to self (D'fS).
Page 2 of 4
Name: Muhanunad i\-1uhayinin        ClS ID: --,099




                                                                                                             COP 015325
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Medication Effectiveness and Side Effects: Client or Guardian reports experiencing no side effects to
meds.

Medical Data:
No accidents, injuries or serious illnesses reported.

Substance Use:
Admitted to smoking cannabis

Current Meds:
Axis I - DSl\11 -IV                                                DSM-V
295. 90         Schizophrenia UnditTerentiated Type                F20.9              Schizophrenia




Axis II:
V71.09                         No diagnosis on Axis II

Axis III:     NONE
Axis Ill:     NONE
Axis IV:      Problems with/related to housing,
Axis V:       NONE

Treatment Plan: No progress with Tx plan. Medications were not changed.
The following were discussed with the client: Client or guardian understood and made an informed
decision.
Cit to be seen in 4 weeks.

MOM - Problem Points
Problem                           Plan Desc               Problem Detail                   NatureDesc
Disorganized                      No Plan                 New to     Examiner             Worsened


Problem                           Chonic Acute        Workup                                     Notes
Disorganized                      Chronic             No Additional Workup                       Needs     psych eval


Medical Decision Making (data points):
1  Obtained history from someone other than the patient OR made decision to obtain records
~ Revie\Ned and summarized records and obtained records and or had a discussion with another health care provider
Risk: Moderate Risk

Electronically Signed By: Lilliam Villalobos MD

Document generated and completed 11/14/2016 02:36 PM


Page 3 of 4
Name: Muhanunad i\-1uhayinin          ClS ID: --,099




                                                                                                                        COP 015326
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Name: Muhanunad i\-1uhayinin     ClS ID: ....,099




                                                                                                      COP 015327
                                     Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 109 of 179




 lnspbung Change
          fo'lUfe

Contact Note


Encounter Date: 11/14/2016                                       3:26 I>l\1 to 3:27 Pl\tl Dura.tion: 1 min
                                                                 Service code: A01104 U1lits: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Amy Beard BHT


Provider provided bus pass to client. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                             New OR Continuing
F20.9                     Schizophrenia                                                Continuing

Provided monthly, regular tare bus pass, #L31-721696

Indicators


Electronically signed by: A111y Beard BHT Isl                                          11/30/2016 11:28 M1
Provider Signature                                                                     Date

·user Signature (person completing form): Electronically Signed By: Amy Beard

CIS ID:     099
AHCCCS ID: ~ 3 3 5




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 lnspining Change
           fo7Ufe

Contact Note



Encounter Date: I 1/04/2016                                   8:31 AM to 8:45 .4M Duration: 14 min
                                                              Service code: T1016HN53 Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider attended staffing with guardian. Contacted for coordination of care.

Diannosis Addressed Todav
Diagnosis               Diagnosis Description                                        New OR Continuing
F20.9                   Schizophrenia                                                Continuing

('ase Managen1ent: activities ,nay include assisting, maintaining, and ,nonitoring covered services, finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach
and follo,v up, and other activities as needed.

('m ,neet ,vith Mussallina to go over Mul1m11111ad intake packet m1d have the guardim1, sign the necessary paper
fi·on1 Muhan1111ad intake packet. Cm informed Mussallina when she n1eet Muhammad he ,vas talking but the
second tin1e he was doing the hand gestures. Cn1 informed l\1ussallina !1,1uhan1mad had appointment on the 14th
and this cm was goi11g to sit down with hi1n and his step mother to complete his assessment and ISP ,vhich are
his goals. Cm explained she talked ,vith l\1uhmnmad about this m1d he did say he ,vanted help getting hin1
apartn1ent, Mussalli11a said that ,vould be fine with her for cm to complete the assessn1ent with Jvluhm11111ad and
his step mother beeat1se she knows lvluhammad better. Cm ask.ed 11,!ussallina about cou1iug to l\1uhammad
appointments a and she informed cm she could not con1e to everyone but if this c1n could informed her about
the appoinl!nents and give her an update on the ones she could not n1ake it to. lvlussallina asked if this c1n was
able to get the papervvork from CPR/ or the prison cm informed lvlussallina they did get the papervvork fron1
CPR so at his nel\i appointn1ent the doctor should he able to fill out the court paper she needed for guardianship.
Cm ,vent over the intake packet and had l\1ussallina sign it cn1 gave copy of the intake packet to l\1ussallina and
walked her out to the lobby.
 Staff case. Cn1 staffed witl1 guardian l\1ussallina

Indicators




                                                                                                                      COP 015329
                                       Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 111 of 179




Electronicallv sigt1ed by: Ki1nberly Bryant BHT /s/                                      11/04/2016 10 :07 AM
Provider Signature                                                                       Date

1.Jser Signature (person co1npleting fonn): Electronically Signed By: Ki1nberly Bryant

CIS ID:     099
AHCCCS ID: ~ 3 3 5




                                                                                                                COP 015330
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  lnspbung Change
           fo'lUfe

Contact Note


Encounter Date: 11/02/2016                                        11 :26 AM to 11 :35 i\M Duration: 9 min
                                                                  Service code: 0001A Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider drive titne self at Office. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                              New OR Continuing
F20.9                      Schizophrenia                                                Continuing

cn1 drove back to the office

Indicators


Electronically signed by: Kin1berly Bryant BH'f Isl                                     11/02/2016 02:06 PM
Provider Signature                                                                      Date

·user Signature (person completing form) : Electronically Signed By: Kin1berly Bryant

CIS ID:     099
AHCCCS ID: ~ 3 3 5




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                                       Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 113 of 179




  lnspbung Change
           fo'lUfe

Contact Note


Encounter Date: 11/02/2016                                         11:11 AM to 11 :25 i\M Duration: 14 mbt
                                                                   Service code: 0001A Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider drive titne self: client J\,1uha1runad at 99 Cent Store. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                               New OR Continuing
 F20.9                      Schizophrenia                                                Continuing

Cm drove I\1uhrurunad to the 99 C~ent Store per clietn request
Drove client to 99 Cent Store

Indicators


Electronicallv signed by: Ki1nberly B1yru1t BI-IT /s/                                    11/02/2016 02 :03 Pivl
Provider Signature                                                                       J)ate

1.Jser Signature (person co1npleting fonn): Electronically Signed By: Ki1nberly Bryant

CIS ID:     099
AHCCCS ID: ~ 3 3 5




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  lnspbung Change
           fo'lUfe

Contact Note


Encounter Date: 11/02/2016                                       10:21 AM to 10:34 i\M Duration: 13 mbt
                                                                 Service code: 0001A Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider drive titne self: client J\,1uha1runad at park behind Maryvale Hospital. Contacted for coordination of
care.

        . Addresse ct Todav:
 Iaanos1s
Diagnosis               Diagnosis Description                                          New OR Continuing
F20.9                      Schizophrenia                                               Continuing

Cm drove Muhan1111ad back to the park behind Maryvale hospital.
I\1eeting at the park to co1nplete intake packet

Indicators


Electronically signed by: Kin1berly Bryant BH'f Isl                                    11/02/2016 01:59 PM
Provider Signature                                                                     Date

User Signature (person completing form): Electronically Signed By: Ki1nberly Bryant

CIS ID:        099
AH(:c:cs IL): ~335




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                                        Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 115 of 179




  lnspbung Change
           fo'lUfe

Contact Note


Encounter Date: 11/02/2016                                          10:05 AM to 10:20 i\M
Patient Name: Muhammad Muhaymin
Provider Name: Kimberlv Bryant Bll1'
                               v    •




Provider drive ti1ne client, self at Office. Contacted for coordination of care.

        . Addresse d Todav:
 Iaanos1s
Diagnosis              Diagnosis Description                                              New OR Continuing
F20.9                      Schizophrenia                                                  Continuing

Cm drove Muhan1111ad to the clinic to complete his intake packet
Co1nplete intake packet

Indicators


Electronically signed by: Kin1berly Bryant BH'f Isl                                       11/02/2016 01:50 PM
Provider Signature                                                                        Date

·user Signature (person completing form) : Electronically Signed By: Kin1berly Bryant

CIS ID:     099
AHCCCS ID: ~ 3 3 5




                                                                                                                COP 015334
                                     Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 116 of 179




  lnspbung Change
           fo'lUfe

Contact Note


Encounter Date: 11/02/2016                                       9:45 AM to 10:00 i\M Duration: 15 min
                                                                 Service code: 0001A Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider drive titne self at park beind hospital. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                             New OR Continuing
F20.9                      Schizophrenia                                               Continuing

Cm drove to the park behind rvtaryvale Ilospita1 to 1neet with Muha1namd ru1d bring hin1 to the clinic to
complete his intake packet.
I\1eet ,vith Mul1ai1m1ad

Indicators


Electronically signed by: Kin1berly Bryant BH'f Isl                                    11/02/2016 01:46 PM
Provider Signature                                                                     Date

User Signature (person completing form): Electronically Signed By: Ki1nberly Bryant

CIS ID:         099
AH(:c:cs IL): 11111)335




                                                                                                             COP 015335
                                   Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 117 of 179




 lnspining Change
           fo7Ufe

Contact Note



Encounter Date: I 1/02/2016                                    12:15 l'l\1 to 12:25 PlVI Duration: 10 min
                                                               Service code: T1016HN53 Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider left 1nessage for client. Contacted for coordination of care.

Diannosis Addressed Todav
Diagnosis                Diagnosis Description                                        New OR Continuing
F20.9                    Schizophrenia                                                Continuing

('ase Managen1ent: activities ,nay include assisting, maintaining, and ,nonitoring covered services, finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach
and follo,v up, and other activities as needed.

('tvl called I\1uhanunad guardiru1 and let her know c1n ,neet with Muhan1111ad today to go over the intake
prescreen packet. Ctvl explained what ,vas in the packet adv/Directive, consent BI, Copay, Email/Vn1 Consent,
Handbook, Notice of legal rights, and rec oftice Information. C111 e,q,lained she gave tvluhan1111ad a copy of the
handbook and asked if this c111 could come by to have her sign as well since she was the guardian for
l\4uha1111nad. tvlussallina informed cm that her work schedule was crazy since she will be taking out work for a
fe,v weeks and it would be easier for her to come to tl1e clinic to sign ilie papenvork. l\4ussallina did not give
this CJn a day when she would be con1ing in, cm informed Mussallina she would be in the office all day on
Thursday and Friday would be in and out all mon1ing but in most of the aften1oon on Friday. Mussallina asked
if she came by and tl1is c111 was not there could so1neone else help her on the tean1. Ctn explained yes and that
she would staff with the team so the team ,vould ki10,v she would be con1ing in. Cm infon11ed Mussallina that
Muha1n1nad ,vas usi11g ilie hand gestures today and not talking, cn1 infonned Mussallina that this cn1 intonned
tv!uhru1m1ad of his appoint1nent on 11/14 and let him kilow tl1ere step-mother would be bring hi1n in. Ctn said
she ,vould call to re111inded hi1n the day before. Cn1 asked Mussallina since the step-n1otl1er ki1ew Muhru111nad
best if it would be alrigl1t to complete his assessn1ent and get his ISP goal so cm could start helping him in the
areas tv1uhanunad wanted help in. tvlussallina said yes that ,vould be better because the step n1other raised
tv!uhru1m1ad and she could ru1s,ver tl1e questions iflv1uhamn1ad was playing mute again. Cm tl1anked
Mussallina and hung up the phone.
 Client scheduled. l\4ussallina ,vill come in to sign the intake prescreen packet




                                                                                                                     COP 015336
                                     Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 118 of 179




Indicators



Electronically signed bv: Ki111berly Bryant BH1' /s/                                   11/02/2016 01 :09 PM
Provider Signature                                                                     Date

·user Signature (person completing fonn): Electronically Signed By: Kimberly Bryant

CIS ID: _,099
AIICCCS ID: ~ 3 3 5




                                                                                                              COP 015337
                                              Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 119 of 179




  lnspvu,w. Change
                fo"l Ufe

Progress Note
f:ncounter Date: 11/02/2016                                    10:35 AM to 11:10 AM Duration: 35 mi.n
                                                               Service Code: T1016HN99 U11its: 2
Patient Nan1e: Muhammad Muhaymin
Patient 11):       3099
Provider Name:Ki1nberly Bryant BHT

         . Addressed Todav:
  Iaanos1s
 Diagnosis             Diagnosis Description                                                    New OR Continuing
 F20.9                            Schizophrenia                                                 Continuing


Data
'fhis session was held at Park behind tv1aryvale 1-Iospital with the following person(s) in attendance:

Discussion and Interventions:
Case Management: activities n1ay include assisting, n1aintaining, and n1onitoring covered services, finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach and
follow up, and other activities as needed.

Cm meet \Vith lviuhannnad at the park behind Maryvale Hospital, c1n asked Iv1uhru1nnad ifhe would con1e to the
clinic with this ctn. to fill out his intake packet. lvluhammad gestured yes with a nod of his head. Cm drove
1v1uhru1nnad to the clinic and once there Muha1ru11ad did not want to get out of this cm car. Cn1 asked Muhammad if
he was going to con1e into the clinic ru1d Muhatrunad gestured no \vith his head, cm asked Ivfuha1n1nad were he
wanted to complete his intake packet and lvluhammad gestured by pointing in cm car. Cm asked Muha1nn1ad ifhe
would be 1nore con1fortable in his O\Vll eletnent (at the park) and lvluhammad said yes. Cm went and got the laptop
and drove lviuhru1m1ad back to the park to conducted the question. Ctn explained to Muhammad what they will be
going over. Cn1 explained the adv/directive, consent BI fon11, email/vn1 consent, handbook( and gave him a
handbook as well), bnotice of legal rights, rec office infonnation, ct11 e.>i.'Plained and read off each of these forms to
Muhan1111ad and asked ifhe understood everything cn1 explained to hin1 in his intake packet. Muhammad nodded
yes and cm asked lvluhammad if he could sign the fo1111s. lvluhammad signed the forms . Cm talked with
Muhan1111ad of\vhat he is asking the clinic to help hin1 with and ifhe knew ,vhat the clinic/1''erros was about.
Iviuhrunmad said no, ctn explained the purpose of having a case manager ru1d being involved in the clinic services to
l\1uhan1111ad, ctn explaiend ,,,hat the ISP was and asked Ml.Jl1ammad about son1e of his goals he 1nigl1t want help
with. Cn1 explained the purpose of RS and VR and if:tvluhann11ad \Vanted help with finding e1nployment or housing
the clinic could help him \Vith that. Cn1 asked l\1uhan11nad about his substance use and ifhe would like substance
abuse counseling or try a treattnent place1nent to help with his substance use. Muhan11nad gest11re with his head but
cm is unsure to what kind ofhelp he would like. Cm asked lvfuha1n1nad if they could go over it when he co1nes for
his appointtnent on tl1e 14th ru1d l\1uhrumnad said yes. Cin asked Muha1runad if this cm called ,vould he pick up the
phone and lvfuhamamd gestured yes. Cm explained to :rv1uha1nmad his step mother ,votlld be coming with hin1 to his
appointments. !\1uhrurunad gestured to c1n if she could take hi1n to the store to get something to eat. Ctn said she
would and asked Muhamamd how he came to Ten·os. :rv1uha1nmad tried to gesture ,vhere he ,vas before Terros and
cn1 gave l\;fuhanm1ad a piece of paper and pen to write it down. I\r1uha1runad wrote out he can1e fi·om Fort Grant
Page 1/2                Pt. Name: Muhayrnin, :rvtuhan1n1ad                1\1 .R. #: Prog. Note 11/02/2016 10:06 . Al\1 Kiinbcrly Bryant
Revision Date: 6/li00




                                                                                                                                           COP 015338
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Prison. Cn1 drove l'vluhammad to the 99 cent store and C111 re1nined Muhann11ad about his appointn1ent and said if
he needed anything to contact this c1n or the clinical terun.

Assessment
Cit presented with sx oflTse ofD1ugs and .,\!coho!, Overactivity, Muha1runad talked with han,l gestures, could not
keep still while completing the intake. Ba1riers to progress are Ho1nelessness, Substance. Clt's affect is constricted.
 l\1ood appears to be quiet, using gestures to talk.
Client has no SI/HI Ideation.

Progress
No progress.

Plan


Electronicallv Signed By Kin1berlv Brvant BIIT                                                 11/02/2016 02:00 I'M
Provider Signature                                                                             Date




Page 2/2                Pt. Name: MuhaYJnin, Jvluhan1n1ad                l\1.R. #: Prog. Note 11/02/2016 10:06 Al\1 Kirnberly Bryant
Revision Date: 6/liOO




                                                                                                                                       COP 015339
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  lnspbung Change
           fo'lUfe

Contact Note


Encounter Date: I 0/27/2016                                      9:20 AM to 9:40 i\M Duration: 20 min
                                                                 Service code: 0001A Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider drive titne self: ctn Rasheedah at park behind r...1aryvale Hospital. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                             New OR Continuing
F20.9                      Schizophrenia                                               Continuing

Case Managen1ent: activities 1nay include assisting, maintaining, and 1nonitoring covered services~ finding
necessary resources to meet basic needs, coordinating care with fa111ily and other agencies involved, outreach
and folto,v up, and other activities as needed.

C:tvl drove to tl1e park behind I\,faryvale llospital to n1eet ,vith Muhammad for the first tin1e.
Client scheduled. Cm will meet V1rith Niuhan1111ad of Tuesday

Indicators


Electronicallv signed by: Ki1nberly B1yru1t BI-IT /s/                                  10/2712016 03 :3 8 Pivl
Provider Signature                                                                     Date

User Signature (person con1pleting fom1): Electronically Signed By: Kimberly Bryant

CIS ID:     -,099
AHCCCS ID: ~ 3 3 5




                                                                                                                     COP 015340
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  lnspvu,w. Change
                fo"l Ufe

Progress Note
f:ncounter Date: 10/27/2016                                    09:40 AM to 10:00 AM Duration: 20 mi.n
                                                               Service Code: T1016HN99 U11its: 1
Patient Nan1e: Muhammad Muhaymin
Patient 11):       3099
Provider Name:Ki1nberly Bryant BHT

         . Addressed Todav:
  Iaanos1s
 Diagnosis             Diagnosis Description                                                    New OR Continuing
 F20.9                            Schizophrenia                                                 Continuing


Data
'fhis session was held at Park ,vith the follo,ving person(s) in attendance:

Discussion and Interventions:
Case Management: activities n1ay include assisting, n1aintaining, and n1onitoring covered services, finding
necessary resources to meet basic needs, coordinating care with fan1ily and other agencies involved, outreach and
follow up, and other activities as needed.

This cm along \Vith c1n Rasheedah went to the park behind 1v1aryvale Hospital, cn1 Rasheedah introduced this cm to
Muha1n1nad. Ctn asked ~Iuhann11ad if it was okay for hitn to con1e in next week. and finished up some papenvork.
1v1uhannnad said he would con1e to the clinic on Tuesday, cm said she would come to the park and pick hin1 up
around the san1e ti1ne on ·ruesday. Muhan1111ad infonned ctn he was on his way to get his food stan1ps. Muhamn1ad
asked this cm ifhe could have a ride to 47th Ave Indiru1-School to the DES office. CM said yes and asked
Muha1n1nad \vhere lie came from, Muhan1111ad said 4th Ave jail. CM drove Muhan1111ad to the DF.:S office and
reminded hin1 this cn1 will pick hin1 up on Tuesday around 10an1. 11uhamn1ad presented \¥ell~ dressed
appropriately for the weather.

Assessment
Clt presented with sx of presented well. Ban·iers to progress are Housing, stability. Clt's affect is eve
                                                                                                       ., contact was
good. Nlood appears to be friendly.
Client has no SI/HI Ideation.

Progress
Slow progress.

Plan
No homework given today.


Electronicallv Signed Bv:. . Kimberly Bryant BHT                                                10/27/2016 03 :34 PM
Provider Signature                                                                              Date
Page 1/2                Pt. Name: Muhayrnin, :rvtuhan1n1ad                1\1.R. #: Prog. Note 10/27/2016 2:42 Pl\1 IZin1berly B:ryant
Revision Date: 6/li00




                                                                                                                                         COP 015341
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Page 2/2                Pt. Name: MuhnYJnin, Jvluhan1n1ad                l\1.R. #: Prog. Note 10127/2016 2:42 Pl\.1 Kiniberly Bryant
Revision Date: 6/liOO




                                                                                                                                       COP 015342
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                                                               Tcrros
                                                        Case Consultation N'ote

Client Nan1e: l\fuhanunadMu.l1avi1m1
                                .,                   l)OB:                                              Date: 10/27/2016
Client ID:             099
Reason for Case (:onsultatio11: Coordination of care

Curre11t Diagnosis: 295.90 Schizophrenia lJndifferentiated Type
New issues iden.tified: Ctn staffed with cm Rasheedl1a about going ,vith tl1is cm to the park to meet Mul1ammad,
Rasheedah said she would go \Vith this cm to the park behind l\l[aryvale Hospital to see if they could find
I\1uhrurunad and introduced this cm to hi1n for the first tin1e.


Recomm.ended Plans:
1. Contact client
    Responsible party: Bryant BHT                                     EDA: 10/27/2016


Con1pleted by: Ki1nberly Bryant BI:-I'f
                                                                                                                 Muhammad1tluhaymin
Participru1ts
"I participated in this case consultatio1i and the tlevelopment ofthese reco1nmendations."


Name                                                           Date/Time                 Serv. Code Units Duration          Sta11      End
                                                                                                          (minutes)         Time       Tilne

Electronica]lv Signed by: Kimberly Bryant. BHT,/s/          l0/27/2Q16 3:42PM            Tl.0l.6HN53         l       f,    9:20am     9:22 Aivl
Kimberly B1yant BHT

Electronically Signed by: Rasheedah Shaheed BPP /s/        10/28/2016 11:24 i\?-.1       T1016HN53           l       l     9:20am     9:21 .AM
Rasheedah Shaheed BPP




Other Attendees
R.asheedah, S_haheed                                 (Co-vvorker)
                                                     '          ,




Muhan1madMuhaymin                                           Staffing note                              Rasheedah Shaheed BPP




                                                                                                                                               COP 015343
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Muhan1mad.Muhaymin                    Staffing note                              Rasheedah Shaheed EPP




                                                                                                         COP 015344
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  lnspbung Change
              fo'lUfe

Contact Note


Encounter Date: I 0/26/2016                                       3:58 I>l\1 to 4:00 Pl\tl Dura.tion: 2 min
                                                                  Service code: T1016HN53 Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider attempted to call guardian/sister. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                              New OR Continuing
F20.9                      Schizophrenia                                                Continuing

Case Managen1ent: activities 1nay include assisting, maintaining, and 1nonitoring covered services~ finding
necessary resources to meet basic needs, coordinating care with fa111ily and other agencies involved, outreach
and folto,v up, and other activities as needed.

Cm called rvtussallina Muhammad g11ardian/sister and left a message infonning cm was send offthe special
assistant form. Civ[ explained in detail ,vhat the fon11 was about and why cn1 had to send it to OHR/f".\HCCCS in
order to have his papen:vork on file and info1111 then1 who tvtuham.mad guardian ,:vas. C1v1 also infonned
Mussallina this c1n \.vould need the pe1manent guardianship papenvork by ivionday and cn1 will be glad to meet
her if need be. Ctn also informed wlussallina she could scan it and en1ail it to cm en1ail. Cm left her contact
infonnation incase she wanted to scan the documents.
Cm will continue to reach out to guardian for guardianship papetwork.

Indicators



Electronicallv signed by: Kin1berly Brvant BHT Isl                                      10/26/2016 04:27 PIV[
Provider Signature                                                                      Date

User Signature (person completing form): Electronically Sign.ed By: Kin1berly Bryant

CIS ID:      099
AHCCCS ID: aalll)335




                                                                                                                 COP 015345
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  lnspvu,w. Change
                fo"l Ufe

Progress Note
f:ncounter Date: 10/25120 16                                   11:02 AM to 11:56 AM Duration: 54 mi.n
                                                               Service Code: T1016HN53 U11its: 4
Patient Nan1e: Muhammad Muhaymin
Patient 11):      3099
Provider Name:Rasheedah Shaheed BPP

         . Addressed Todav:
  Iaanos1s
 Diagnosis             Diagnosis Description                                                    New OR Continuing
 F20.9                            Schizophrenia                                                 Continuing


Data
'fhis session was held at ()ffice with the following person(s) in attendance:
 Case Nianager,

Discussion and Interventions:
CtvI Shaheed met face to face ,vith !\1uhammad and his (3-uardian, :t\r1oslinah who is also his sister at W. NlcDowell
clinic. Muhanunad ,vas dressed appropriately, hygiene good and mood anin1ated. He had shades on through the
entire visit, therefore no eye contact was n1ade. 1vfuha011nad did not speak during the entire visit, however, he was
responsive through hand jesters and head nods. Clv1 asked Iv1uhan1mad about his substance usage which he did not
state \vhat drugs he uses aside fron1 marijuana. A5 C!vl spoke ,vith Muhan1111ad, his guardian \vould answer the
questions to the best of her kt1owledge. 1\1uhamn1ad did write that he was interested in housing, counseling, and
getting back on .i\lICCCS. CM shared with hitn and his guardian that Terros has a Benefits Specialist \vho can
assist hin1 with getting on AHCCCS and food stamps. CM shared that J\1uhan1n1ad's CM, Ki1nberly can work with
hi1n on getting counseling and he can speak to the housing Specialist about housing being that he is hon1eless and
residing on the streets. CM asked Muhanunad for a contact number in which he provided                    2510. CJvf
asked ivluhannnad is he going to ans,ver the phone when CM calls him at which he stated that he would. 1'he
guardian reports that Muhammad is not currently on any n1edications. CJvf advised the guardian that at
Muhanu11ad1s nex1 appointment the Dr. will prescribe 111edications. CN1 provided Muhammad and his guardian with
i1rf01mation on what the clinic can provide Nluhammad and the support he \Votdd have from the clinical team.
Muhan1111ad \Vas fairly responsive at this visit contrary to him not speaking a word. CNI walked J\1uhan1111ad and his
guardian to the lobby and goy Muhammad rescheduled with Dr. Villalobos. Guardian stated tl1at she may not be in
Phoenix for his next visit, ho\vever, \viii ask another relative to accon1pany hitn.

Assessment
Clt presented with sx ofUse of Drugs and .t\.lcohol, Reduced Ability to Carry ()ut Work and Social Roles. Barriers
to progress are Homelessness, Substance Use. Clt's affect is Anitnated. Mood appears to be i\ppeared In1paired.
CNI will stafftis visit with J\1uhatrunad's CJ\1.. Kitnberlv.              -
Client has no SI/HI Ideation.

Progress
Initial session. Established rapport.
Page 1/2                Pt. Name: Muhayrnin, :rvtuhan1n1ad                1\1.R. #: Prog. Note 10/25/2016 12:40 PM Rashecdalt Shaheed
Revision Date: 6/li00




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Plan
This CM and CM, Kitnberly will attempt to meet vvith wluhammad this week in the conn11unity for well check and
to take hitn a hygiene box.
No homework given today.


Electronicallv Signed Bv: Rasheedah Shaheed BPP                                                10/25/2016 04:02 PM
Provider Signature                                                                             Date




Page 2/2                Pt. Name: MuhaYJnin, Jvluhan1n1ad                l\1.R. #: Prog. Note 10!25/201612:40 PM Rasheedah Shaheed
Revision Date: 6/liOO




                                                                                                                                     COP 015347
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                                                              Tcrros
                                                       Case Consultation N'ote

Client Nan1e: l\fuhanunadMu.l1avi1m1
                                .,                   l)OB:                                             Date: 10/25/2016
Client ID:             099
Reason for Case (:onsultatio11: Coordination of care

Curre11t Diagnosis: 295.90 Schizophrenia lJndifferentiated Type
New issues iden.tified: Cl\1 Shaheed staffed with Kimberly, CM that this CM 1net ,vith Mul1ai1m1ad and his
Guardian (sister) l\,1oslinah and completed a face to face. CM infom1ed Kimberly of Muhammad's next scheduled
Dr. appointn1ent, updated I\1DR to include l\,,fuhanm1ad's cell nun1ber       2510, and his request tor a hygiene
box. C1vl repo1ted that the Family Mentor is cu1Tently out of hygiene boxes, however, when received, Muhann11ad
would like one. CJ\1 advised Kimberly that lviuham1nad ,vould like to see a PCP and get connected witl1 his
AHCCCS. Niuhanm1ad also expressed an interest in attending counseling. Cl\1 updated phone nun1bers in NIDR.
lviuham1nad is requesting housing.


Recomm.ended Plans:
1. CN1 will n1ake contact witl1 Nluhammad prior to his next scheduled Dr. appointn1ent 11/14/ 16@ 2pn1.
    Responsible party: Bryant BHT                    EDA: 11/04/2016


Co1npleted by: I~.asheedah Shaheed BPP
                                                                                                                MuhammacL.\iluhaymin
Participru1ts
"I participated in this case consultatio,i and the 1/evelopment ofthese recomn,e,idations. "


Name                                                          Dat:e/Thne                Senr. Code Units Duration           Sta11      End
                                                                                                         (minutes)          Time       Tilne

Electronically Signed by: Rasheedah Shaheed BPP /s/        10/25(2016 12:50 PI\-1       T1016HN53           l              12:41 P~1 12:46 Pivf
Rasheedah Shaheed BPP

Electronically Signed by: Kimberlv Bivant BHT /s/          10/27/2016 3:42 P!\1         T1016HN53           l       5      12:41 P~1 12:46 PM
Kirnberly Bryant BHT




Other i\ttendees
Ki1nberly B1Y.,ant                                  (Case l\1anager)




Muhan1madMuhaymin                                          Staffing note                             Kimberly Bryant BHT




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Muhan1mad.Muhaymin                    Staffing note                              Kimberly Bryant BHT




                                                                                                       COP 015349
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Psychiatric Progress Note


Encounter Date: 10/25/2016
Provider:       Lilliam Villalobos MD
Patient Name:   Muhammad Muhaymin                                      Age: 43 Years


Submitted Code(s):
Start Time: 10:00 AM End Time: 11 :00 AM
EM Code: 99214 Unit 1


Reason for Treatment:
Presenting issues/Chief Complaint: I am fine
Covering MD
Patient is a 43 y/o, AA, male, came accompanied by sister, he is currently homeless, case was opened first
at Magellan in 2010, intake paperwork not available for review, presented casually dress, mute, only
answered question with a writen sentence, stated he need a medical marihuana card, a medical MD,
housing, sister reported he has been using drugs: cannabis, questionable meth, homeless by choice,
condition worsen after his father passed away, apparently they were very close to each other, when asked
about symptoms he reported aud and visual hallucinations, some paranoia, denied S/H ideations.
Sister had given Guardianship paperwork to CM to be fill out prior to Court Hearing Today. Sister wants to
be his legal guardian. Paperwork completed during visit, original given to sister, copy to be included in MR.
Recommendations:
Plan reviewed: 10/25/2016
Schedule appt for a Psych Eval.
CM or CC to provide copy of Intake to MD.
Sister to bring Legal Paperwork from the Court once she is the Legal Guardian.
Evaluate the need for meds once patient returns for Psych Eval.
Abstain from drugs.
Refer to a PCP.
Contact CM with any concerns.
Practice Sleep Hygiene.
Encourage compliance with Clinical Team recommendations.
Encourage proper hydration, nutrition and exercise ..
Contact the Crisis Line if pt becomes DTO/DTS.
Follow up with PCP for Medical Concerns. Denied any now.
RTC with Psychiatrist in 4 wks or as needed.
RTC with RN for labs to be schedule or as needed for triage.



Pagel of 4
Name: Muhanunad i\-1uhayinin      ClS ID: --,099




                                                                                                                COP 015350
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Psychosocial stressors: Housing stressors are severe.

Review of Systems:
Initial Consultation
Ears, Nose, Throat: Negative
Constitutional:      Negative
Cardiovascular:      Negative
Endocrine:           Negative
Gastrointestinal:    Negative
Genitourinary:       Negative
Hematological:       Negative
Immunologic:         Negative
Musculoskeletal:     Negative
Respiratory:         Negative
Skin/Breast:         Negative
Eyes:                Negative
Neurological:        Negative
Psychiatric:         Positive    Additional Detail: psychotic


Histories:
Initial Consultation

Past Medical History
Past Medication: Has not taken meds in a long time. Treated while in jail but does not remember name.
Developmental History: Normal
History of injury, illness, and seizures: Denied.
Meds Reported at Intake:

Family History
Mental illness in family: Cousin : Schizophrenia
Substance abuse in family: Unknown
Suicide attempts in family : Unknown
Violence in family: Denied
Medical problems in family :

Other comments:

Social History
Client is homeless. Living situation is stressful.




Mental Status:
Client is a 43 year old, male. Dressed appropriately. Appears age and normal weight. Client is casually
groomed. Oriented x 4. Level of alertness is normal. Eye contact is good. Client is mute. Mannerisms:
posturing. Client is quiet. Thought processes: logical. Associations: logical. Stream of thought is
unremarkable. Reports delusions of type: persecutory. Reports hallucinations of type: auditory, visual

Page 2 of 4
Name: Muhanunad i\-1uhayinin        ClS ID: --,099




                                                                                                          COP 015351
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 Client is not DTS. Client is not DTO. Sleep: fair. Appetite: good. Mood: congruent. Affect: constricted.
Fund of knowledge: good. Memory: good. Insight: poor. Judgement: poor. Concentration: good.
Observed Gait: Steady. Muscle Strength and Tone appears: Normal.
Client did not report danger to others (DTO).
Client did not report danger to self (D'rS).

Medication Effectiveness and Side Effects: Client or Guardian reports experiencing no side effects to
meds.

Medical Data:
No accidents, injuries or serious illnesses reported.

Substance Use:
Admitted to smoking cannabis

Current Meds:
Axis I - DSM -IV                                                     DSlVI -V
295.90           Schizophrenia lJndifferentiated Type                F20_9              Schizophrenia




Axis II:
V71.09                          No diagnosis on Axis II

~i\.xis III:   N()NE
Axis Ill:      NONE
Axis IV:       Problems with/related to housing,
Axis V:        NONE

Treatment Plan: No progress with Tx plan. Medications were not changed.
The following were discussed with the client: Client or guardian understood and made an informed
decision.
Cit to be seen in 4 weeks.

MOM ~ Problem Points
Problem                            Plan Desc                Problem Detail                   NatureDesc
Psychotic                          No Plan                  New to Examiner                 Worsened


Problem                            Chonic Acute         Workup                                     Notes
Psychotic                          Chronic              Additional Workup Planned                  Refer to SA tx.


Medical Decision Making (data points):
  X Obtained history from someone other than the patient OR made decision to obtain records
.J$ Reviewed and summarized records and obtained records and or had a discussion with another health care provider
Risk: Moderate Risk
Page 3 of 4
Name: Muhanunad i\.1uhayinin            ClS ID: --,099




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Electronically Signed By: Lilliam Villalobos MD

Docutnent generated and co1npleted 10/25/2016 11 :02 Afvl




Page 4 of 4
Name: Muhanunad i\-1uhayinin            ClS ID: --,099




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Contact Note


Encounter Date: I 0/24/2016                                        2:11 I>l\1 to 2:23 Pl\tl Dura.tion: 12 min
                                                                   Service code: T1016HN53 Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Allyson Parsons BHT


Provider n1ade call to guardian. Contacted for coordination of care. CivI Parsons placed call to guardian to
i1rfo1m her that client lvfuhamt11ad would no\V have a ne\V Clvf

        . Addresse ct Todav:
 Iaanos1s
Diagnosis               Diagnosis Description                                            New OR Continuing
 F20.9                     Schizophrenia                                                 Continuing

CM Parsons made call to client~ guardian oinfo1ming her that client would now have a new case manager
Kin1berey Bryant. 1'his writer also was provided with client muha1nn1ed's cell phone#       2510.
Staff case.

Indicators


Electronicallv signed by: ..\llyson Parsons BIIT Isl                                     10/24/2016 0 5 :26 Pivl
Provider Signature                                                                       Date

1.Jser Signature (person co1npleting fonn): Electronically Signed By: Allyson Parsons

CIS ID:     :,099
AHCCCS ID: ~ 3 3 5




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                                                                      Tcrros
                                                               Case Consultation N'ote

Client Nan1e: l\fuhanunadMu.l1avi1m1
                                .,                   l)OB:                                                    Date: 10/24/2016
Client ID:             099
Reason for Case (:onsultatio11: Coordination of care

Curre11t Diagnosis: 295.90 Schizophrenia lJndifferentiated Type
New issues iden.tified: Cl\1 Parsons staffed Cn1 Bryant on her new client, cm Allyson gave c1n some paperwork on
Muhann11ad and infom1ed cn1 CC David fron1 the act tean1 wanted to n1eet with hin1 to intervievv David for the Act
tea1n. Ctn asked Allyson where Mul1ai1m1ad came from a11d cm Allyson was unsure but infbnned c1n C~c David
111igllt. k11ow.


Reconunend.ed J)lans:
                                                                               EDA: 10/24/2016


Con1pleted by: ,L\.Uyson }'>arsons Blfr
                                                                                                                       Muhammad1tluhaymin
Participru1ts
"I participated in this case consultatio1i and the tlevelopment ofthese reco1nmendations."


Name                                                                  Date/Time                Serv. Code Units Duration            Sta11         End
                                                                                                                (minutes)           Time          Tilne

Electroni~_aU.Y.. .$.wed by: A,U,vson Parsons . ~J:ff l~L          l0/24/2Q16 5:29PM           Tl.0l.6HN53         l       ~       5:27. .Pivl   5:32 PM
l\llyson Parsons BHT

Electronically Signed by: Kimberlv Bivant BHT /s/                  l l/01/2016 7:39 Aivf       T1016HN53           l       5       5:27 Pivl     5:32 P~1
Kirnberly Bryant BHT




Other Attendees
kimbe:!:ky hry_ant                                          (Case l\1anager)




Muhan1madMuhaymin                                                  Staffing note                             Kimberly Bryant BHT




                                                                                                                                                            COP 015355
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Muhan1mad.Muhaymin                    Staffing note                              Kimberly Bryant BHT




                                                                                                       COP 015356
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Contact Note


Encounter Date: I 0/24/2016                                       1:17 I>l\1 to 1:25 Pl\tl Dura.tion: 8 min
                                                                  Service code: T1016HN53 Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Kimberly Bryant BHT


Provider n1ade call to Nlussallina guardian. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                              New OR Continuing
F20.9                      Schizophrenia                                                Continuing

Case Managen1ent: activities 1nay include assisting, maintaining, and 1nonitoring covered services~ finding
necessary resources to meet basic needs, coordinating care with fa111ily and other agencies involved, outreach
and folto,v up, and other activities as needed.

Cm called and spoke ,vith Mul1ai1m1ad sister who is also his guardian and ,vas info11ned she needed the
pape1work to get full guardianship for ton1orrow. Cn1 info1med Mussallina that Muhammad would need to
come to the his appointment tomon:ow at 1Oam in order for the doctor to fidl out the paperwork. ivfussallina
infom1ed cn1 that Muhannnad stay in the park on 51 st Ave in Maryvale area. Cm asked Mussallina if
lviuham1nad ,vould l,e needing a ride. Mussallina said she would be hin1 in. Cm informed Mussallina she would
see the1n ton1on·ow for a f2f and to set a time to complete his assess1nent and ISP.
 Client scheduled.

Indicators



Electronicallv signed by: Kin1berly Brvant BHT /s/                                      10/24/2016 01: 43 PIV[
Provider Signature                                                                      Date

User Signature (person completing form): Electronically Sign.ed By: Kin1berly Bryant

CIS ID:      099
AHCCCS ID: aalll)335




                                                                                                                 COP 015357
                                              Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 139 of 179




  lnspvu,w. Change
                fo"l Ufe

Progress Note
f:ncounter Date: 10/14/2016                                    02:26 P~I to 03:21 PM Duration: 55 mi.11
                                                               Service Code: T1016HN53 U11its: 4
Patient Nan1e: Muhammad Muhaymin
Patient 11):       3099
Provider Name:Allyson Parsons BHT

         . Addressed Todav:
  Iaanos1s
 Diagnosis             Diagnosis Description                                                    New OR Continuing
 F20.9                            Schizophrenia                                                 Continuing


Data
'fhis session was held at ()ffice with the following person(s) in attendance:
 Case ivianager, Guardian Ad Litem,

Discussion and Interventions:
CtvI Parsons met witl1 Guardian of Muhru1uned in lobby of clinic and spoke about ho,v he has been doing.
Guardian stated he was outside in car and CI\.1 asked if it \vould be alrigl1t to introduce herself and perhaps build
somewhat of a rapport and if nothing else "break the ice." Gt1ardian escorted tl1is CI\,1 outside and and to tl1e vehicle
CLient ivluhammed was sitting in. CM PArsons introduced herself and shook hands with client as she proceeded to
exl)lain her ro]e a5 his case manasger to both guardian and client. Client was receptive and cordial to this CM and
guardian, cn1 and client all agreed to schedule a ind appointment and client ,vould attend with either guardian or
Cl\11. Cl\11 Parsons thrulk.ed both guardian and client ru1d cklient Muhan1n1ed was looking forward to ne:\.1111eeting
and getting to know the clinoic and services available. CM Parsons assisted guardian in scheduling appoint1nent for
Cl.,ient.

Assessment
Clt presented with sx of Pleasant. Barriers to progress arc Lack of housing. Clt's affect is smiling, happy. J\1ood
appears to be euphoric.
Client has no SI/HI Ideation.

Progress
Remarkable Progress.

Plan
Cl\11 Parsons confirmed Psych evaluation scheduled and will follow up ,vith guardiru1 and client as a reinder of
upcoming appointment
No homework given today.


Electronicallv Signed Bv:. . Allyson Parsons BHT                                                10/14/2016 05:41 PM
Provider Signature                                                                              Date
Page 1/2                Pt. Name: Muhayrnin, :rvtuhan1n1ad                1\1.R. #: Prog. Note 10/14/2016 .5:30 Pl\1 Allyson Parsons
Revision Date: 6/li00




                                                                                                                                       COP 015358
                                             Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 140 of 179




Page 2/2                Pt. Name: MuhnYJnin, Jvluhan1n1ad                l\1.R. #: Prog. Note 10!14/2016 5:30 Pl\.1 Allyson Parsons
Revision Date: 6/liOO




                                                                                                                                      COP 015359
                                     Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 141 of 179




 lnspbung Change
          fo'lUfe

Contact Note


Encounter Date: I 0/14/2016                                      3:22 I>l\1 to 3:23 Pl\tl Dura.tion: 1 min
                                                                 Service code: A01104 U11its: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Amy Beard BHT


Provider provided bus pass to client. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                             New OR Continuing
F20.9                     Schizophrenia                                                Continuing

Provided regular fare bus pass, #L3 l -721700

Indicators


Electronically signed by: A111y Beard BHT Isl                                          10/31/2016 02:46 PM
Provider Signature                                                                     Date

·user Signature (person completing form): Electronically Signed By: Amy Beard

CIS ID:     099
AHCCCS ID: ~ 3 3 5




                                                                                                             COP 015360
                                    Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 142 of 179




 lnspining Change
           fo7Ufe

Contact Note



EncounterDate: 10/11/2016                                       11:33 AM to 11 :34 ,4M No billing for service
Patient Name: Muhammad Muhaymin
Provider Name: 1\my Beard BH1'


Provider received e-mail from . Contacted for coordination of care.

D1annos1s   Add resse d Tod av:
Diagnosis                  Diagnosis Description                                       New OR Continuing
F20.9                      Schizophrenia                                               Continuing


From: ACT Refen·al [mailto:Office365@messaging.microsoft.con1]
Sent: ·ruesday, Clctol,er II, 2016 11:33 AM
To: David J. \Valker <David.JWalker@te1Tos.org:•; l\1ichelle Shea LCSW <l\1ichelle.Shea@ten·os.org:>
('c: 1'ho,nas !3ohanske <"I'ho1nas.Bohanske(g)te1Tos.org>; Julia l'v1atthies <Ju1ia.l'v!atthies@te1Tos.org>; ,'\("!'
Referral <,A.CTReferrals@n1ercymaricopa.org>
Subject: Re: [SEND SEClJRE] C'PI< ,c\('1' Refen·al \V l'v1cdo,vell l\1M

'fhank you for the update, please keep me posted on the last atte1npt.

Devonne


Fro1n: David J. Walker ,:David.J\Valker(g)terros.org>
Sent: lv!onday, ()ctober 10, 2016 4:44:16 Plvl
To: ACT Referrals; lv1ichelle Shea LCSW
Cc: 'fhomas Bohanske; Julia Mattl1ies
Subject: RE: [SEND SECURE] CPR ACT Referral W Mcdowell lv1M

Yes, I have n1ade 2 atten1pts to screen this member. On 9/29/16 I went to the residence vvhere the guardian
resides and was infon11ed by the roommate that the guardian ,vas not there and that she vvould in101m her that I
came over. On I 0/7I 16 at On I 0/7/16 at 9:00a,n I met with the guardian and we went to the park where the
n1ember resides. lJpon arrival at the park the mother/guardian and I vvere not able to locate the me1nber. 111e
members mother and I agreed to attempt to locate the member again this vveek in the park for another atten1pt to
sereen. 111e mother reported to me that she had spoken to him on 10/6 ki1e,v that we were con1i11g at 9:00am.




                                                                                                                       COP 015361
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The 111other reported that I should not go ,vithout her as he can get aggressive and she feels he might if so1neone
he doesn't kno,v goes to the park unannounced. In. addition he had an appointn1ent \vith the supportive tea111s Dr.
here at the West l\licDowell on 10/3/16 and he "no sho,;ved" that appointn1ent as well.

David J. Walker
Clinical Coordinator
5030 \V. lVIcDowell Rd. o Phoenix, AZ 85035
P: 602-685-6825
CC will send info11nation to C11 Parsons so she is aware of the atten1pts to contact.

Indicators



Electronically signed by: A111y Beard BHT Isl                                          10/11/2016 12:59 PM
Provider Signature                                                                     Date

·user Signature (person completing form): Electronically Signed By: Amy Beard

CIS ID:         099
AH(:c:cs IL): aall:)335




                                                                                                                      COP 015362
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 lnspbung Change
             fo'lUfe

Contact Note


Encounter Date: I 0/03/2016                                    2:32 I>l\1 to 2:58 Pl\tl Dura.tion: 26 min
                                                               Service code: T1016HN53 Units: 2
Patient Name: Muhammad Muhaymin
Provider Nan1e: Rasheedah Shaheed BPP


Provider n1et \Vith , guardian at Office. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                           New OR Continuing
F20.9                    Schizophrenia                                               Continuing

C:tvl Shaheed n1et with I\,fussallinah, Muhammad's sister/guardian due to her conce1ns about Mul1ai1m1ad being
hotneless and not taking his n1edications \Vhich is causing hin1 to be more sympton1atic. Nlussallinah reports that
she took off work to acco1npany Muha1nn1ad to his appoint1nent today, however, he declined to co1ne to the
clinic reportedly stating "I'm not sure what \vill happen bet,veen 111on1as and McDowell if I get in the car."
I\1ussa1linah stated that she received this 1nessage to mean she may not be safe transporting l\lluhan1mad. She
reports that she gave Muhammad money for something to eat as she usually take him out to eat but did not feel
comfortable today doing so. C:t\1 provided supportive and active listening. Cl\11 advised Mussallinah that this
CM will staff her concen1s in morning meeting and see ifl\1Iuhanm1ad would qualify to be on tl1e act team due
to him requiring m.ore intense services at this time. l\!Iussallinah reports that she cannot take off work regularly
to bring :tvfuhammad to his appointn1ents and was wondering how the clinical team cru1 help her get
lvfuham1nad to his appointments. Civl stated that som.cone fro1n the team ,vill go to where she reports
l\1uhat11mad to be living which is in the park by Mal)rville Hospital. Cl\1 advised Mussallinah that the clinical
team will n1ake all attet.npts to engage l\1Iuhann11ad in services and set him up to be able to take his n1edications
daily. At this time Mussallinal1 obtained her te1nporary guardianship papers fron1 her car so this Cl\1 could
tnake a copy for l\!luhanunad's file. Cl\!I tnade the copy and returned the original back to Mussallinal1. Cl\!1
obtained lviussallinah contact number                786 and stated that someone vvill be contacting her to update
her on the whereabouts ofMuhru111nad and ifhe was re-engaged back with services on his part.
 Client scheduled.

Indicators




                                                                                                                    COP 015363
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Electronicallv sigt1ed by: Rasheedah Shaheed BPP /s/                                    10/04/201611:32 AM
Provider Signature                                                                      Date

1.Jser Signature (person co1npleting fonn): Electronically Signed By: Rasheedah Shaheed

CIS ID:     099
AHCCCS ID: ~ 3 3 5




                                                                                                             COP 015364
                                     Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 146 of 179




  lnspbung Change
             fo'lUfe

Contact Note


Encounter Date: 09/28/2016                                       4:22 I>l\1 to 4:29 Pl\tl Dura.tion: 7 min
                                                                 Service code: T1016HN53 Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Allyson Parsons BHT


Provider received call from guardian. Contacted for coordination of care. Cl\1 received call frotn clients
guardian confirming scheduled 11D appointment on 11onday, October 3rd at 11am.

        . Addresse ct Todav:
 Iaanos1s
Diagnosis               Diagnosis Description                                          New OR Continuing
F20.9                     Schizophrenia                                                Continuing

CM P1\rsons took call fron1 clients guardian confin11ing clients appointn1ent \Vith MD on October 3rd.
C~lient scheduled.

Indicators


Electronically signed by: Allyson Parsons BHT /s/                                      10/11/2016 03:49 PM
Provider Signature                                                                     Date

User Signature (person completing form): Electronically Signed By: Allyson Parsons

CIS ID:         099
AH(:c:cs IL): aall:)335




                                                                                                             COP 015365
                                  Case 2:17-cv-04565-DLR Document 382-8 Filed 11/30/21 Page 147 of 179




 lnspbung Change
          fo'lUfe

Contact Note


Encounter Date: 09/23/2016                                    4:38 I>l\1 to 4:39 Pl\tl Dura.tion: 1 min
                                                              Service code: T1016HN53 Units: 1
Patient Name: Muhammad Muhaymin
Provider Nan1e: Amy Beard BHT


Provider provided bus pass to client. Contacted for coordination of care.

        . AddressedTod av:
 Iaanos1s
Diagnosis            Diagnosis Description                                          New OR Continuing
F20.9                   Schizophrenia                                               Continuing

From: i\tny Beard
Sent: Friday, Septen1ber 23, 2016 4:38 PM
~ro: Julia Matthies <Julia.Matthies(l~ten·os.org>
Subject: Dx needed, see belo\v

Fron1: i\n1v.. Beard
Sent: Friday, Septeinber23, 2016 4:13 P~11
To: Allyson Parsons <:1~lyson.Parsons(@ten·os.org>
Su~iect: F\V: ne\v refe1Ta.l-tv1uham.mad

/\Hyson,

   I atn assigning I\i1t1ha1runad Muhayn1in to on your caseload. It is docutnented he has a Guardian, his sister,
1\1ussallina I\1uhaymin             786, and he is homeless at this tin1e. I will be requesting an MD appoint111ent
in 7 days, so you can give that appointn1ei1t to tv1uha1nn1ad and his sister, as she tnay know \vhere to find hin1.
Per report in the Core assessn1ent: i\ll of the infonnation gathered below vvas fron1 the sister/guardian. BHR's
sister reported he is primarily psychotic, delusional and having i\VH and is una\vare of tnood sytnpton1s,
anxiety or what substances he n1ay use. Given \vhat is
known, the Blfll appears to meet criteria for F20.9 Schizophrenia.

Please contact his sister and give the Docto Please contact his sister and give the Doctor's appointn1ent,
September 30tl1 from l lru11-12pn1 and I will request it to be scheduled.




                                                                                                                      COP 015366
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Thanks,


Amy Beard
Clinical Coordinator
5030 V\T l\!IcDowell Rd, Ste 16 o Phoenix, AZ 85035
P: 602-285-6819

Indicators



Electronicallv signed by: A111y Beard BHT Isl                                          09/27/2016 08:30 Al\,1
Provider Signature                                                                     Date

·user Signature (person completing form): Electronically Signed By: Amy Beard

CIS ID:          099
AHCCCS ID:             35




                                                                                                                COP 015367
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  lnspvung Change
           fo11,Ufe

Psy~chiatric E, aluation Note
                 1




Encounter Date: 12/05/2016
Provider Name: Lilliam Villalobos MD
Patient Name: Muhammad Muhaymin                                         Age: 43 Years


Submitted Code(s):
Start Time: 10:24 AM End Time: 11 :00 AM
Non EM Code: 90/92 Unit: 1



Referred by: 03 - Other Behavioral HIth Provider
Sources of information: Client, chart,

Reason for Visit
Presenting issues/Chief Complaint: I need a massage.
History of Presenting Illness: Patient is a 43 y/o~ AAf malet he came accompanied by stepmotherJ homeless
by choice, cames accompanied by step mother and sister, they brought some paperwork for GuardianshipJ
family reported pt~s symptoms started after his father passed away in 2006$ patient was very close to his father,
patient started to have aud hall, he was arrested for tresspassingf jade walking1 first time he spend 13 days in
jail, did not take any medicationst after he got out of jail he started to decompensate , in 2007 he spend 1 year
in jail~ reasons why he was arrested were not clears multiple areest for different reasons.
Treated in the past with Risperdal1 Wellbutrim SR~ SeroqueL Did not like Risperdal stated he felt agitated on it
Seroquel was making him tired, poor historian, family does not have enough information,
Psychotic symptoms: Aud hall, visual hall, paranoia, periods of being mute, alternating with agitation,
disorganized thought process.
Depressive symptoms: Sa.d, most of the time.
Behaviors worsen with drug use. Did not specify drugs use.
Presented disorganized~ periods of thought blocking, paranoia, guarded, loose of associations.
Recommendations:
Plan reviewed: 12/5/2016
Family will confirm what medication worked in the past..
CSPMP reviewed. No opiates rx'ed.
PCP Coordination to be done as needed.
Continue to provide Supportive Therapy.
Contact Case Manager with any concerns.
Practice Sleep Hygiene~
Continue compliance with Clinical Team recommendations.
Encourage proper hydration~ nutrition and exercise. Regular Diet.
Risk factor reduction: Avoid stressful situations; contact Clinical Team with                   any concerns.
Contact the Crisis Line if he becomes DTO/DTS.



Page 1 of 4                             Pt. 1\Jarne: Muha.mm.ad r..-1uhav:min
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Follow up with PCP for Back problems.
RTC with Psychiatrist in 6--8 wks or as needed.
RTC with RN for labs or as needed for triage.
Symptoms of Schizophrenia include: haUucinationsl delusions~ disorganized speech, grossly disorganized
behavior, poverty of speechl flattened affect, poor hygiene1 social isolation.

Current treatment: Client/Guardian reports no current behavioral health treatment.

Psychiatric Treatment
History of previous treatment: Psychiatric medication .. 2007. Treatment was helpful.
Psychiatric hospitalizations: Client/Guardian reports no hospitalizations.
Past medications: Has not taken meds in a long time. Treated while in jail but does not remember name.
History of dangerousness to self and/or others: Past DTS/DTO: Self-injurious behaviors: cuttingl none
past month. Suicidal attempts: 2006- c cu cut cutt cutti cuttin cutting

Bia:th=. Devel,oument 1 and ,Educati~n
Developmental history: NormalClient was full term. No in utero exposure to drugs, alcohol or nicotine
reported. No postnatal complications reported. Raised by Stepmother. and Father. Developmental milestones
were reportedly reached on time. Walked within normal limits. Talked within normal limits. Toilet training
within normal limits.
History of Abuse/Neglect/Trauma: No physical, sexual or emotional abuse reported.
Education: Last grade completed was second year of college.
Employment history: Unemployed
Military history: No history.

Medical Historx
Review of Systems:
Initial Consultation
Earst Nose, Throat: Negative
Constitutional:      Negative
Cardiovascular:      Negative
Endocrine:           Negative
Gastrointestinal:    Negative
Genitourinary:       Negative
Hematological:       Negative
Immunologic:         Negative
Musculoskeletal:     Negative
Respiratory:         Positive   Additional Detail: asthma
Skin/Breast:         Negative
Eyes:                Negative
Neurological:        Negative
Psychiatric:         Positive   Additional Detail: psychotic
Vitals
Medication allergies: No known drug allergies.
Client/Guardian reports head injuries with loss of consciousness. Reports loss of consciousness: R.eports no
history of seizures. Client denies Glaucoma. Last eye exam - none . Recommended client have annual eye
exam. Reports no current treatment of chronic illness. Client/Guardian denies any major surgical history.




Page 2 of 4                             Pt. 1\Jarne: Muha.mm.ad r..-1uhav:min
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Mental illness in family: Cousin : Schizophrenia Substance abuse in family: Unknown Suicide attempts in
family: Unknown Violence in family: Denied Medical problems in family: Mother died
Father died

Current Living Arrangements and Support
Client is homeless. Living situation is stressful.

Legal History
 Past legal issues are jail, No current legal issues reported.

Alcohol and Substance Abuse History
Client acknowledges having substance abuse problems. Client reports that others have said they have a
substance abuse problem.
Admitted to smoking cannabis

Current Medications
Client reports no current medications, including vitamins, herbal and over the counter medications.

Mental Status Exam
Client is a 43 year old, male. Dressed appropriately. Appears age and normal weight. Client is disheveled.
Client is casually groomed. Oriented x 4. Level of alertness is normal. Eye contact is good. Speech quantity
is normal with normal rate and normal amplitude. Client has no mannerisms of note.. Thought processes:
blocking. Associations: logical. Stream of thought is blocked. Reports delusions of type: persecutory.
Reports hallucinations of type: auditory, visual
    Sleep: continuity disturbance. Appetite: good. Mood: congruent. Affect: blunted. Fund of knowledge:
good. Memory: good. Insight: fair. Judgement: poor. Concentration: fair. Judgement: fair.
Observed Gait : Steady. Muscle Strength and Tone appears: Normal.
Client did not report danger to self (DTS).
Client did not report danger to others (D'l'O).
Axis I - DSl\·f. -IV                                              l)SJ\11-V
295.10         Schizophrenia Disorganized Type                    F20.9              Schizophrenia
305.20         Cannibus Abuse                                     Fl2.10             Cannabis use disorder, IVfild




Axis II:
V71.09                        No diagnosis on A."{is II

Axis III:   30       Chronic Pulmonary Disorders
Axis Ill:   30        Chronic Pulmonary Disorders
Axis IV:    Problems with/related to housing,
Axis V:      45

Plan for work up and treatment
Discussion: Discussed diagnosis and treatment options. Client/Guardian advised of after hours crisis line
number: {Psych_eval_pl. Risks of declining treatment discussed. Client/Guardian understood and made
informed decision. Client/Guardian given business card with clinic phone number and instructed to call if
there are problems or questions prior to next visit.



Page3of4                                  Pt. Name: Muhammad l\.1uhaymin




                                                                                                                     COP 015370
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Next appointment: 6 weeks


MOM ... Problem Points
Problem                        Plan Desc               Problem Detail                  NatureDesc
psychosis                      No Plan                 New to Examiner                 Worsened



Problem                        Chonic Acute        Workup                                     Notes
psychosis                      Chronic             No Additional Workup


Medical Decision Making (data points):
 X Obtained history from someone other than the patient OR made decision to obtain records
_x Rev1ev,ed and summarized records and obtained records and or had a discussion with another health care provider
Risk: Moderate Risk



Electronically Signed    By: Lilliam Villalobos MD                                           Date 12/05/2016




Page 4of4                                Pt. 1\Jarne: Muha.mm.ad r..-1uhav:min
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Psychiatric Progress Note


Encounter Date: 12/05/2016            No billing for service
Provider:       Lilliam Villalobos MD
Patient Name:   Muhammad Muhaymin            Age: 43 Years


Submitted Code(s):
Start Time: 10:24 A~A End Time: 11 :00 AM
Non EM Code: 90792 Unit: 1


Open in errorr




Pagel of 1
Name: Muhanunad i\-1uhayinin       ClS ID: --,099




                                                                                                        COP 015372
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Psychiatric Progress Note


Encounter Date: 11/14/2016
Provider:       Lilliam Villalobos MD
Patient Name:   Muhammad Muhaymin                                     Age: 43 Years


Submitted Code(s):
Start Time: 02:00 PM End Time: 02:30 PM
EM Code: 99214 Unit 1


Reason for Treatment:
Presenting issues/Chief Complaint: I am as ok as I can be.
Patient came accompanied by Stepmother, she brought some paperwork for the Guardianship, we
discussed that her daughter was given the same paperwork filled out last appt, patient remains homeless,
presented casually dressed, clean, had his dog with him, responded questions when asked, disorganized,
moderate FOi, LOA, when asked if he was sleeping he said 'earth'\ appetite ok, denied any S/H ideations,
questionable hall, did not answer accordingly. Drug use hx, drug of choice cannabis.
Recommendations:
Plan reviewed: 11/14/2016
Schedule appt for a Psych Eval.
CSPMP reviewed. No opiates rx'ed.
Once Psych Eval completed I will consider rx meds.
Continue to provide Supportive Therapy.
Contact Case Manager with any concerns.
Practice Sleep Hygiene.
Continue compliance with Clinical Team recommendations.
Encourage proper hydration, nutrition and exercise. Regular Diet.
Risk factor reduction: Avoid stressful situations; contact Clinical Team with any concerns.
Contact the Crisis Line if he becomes DTO/DTS.
Follow up with PCP for Medical Concerns. Denied any now.
RTC with Psychiatrist in 4 wks or as needed.
RTC with RN for labs or as needed for triage.


Psychosocial stressors: Housing stressors are severe.

Review of Systems:
Reviewed, NO changes
Ears, Nose, Throat: Negative
Pagel of 4
Name: Muhanunad i\-1uhayinin     ClS ID: --,099




                                                                                                           COP 015373
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Constitutional:        Negative
Cardiovascular:        Negative
Endocrine:             Negative
Gastrointestinal:      Negative
Genitourinary:         Negative
Hematological:         Negative
Immunologic:           Negative
Musculoskeletal:       Negative
Respiratory:           Negative
Skin/Breast:           Negative
Eyes:                  Negative
Neurological:          Negative
Psychiatric:           Positive Additional Detail: psychotic


Histories:
Reviewed with NO Changes

Past Medical History
Past Medication: Has not taken meds in a long time. Treated while in jail but does not remember name.
Developmental History: Normal
History of injury, illness, and seizures: Denied.
Meds Reported at Intake:

Family History
Mental illness in family: Cousin : Schizophrenia
Substance abuse in family: Unknown
Suicide attempts in family : Unknown
Violence in family : Denied
Medical problems in family: Mother died
Father died
other comments:

Social History
Client is homeless. Living situation is stressful.




Mental Status:
Client is a 43 year old, male. Dressed appropriately. Appears age and normal weight. Client is
well-groomed. Oriented to situation, place, person. Level of alertness is normal. Eye contact is good.
Speech quantity is diminished with slow rate and diminished amplitude. Client has no mannerisms of
note.. Thought processes: tangential. Associations: very loose. Stream of thought is tangential. Reports
no delusions.. No hallucinations reported.
 Client is not DTS. Client is not OTO. Sleep: fair. Appetite: good. Mood: congruent. Affect: flat. Fund of
knowledge: fair. Memory: fair. Insight: poor. Judgement: poor. Concentration: poor.
Observed Gait : Steady. Muscle Strength and Tone appears: Normal.
Client did not report danger to otl1ers (DTO).
Client did not report danger to self (D'fS).
Page 2 of 4
Name: Muhanunad i\-1uhayinin        ClS ID: --,099




                                                                                                             COP 015374
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Medication Effectiveness and Side Effects: Client or Guardian reports experiencing no side effects to
meds.

Medical Data:
No accidents, injuries or serious illnesses reported.

Substance Use:
Admitted to smoking cannabis

Current Meds:
Axis I - DSl\11 -IV                                                DSM-V
295. 90         Schizophrenia UnditTerentiated Type                F20.9              Schizophrenia




Axis II:
V71.09                         No diagnosis on Axis II

Axis III:     NONE
Axis Ill:     NONE
Axis IV:      Problems with/related to housing,
Axis V:       NONE

Treatment Plan: No progress with Tx plan. Medications were not changed.
The following were discussed with the client: Client or guardian understood and made an informed
decision.
Cit to be seen in 4 weeks.

MOM - Problem Points
Problem                           Plan Desc               Problem Detail                   NatureDesc
Disorganized                      No Plan                 New to     Examiner             Worsened


Problem                           Chonic Acute        Workup                                     Notes
Disorganized                      Chronic             No Additional Workup                       Needs     psych eval


Medical Decision Making (data points):
1  Obtained history from someone other than the patient OR made decision to obtain records
~ Revie\Ned and summarized records and obtained records and or had a discussion with another health care provider
Risk: Moderate Risk

Electronically Signed By: Lilliam Villalobos MD

Document generated and completed 11/14/2016 02:36 PM


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Name: Muhanunad i\-1uhayinin          ClS ID: --,099




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Name: Muhanunad i\-1uhayinin     ClS ID: ....,099




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  lnspbung Change
             fo'lUfe

Psychiatric Progress Note


Encounter Date: 10/25/2016
Provider:       Lilliam Villalobos MD
Patient Name:   Muhammad Muhaymin                                      Age: 43 Years


Submitted Code(s):
Start Time: 10:00 AM End Time: 11 :00 AM
EM Code: 99214 Unit 1


Reason for Treatment:
Presenting issues/Chief Complaint: I am fine
Covering MD
Patient is a 43 y/o, AA, male, came accompanied by sister, he is currently homeless, case was opened first
at Magellan in 2010, intake paperwork not available for review, presented casually dress, mute, only
answered question with a writen sentence, stated he need a medical marihuana card, a medical MD,
housing, sister reported he has been using drugs: cannabis, questionable meth, homeless by choice,
condition worsen after his father passed away, apparently they were very close to each other, when asked
about symptoms he reported aud and visual hallucinations, some paranoia, denied S/H ideations.
Sister had given Guardianship paperwork to CM to be fill out prior to Court Hearing Today. Sister wants to
be his legal guardian. Paperwork completed during visit, original given to sister, copy to be included in MR.
Recommendations:
Plan reviewed: 10/25/2016
Schedule appt for a Psych Eval.
CM or CC to provide copy of Intake to MD.
Sister to bring Legal Paperwork from the Court once she is the Legal Guardian.
Evaluate the need for meds once patient returns for Psych Eval.
Abstain from drugs.
Refer to a PCP.
Contact CM with any concerns.
Practice Sleep Hygiene.
Encourage compliance with Clinical Team recommendations.
Encourage proper hydration, nutrition and exercise ..
Contact the Crisis Line if pt becomes DTO/DTS.
Follow up with PCP for Medical Concerns. Denied any now.
RTC with Psychiatrist in 4 wks or as needed.
RTC with RN for labs to be schedule or as needed for triage.



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Psychosocial stressors: Housing stressors are severe.

Review of Systems:
Initial Consultation
Ears, Nose, Throat:    Negative
Constitutional:        Negative
Cardiovascular:        Negative
Endocrine:             Negative
Gastrointestinal:      Negative
Genitourinary:         Negative
Hematological:         Negative
Immunologic:           Negative
Musculoskeletal:       Negative
Respiratory:           Negative
Skin/Breast:           Negative
Eyes:                  Negative
Neurological:          Negative
Psychiatric:           Positive Additional Detail: psychotic


Histories:
Initial Consultation

Past Medical History
Past Medication: Has not taken meds in a long time. Treated while in jail but does not remember name.
Developmental History: Normal
History of injury, illness, and seizures: Denied.
Meds Reported at Intake:

Family History
Mental illness in family: Cousin : Schizophrenia
Substance abuse in family: Unknown
Suicide attempts in family : Unknown
Violence in family: Denied
Medical problems in family: Mother died
Father died
Other comments:

Social History
Client is homeless. Living situation is stressful.




Mental Status:
Client is a 43 year old, male. Dressed appropriately. Appears age and normal weight. Client is casually
groomed. Oriented x 4. Level of alertness is normal. Eye contact is good. Client is mute. Mannerisms:
posturing. Client is quiet. Thought processes: logical. Associations: logical. Stream of thought is
unremarkable. Reports delusions of type: persecutory. Reports hallucinations of type: auditory, visual

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 Client is not DTS. Client is not DTO. Sleep: fair. Appetite: good. Mood: congruent. Affect: constricted.
Fund of knowledge: good. Memory: good. Insight: poor. Judgement: poor. Concentration: good.
Observed Gait: Steady. Muscle Strength and Tone appears: Normal.
Client did not report danger to others (DTO).
Client did not report danger to self (D'rS).

Medication Effectiveness and Side Effects: Client or Guardian reports experiencing no side effects to
meds.

Medical Data:
No accidents, injuries or serious illnesses reported.

Substance Use:
Admitted to smoking cannabis

Current Meds:
Axis I - DSM -IV                                                     DSlVI -V
295.90           Schizophrenia lJndifferentiated Type                F20_9              Schizophrenia




Axis II:
V71.09                          No diagnosis on Axis II

~i\.xis III:   N()NE
Axis Ill:      NONE
Axis IV:       Problems with/related to housing,
Axis V:        NONE

Treatment Plan: No progress with Tx plan. Medications were not changed.
The following were discussed with the client: Client or guardian understood and made an informed
decision.
Cit to be seen in 4 weeks.

MOM ~ Problem Points
Problem                            Plan Desc                Problem Detail                   NatureDesc
Psychotic                          No Plan                  New to Examiner                 Worsened


Problem                            Chonic Acute         Workup                                     Notes
Psychotic                          Chronic              Additional Workup Planned                  Refer to SA tx.


Medical Decision Making (data points):
  X Obtained history from someone other than the patient OR made decision to obtain records
.J$ Reviewed and summarized records and obtained records and or had a discussion with another health care provider
Risk: Moderate Risk
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                                             Terros
                                   Psychiatric No Show Note

Encounter Date: 10/03/2016                                            No billing for service
Patient Name:                                                                              Muhammad
Muhaymin
Provider Name: Lynnette Hjalmervik NP

 No call from cit/guardian.                 NO SHOW for new member psychiatric evaluation.


17888B9D-05A7-4587-B843-592FC89E5463                                                         10/11/2016 09:08 AM
Signature                                                                                    Date




:tvL R. #:   Lynnette Hjalmervik
Revision Date: 6/1 /00




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:tvL R. #:   Lynnette Hjalmervik
Revision Date: 6/1 /00




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:tvL R. #:   Lynnette Hjalmervik
Revision Date: 6/1 /00




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:tvL R. #:   Lynnette Hjalmervik
Revision Date: 6/1 /00




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:tvL R. #:   Lynnette Hjalmervik
Revision Date: 6/1 /00




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                                   Terros
            Error Correction for Muhammad Muhavmin
                                              .,


Allyson Parsons




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accidently open extra
                                      Terros
               Error Correction for Muhammad Muhavmin
                                                 .,


Kimberly Bryant




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                                    Terros
             Error Correction for Muhammad Muhavmin
                                               .,


by Lilliam ViHalobos MD
by Lilliam Villalobos MD
Lilliam Villalobos
Open in error




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                                   Terros
            Error Correction for Muhammad Muhavmin
                                              .,


Allyson Parsons




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  l.rupin.in9 Cha.119e
                                    fo'1 life                                                           Behavioral Health Service Plan

 Nain.e: tv1uhanm1ad Muhay1nin                                                                      DOB:
 CIS ID#:           099                                                                             StateID #: --0335

 Prograin: Supportive                                                   Today's Date: 12/12/2016

  lndi,riduals at Service Plaiming 1\lleeti11g: Case rvianger Ki111berly Bryant, Clietn Muhammad I\1uhaymin, Guardian
lvfussallina I\1uhayn1in

 Recovery Goal/Person-FanliJy Vision: Living Goal: I want own apartment.
Lean1i11g/Working Goal: I want to work part-time to earn money.
Social Goal: I want attend community groups.
Health Goal: I want to visit \Vith PCP yearly for routine check-up.

  Reaso11s I want to participate iI1 this program/activity: . I\1uhan1111ad is wanting help \Vith housing, n1edications
111anagement, case n1anagement.

 Cli.ent/family say tl1e following 11eeds to l1ave happened ht order for th.en1 to feel ready to leave servi,~es:
 I\1uhan1111ad needs to learn how to manage his syn1ptoms and continue to stay stable.


  Does the client want anyone involved in treatment at tins time? (i Yes(~ No
  Family Member Name                                                              Relationship                    Involvement
  Mussallina Muhaymin                                                             sister                          All


  J>erso11's Strengths
  Type                                                          Strength                                   Evidenced By
  Individual                                                    J\1uha111n1ad can cook and clean           J\1uhamn1ad area at the park is clean
  Individual                                                    Muhammad car drive                         According to guardian J\,1uhammad can drive a
                                                                                                           vechile
  Individual                                                   J\1uhain1nad does get food stamps           :tv1uhammad does get food sta1nps for support \Vith
                                                                                                           food
  Individual                                                   J\1uhan1mad has Associate1s Degree          11uham1nad received his Assoicates Degree
  Individual                                                   11uhai11mad has support fro1n his dog       11uham111ad has a sn1all dog for e1notional support
  Individual                                                   lvfuhan11nad has \Vork history              J\1uhan1mad guradian stated he has \Vorked before
  Individual                                                   J\1uha111n1ad utilize the transit syst.e111 J\1uhamn1ad will utlize his bus ticket
  Individual                                                   Muhammad \Vill attend his appointments      J\,1uham1nad will attend his appointments.
  Individual                                                   Muh3Jnmad will n1eet with cn1 once a month J\1uhamm2d will n1eet with cm
                                                               for f2f and every 90 dyas
  J\latural and Co1nn1unity                                    Muhamn1ad has the support of his family     11uham1nad has the support of his sister and step
  Based Supports                                                                                           1nother
  N·atural and Con11nunity                                     11uhai11mad has the support of the clinical 11uham111ad/ or guardian ,vill contact the clinical
  Based Supports                                               team                                        tean1 ..vhen needed
                                                                                                                          1




  Oh.11ect·IVCS and IJlt erven ions
  Need                                                      Objective             Services              Frequency  Current               Desired     Con1plete J:vlet
                                                                                                                   Measure               J\1easure   Date
  """"""""""""""""""""""""""""""""""""""""""""""""""""""'                                                               """'

  :tv1uhrun1nad needs to Case J'vlanage1nent:                                     (Tl01653)             Supportive Current               Desired     12/12/2017
  actively participate in activities n1ay                                                               C'.1\,1    n1easure              measure for
  his 1nental health      include assisting,                                                            services:  J\1uha1nmad           Muham1nad




                                                                                                                                                                        COP 015390
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treatment to address      maintaining, and                             face to face     \Vill 1neet     to continue
the sy1nptoms of          monitoring covered                           contact          with cn1 f2f    to meet \Vith
auditory                  services, finding                            every 30         once a month    cm once a
hallucinations,           necessary resources                          days,            and every 90    1nonth for f2f
anxiety, related to       to meet basic needs,                         quarterly        days for        and every 90
the diagnosis of          coordinating care                            home visit,      ho1ne visits.   days for
295.10                    \Vith family and other                       and phone                        home visits.
Schizophrenia             agencies involved,                           contact
Disorganized Type.        outreach and follo\v
                          up, and other
                          activities as needed.
JvJuhammad needs to       I3Hl\1P Services         (99211-99215,       Supportive       c.urrent        I)esired      12/12/2017
actively participate in   Services n1ay include    90792, 90833,       B!Th1P ,viii     1neasure        1neasure for
his 111ental health       ongoing 1nedication      90836, 90838,       provide          J\1uhmnmad      J\1uham111ad
treatJnent to address     management               99354, 99355,       support at       will attend     to continue
the sympton1s of          involving the revie\v    99358, 99359)       least every      his             to attend his
auditory                  of effects, side                             90 days or       appointlnent    appointment
hallucinations,           effects, and                                 more             S.              S.
anxiety, related to       adjustment of                                frequently if
the diagnosis of          medications to                               clinically
295.10                    prevent, stabilize, or                       in<licat
Schizophrenia             an1eliorate syinpton1s
Disorganized Type.        of a behavioral
                          health condition.
Muha1nn1ad needs to       RJ\l- Services: as       (TI002, 1'1016) RN ,viii             Current         Desired       12/12/2017
actively participate in   needed through                           provide              measure         1neasure for
his 1nental health        activities that 1nay                     support as           J\1uha1nmad     J\1uhan11nad
treatment to address      include the                              clinically           will attend     to be more
the sympto1ns of          1neasure1nent of vital                   indicated            his RN          consistent at
auditory                  signs, assess1nent                       based on             appointn1ent    attending his
hallucinations,           and monitoring of                        psychiatric          S.              RN
an-"Xiety, related to     physical/medical                         and 1nedical                         appointment
the diagnosis of          status, revievv of the                   need.                                S.
295-10                    effects and side
Schizophrenia             etTects of
Disorganized Ty'pe.       medications and
                          adn1inistration of
                          medications.
                          """""""""""

Muhamn1ad needs to        Rehab Specialist:        (H201412,           RS will          Current    Desired       12/12/2017
actively participate in   Rehab Specialist         H201453,            meet             1neasure   1neasure for
his 1nental health        services may include     H201499 ,           annuallv, to     Muha1nn1ad 1'Auham111ad
treatinent to address     assessment of level      H202553,            assess level     needs to   to meet with
the sy1nptoms of          of assistance he/she     H202599,            of               meet with  RS annually
auditory                  requires to create,      H202712,            assistance       RS for     or as needed_
hallucinations,           plan, and                1!202753,           required to      services.
anxiety, related to       successfully work        H202799)            \vork
the diagnosis of          towards                                      towards
295.10                    accomplishing                                treatn1ent
Schizophrenia             his/her                                      goals.
Disorganized Type.        e1nployment/leaming
                          and social
                          engagement goals.
Muhainmad needs to        Peer/Family Mentor:      (1-1003812,         Peer/Family      Current         Desired      12/12/2017
actively participate in    Services 1nay           H003853,            l\tfentor to     measure         1neasure for
his mental health         include group            H003899)            meet as          Muhamn1ad       l\1uham111ad
treatment to address      teaching independent                         needed to        needs to        to reach out
the syinptoms of          living, social, and                          provide          n1eet with      to the
auditory                  com1nunications                              support for      PS/Fl\1         PSIFtvl when
hallucinations,           skills to persons                            BB.Ras                           needed for
anxiety, related to       and/or their fa1nilies                       ·well as their                   support
the diagnosis of          in order to n1axin1ize                       fa111ily.                        services.




                                                                                                                                   COP 015391
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295.10                  the person's ability to
Schizophrenia           live and participate
Disorganized Ty1Je.     in the co1nmunity
                        and function
                        independently.
Muhammad needs to TRANSPORTAT!O (AOl       .   10;. A0120; As needed                                               Current                             Desired                            12/12/2018
actively participate in N CM \Vill support S2015)          based on                                                n1easure                           1neasure for
his mental health       by assisting in                                           clinical or                      Muhmn1nad     Muhammad
treatlnent to address   coordinating,                                             medical                          utilze the    to continue
the syinptoms of        arranging, or                                             need.                            transportatio to utilize the
auditory                providing clinically                                                                       ns system.    transportatio
hallucinations,         necessary                                                                                                                      n services to
anxiety, related to     transportation for                                                                                                             attend
the diagnosis of        medically necessary                                                                                                            appointment
295.10                  behavioral health                                                                                                              S.
Schizophrenia           services.
Disorganized Type.
Living Goal: I v.rant   C111 ,vill assits vvith   l\1uhm11111ad will  Nluharnrnad                                  Current                            Desired                             12/12/2017
o,vn apartment.         housing reterrals and     attend ,vith        \vill meet                                   1neasure                           111easure for
                        other resources for       intake for          ,vith c1n as                                 J\1uharn,nad                       J\1uha1nn1ad
                        housing.                  housing             needed for                                   is homeless.                       to attain
                                                  referrals.          housing                                                                         housing.
                                                                      resources.
Learning!Working        RS will help              Muhammad will Nluharnmad      Current                                                               Desired       12/1212017
Goal: I vvant to work   Nluharnrnad 1vith         111eet vvith RS for \vill 111eet
                                                                                measure                                                               111easure for
part-time to earn       resources for             supportive          \vith RS a-;
                                                                                Muha111rnad                                                           J\1uhm11111ad
1noney                  employ1nent.              employn1ent         needed foris not                                                                to attain
                                                                      e1nployen1nt
                                                                                currently                                                             en1ployment.
                                                                              . employed.
Social Goal: I vvant    C1n will help with        Muhammad will Muha1nmad Current                          Desired                                                                        12/12/2017
attend con1munity       resources for             meet ,vith RS to will meet    n1easure                   measure for
groups                  com1nunity groups         co1nmunity       ,vith RS/    J\1uha1nmad                Muham1nad
                        and activities.           support services Clv1 as      needs to jon               to find a
                                                                   needed for a community                  co1nmunity
                                                                   support      group                      group he
                                                                   senvces.     support.                   likes to
                                                                                                           attend.
Health Goal: I want     C1n ,vill schedule Muhamn1ad                              Muhan1mad Current        Desired                                                                        12/12/2017
to visit ,vith PCP      PCP appointment at meet ,vith the                         needs to   measure       111easure for
yearly for routine      the new clinic.    PCP for intake.                        meet with J\1uhmnrnad J\1uhrnn1nad
check-up                                                                          pc:p as    needs a PC~P. to attend
                                                                                  needed for               intake for
                                                                                  health                   PCP
                                                                                  concerns.                                                           """""""""""""""""""""""""""""""""""·""'




                                                            """""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""" """""""""""""""""""""""""""""""""""""""""""""""""""""""""""""""'"

Strengths Used              Success Detennined         /\chieved J\lleasure                                                   Program
J\1uhrnnmad can cook and    Success is determined by                                                                          Supportive
clean. Muham1nad has        :tv1uhammad 1neeting ,vith
support fron1 his dog.      cm f2f once a month and
t.1uham1nad will n1eet      every 90 days for IfV
with cm once a month for
f2f and every 90 dyas,
Muhamn1ad will attend
his appointments
t.1uhainrnad ha-; support    Success is detennined by                                                                          Supportive
from his dog, Muhammad       Jvluha1nmad attending his
will attend his              appointments.
appointn1ents,
Muhamn1ad has the
support of his family,




                                                                                                                                                                                                       COP 015392
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:tvluhmn1nad has the
support of the clinical
tea1n
:tvfuham1nad has support Success is detennined by                                           Supportive
fro111 his dog, Muhmnrnad :tvluhan1n1ad attending his
utilize the transit s:ystem, appointn1ent
Muhamn1ad will attend
his appointinents,
Muha1nn1ad has the
support of his family,
l\1uha1nmad has the
support of the clinical
team
Muhamn1ad car drive,     Success is detern1ined by                                          Supportive
Muham1nad has            Muha1nrna<l meeting with
J\ssociate's Degree,     RS annually
J'vfuha1nmad has support
fro1n his dog, Muha1nmad
has work history,
t.1uham1nad utilize the
transit systen1,
Muhammad will attend
his appointments,
t.1uhmn1nad has the
support of his family,
l\{uha1nmad has the
support of the clinical
team
Muhammad has support          Success is determined by                                      Supportive
from his dog, :ivluhfnnmad    1\lfuha1nma<l meeting ,vith
utilize the transit system,   PS/Ft.1 as needed for
Muha1nn1ad wi 11 attend       support services
his appointinents,
h1uha1nmad will meet
with c1n once a n1onth for
f2f and every 90 dyas,
l\{uhan1mad has the
support of his family,
Muhamn1ad has the
support of the clinical
tea111
t.1uhmnmad has support        Success is detennined by                                      Supportive
from his dog, Muhammad !Yluha1nmad utlizing the
utilize the transit system, transportation services
Muhammad will attend        when needed
his appointments,
t.1uhmn1nad will meet
·with cn1 once a month for
f2f and every 90 dyas,
t.1uhainmad ha-; the
support of his fan1ily,
l\1uham1nad has the
support of the clinical
team
Muha1nn1ad can cook and Success i9s detennined                                              Supportive
clean, lvluhammad does by Muhammad attain
get food stamps,         housing.
t.1uhainmad ha-; support
from his dog, Muhamn1ad
will attend his
appointments,




                                                                                                                    COP 015393
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   :tv1uhrun1nad will meet
   with cn1 once a month for
   f2f and every 90 dyas,
   Muhan11nad has the
   support of the clinical
   team
   Muhamn1ad has                 Success is dtennined by                                      Supportive
   i\ssociate's Degree,          Iviuha1nmad \.Vorking part
   Muha1nn1ad has work           time
   history, 11uham1nad
   utilize the transit svstem,
                       J    '


   lvfuhammad will attend
   his appointments,
   11uhmnrnad has the
   support of his family,
   Muhamn1ad has the
   support of the clinical
   tea1n
   Jv[uhan1mad can cook and      Success is dctennined by                                     Supportive
   clean, Muhamn1ad utilize      Jviuha1nmad attending
   the transit system,           groups out in the
   Muhammad will meet            community.
   with cn1 once a month for
   f2f and every 90 dyas,
   Muha1nn1ad has the
   support of his family,
   11uha1nmad has the
   support of the clinical
   team
   Muhamn1ad can cook and        Success is detem1ibed by                                     Supportive
   clean, Muhan1rnad car         Muha1nrnad meeting with
   drive, lvluhammad has         PCP
   support ii-om his dog,
   11uha1nmad will attend
   his appointn1ents,
   lvf.uham1nad has the
   support of his family,
   Muhammad has the
   support of the clinical
   team
     ______
   ..,..,.
                                                              .

  1\dditio11al Services

   Discl1arge Plan
   Muhanunad has a guardian his sister Mussaltina Muhaymin who can be reached at                          786 I\,fussallina is also
Muhannnad payee when l\lIuhanm1ad receives his benefits. 1\.1uhannnad \Vas assessed for special assistance, and it was
dete1mined that he did need it and the fonn was filled out ,vith his sister and is waiting on penneant guardianship. l'heretore,
temporary fom1 ,vas filled out. Muhan1ITiad is unable to understand tl1e G&A process. 11uhamn1ad fully pa1ticipated in his
treattnent plan a.long with his guardian l\!Iussallina, and reported that did ,vant his sister (l\llussallina) ai1d step 1nother (Annie
Ruth Davis) involved in his treatment plam1ing and appointn1ents. Mussallina 1v1uhayn1in is 1v1uhamn1ad ten1porary
guardianship until she is able to get pe1meant guardianship, l\llussallina can be reached at                  786

  Ix Yes, client has received a copy ofthis plan.

  (i         Yes, client agrees with the types and levels of services in the ISP.

  (~      No, client disagrees with the types ru1d/or levels of some or all ofthe services included in the plru1. By checking
this box~ client \Vill receive the services agreed to receive and may appeal the treatn1ent tean1's decision to not include all
types and/or levels of service that have been requested.



                                                                                                                              COP 015394
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           I   Client has received a Notice of i\ction (PlVI Fonn 5.1. l if disagreetnent concerns a Title XLX/XXI covered service)

           1 Client has received the Notice of Decision & Right to i\ppeal for Individual with a Serious l\1ental Illness (l'l\1 Form
5.5.1 if disagreement pertains to a Non-Title XLX/X,XJ covered service).

 Service Plan Rights Acknow1edgement for Persons who are Title XIXIA,---XI and/or SMI:
 My service plan has been reviewed ,vith me by my behavioral health provider. l kno,v what services I ·will be getting and ho,v often. All changes in the services
 have been explained to me. I have n1arked my agreement and/or disagreement ,v:ith each service. I know that :in most cases, any reductions, tenninations, or
 suspensions (s1'opping for a se1 tin1e fraine) of cunent sen~ces will begin no earlier than 10 days fron1 the date of the plan. I ktlO\V tha1 I cm1 ask for this to be
 sooner.

 ff I do not agree 1vith so1ne or all of the sen,ices tliat have been authorized :in this plan, I have noted that on 1ny plan. I know if the service asked for was denied,
 reduced, suspended or knninated, that 1ny behavioral health provider ,vill give rne a letter that tells n1e why the de(ision \Vas niade. TI1at letter \Vill tell 111e how
 to appeal the decision that has been n1ade about 1ny services. The letter \Vlll also tell n1e how I can request continued services.

 My behavioral health provider has told n1e how the appeal process works. I knt'<\V ho\v I can appeal service changes I do Tit'<l agree with. I knovv that I can
 cliange my 111ind later abou1· services I agree with today. I know 1hat if I change 1ny rnind before the changes go into effect, I \V:ill get a leHer that 1'ells n1e 1'he
 reason my se1vices changed. 'The letter will also tell me about my appeal rights.

 I kno\v that if I need rnore services or other services lhan what I an1 getting, I can call n1y behavioral health provider at (602)278-1414 - to talk about this, My
 behavioral heallh provider ,vill call rne back v1rithin 3 working clays. Once I have talked with 1ny behavioral heallh provider, s/he ,vill give rne a decision about
 that request Virithin 14 days. lf the behavioral health provider is not able to make a decision about my request within 14 days, s/he will send me a letter to let me
 k:r10\v 1nore time is needed to make a decision.


 Review Date (Objective Target Date): 12/12/2017




   Sign=:! By: :.Iusstllin3.).luhs.ymin                                                         12/12/2016
                                                                                                ---- ,------------~-----

 Person/Guardian                                                                                Date

 Electronicallv signed by: Kimberly Bryant BHT /s/                                               12/12/2016
 Signature                                                                                      !)ate




                                                                                                12/12/2016
                                                                                                "~""""-·-·-"""


 Participant Signature                                                                          Date

 /SIGNATURE PAD}                                                                                 12/12/2016
 Participant Signature                                                                          Date

 {SJGN1\TlJRE Pi\D}                                                                             12/12/2016
 Participant Signature                                                                          Date


 Participant Signature                                                                          Date

 /SIGNATURE PAD}                                                                                 12/12/2016
 Participant Signature                                                                          Date

 {SIGN,~TURE PAD}                                                                               !2/12/2016
 Participant Signature                                                                          Date




                                                                                                                                                                   COP 015395
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*}'or Behavioral Health Professional Signatures see BHServicePlanAttestatiou

CIS ID: --3099
AHC'.CCS ID: -0335




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                                          BH Service Plan Affidavit

Per A.A.C. R9-10-101l(B)(3) Assessment and Treatment Plan

If a behavioral health assessment is conducted by
a. Behavioral health tecl111ician or a registered nurse~ within 72 hours a behavioral health professional certified or licensed
to provide the behavioral healtl1 services needed by the patient reviews and signs the behavioral health assessment to ensure
that the behavioral healtl1 assessment identifies the behavioral health services needed by the patient;
or
b. Behavioral health paraprofessional, a behavioral health professional certified or licensed to provide the behavioral health
services needed by the patient supervises the behavioral health paraprofessional during the completion of the behavioral
health assessment and signs the behavioral healtl1 assessment to ensure tl1at the assess1nent identifies the behavioral health
services needed by the patient.

I attest that I have revie\ved and approved the assessn1ent or treatn1ent plan co1npleted by the BlIT based on the above
standard.




Electronically Signed by: Julia Jvfatthies BHP /s/
Signature of.Behavioral.Health Professional

Julia Matthies BHP
Natne of Behavioral Health Pro_fessional

Assessment Date: 12/12/2016

Date of Re,rielv: 12/22/2016
CIS ID: 1101103099

AHCCCS ID: -0335




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                                                        ADHS FORM MH-211

                               Notice of Legal Rights for Persons ,vith Serious Me11tal Illness

If you have a serious or chronic mental illness, you have legal rights under federal and state law. Some of these rights include:

•   The right to appropriate mental health services based on your individual needs;

•   'J'he right to participate in all phases of your mental health treattnent. including individual service plan (ISP) meetings;

•   The right to a discharge plan upon discharge from a hospital;

•   The right to consent to or refuse treattnent (except in an emergency or by court order);

•   1'he right to treatment in the least restrictive setting;

•   ''fhe right to ffcedom ±forn unnecessary seclusion or restraint~

•   The right not to be physically, sexually, or verbally abused;

•   The right to privacy (mail, visits, telephone conversations);

•   The right to file an appeal or grievance \Vhen you disagree ,vit11 the se1vices you receive or yow· rights are violated;

•   The right to choose a designated rcprcsentative(s) to assist you in ISP meetings and in filing grievances;

•   'fhe right to a case 1nanager to work vvith you in obtaining the services you need;

•   The right to a \Vritten ISP that sets forth the services you \vill receive;

•   The rioht
          b
              to associate with others·'

•   1'he right to confidentiality of your psychiatric records;

•   'Ihe right to obtain copies of your own psychiatric records (unless it would not be in your best interest to have them);

•   The right to appeal a court-ordered involuntary co1nmitment and to consult \Vith an attorney and to request judicial review of
    court-ordered commitment every 60 days;

•   '!'he right not to be discriminated against in employment or housing.

If you would like information about your rights, you may request a copy of the "Your Rights in i\rizona as an Individual with
Serious l\1ental Illness" brochure or you may also call the Arizona Department of Health Services, Office of Human Rights at
1-800-421-2124 or at (602) 364-4574.

ADHS/DBHS Fonn l\lH-211 (9/93)




                                                                                                                               COP 015398
